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 1 C. Moze Cowper (Bar No. 326614)

 2
   COWPER LAW PC
   10880 Wilshire Boulevard, Suite 1840
 3 Los Angeles, California 90024

 4
   Telephone: 877-529-3707
   mcowper@cowperlaw.com
 5
   Adam J. Levitt*
 6
   DICELLO LEVITT GUTZLER LLC
 7 Ten North Dearborn Street, Sixth Floor
   Chicago, Illinois 60602
 8
   Telephone: 312-214-7900
 9 alevitt@dicellolevitt.com

10 W. Daniel “Dee” Miles, III*                  Andrew Trailor*
11 BEASLEY, ALLEN, CROW,                        ANDREW T. TRAILOR, P.A.
     METHVIN, PORTIS & MILES, P.C.              9990 Southwest 77 Avenue, PH 12
12 272 Commerce Street                          Miami, Florida 33156
13 Montgomery, Alabama 36104                    Telephone: 305-668-6090
     Telephone: 334-269-2343                    andrew@attlawpa.com
14 Dee.Miles@Beasleyallen.com

15
     (* pro hac vice motions to be filed)
16

17 Counsel for Plaintiff and the Proposed Classes
     (Additional counsel listed on signature page)
18

19                         UNITED STATES DISTRICT COURT
20                        CENTRAL DISTRICT OF CALIFORNIA
21   HAMID BOLOOKI, individually and             Case No.: 2:22-cv-04252
22   on behalf of all others similarly situated,
                                                 CLASS ACTION COMPLAINT
23         Plaintiff,
24
                                                 JURY TRIAL DEMANDED
           v.
25
     HONDA MOTOR COMPANY
26
     LIMITED, and AMERICAN HONDA
27   MOTOR CO., INC.,
28
            Defendants.
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 1        Plaintiff Hamid Bolooki, individually and on behalf of the other members of the
 2 below-defined Florida and nationwide classes (collectively, the “Class”), hereby
 3 alleges against Defendants Honda Motor Company Limited and American Honda
 4 Motor Co., Inc. (collectively, “Honda” or “Defendants”), upon personal knowledge as
 5 to himself and his own acts, and as to all other matters upon information and belief,
 6 based upon the investigation made by the undersigned attorneys, as follows:
 7                            I.     NATURE OF THE CASE
 8        1.     Plaintiff seeks damages and equitable relief, individually and on behalf of
 9 all other Class members, for Honda’s sale and lease of Class Vehicles with an Idle Stop
10 (also referred to as “Auto Start/Stop” or “Auto Idle-stop”) feature that is unreliable and
11 exposes occupants of the Class Vehicles to great risk of bodily harm and injury.
12        2.      The Class Vehicles, as that term is used herein, are the 2016-2020 model
13 year Honda Pilot, Honda Odyssey, Acura TLX, and Acura MDX vehicles equipped
14 with the Idle Stop feature.
15        3.     As explained in more detail below, the Idle Stop feature automatically
16 shuts off a Class Vehicle’s engine when the brake pedal is fully applied and the vehicle
17 reaches idling revolutions per minute (“RPM”). When working properly, the Idle Stop
18 feature automatically restarts the engine when the driver releases the brake pedal or
19 when the vehicle sits for an extended period of time with auxiliary systems running (air

20 conditioning, etc.).
21        4.     The Idle Stop feature in the Class Vehicles, however, is subject to sudden
22 and unexpected failure (the “Idle Stop Defect”). Specifically, although the Idle Stop
23 feature automatically activates and shuts down the Class Vehicles’ engines when the
24 brake pedal is fully applied and the vehicle is at idle, the Idle Stop feature will
25 oftentimes not automatically restart the engine when a driver takes releases the brake
26 pedal. The vehicle will, suddenly and without notice, become inoperable and
27 undriveable wherever it rests, whether at a red light or stop sign, in the middle of an
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 1 intersection while making a left-hand turn, or on an entrance ramp to a highway.
 2            5.      Going back to 2015, Class Vehicle owners have filed with NHTSA or
 3 posted online hundreds of complaints regarding the Idle Stop Defect. Two recurring
 4 themes in these complaints are the dangers that the Idle Stop Defect poses and Honda’s
 5 failure to address the issue.
 6            6.      Despite having longstanding knowledge of the Idle Stop Defect, Honda
 7 has continued selling Class Vehicles with the Idle Stop feature, without disclosing that
 8 defect to purchasers and lessees.
 9            7.      In fact, Honda has admitted the Idle Stop Defect in service records and in
10 a service message sent to its dealerships, where it acknowledged that the “auto idle stop
11 [may become] inoperative,”1 but it offers no remedy. To this day, Honda has taken no
12 action to correct the root cause of the Idle Stop Defect.

13            8.      Despite notice and knowledge of the Idle Stop Defect from the numerous
14 consumer complaints it received, warranty claims and customer complaints submitted
15 by dealers, pre-sale durability testing, National Highway Traffic Safety Administration
16 (“NHTSA”) complaints, and its own internal records, Honda has not recalled the Class
17 Vehicles to repair the Idle Stop Defect, extended the warranty of Class Vehicles,
18 offered its customers a suitable repair or replacement free of charge, reimbursed
19 consumers who incurred out-of-pocket expenses to repair the Idle Stop Defect, or

20 compensated consumers for the diminished value caused by the Idle Stop Defect.
21            9.      Each purchaser or lessee of a Class Vehicle unwittingly paid for a vehicle
22 with an undisclosed and significant safety defect. Each of these purchasers and lessees
23 were damaged in that they paid more for their Class Vehicles than they would have
24 paid had they known about the Idle Stop Defect or in that they would not have
25 purchased or leased their Class Vehicles at all had they been informed of the defect
26
27   1
         https://static.nhtsa.gov/odi/tsbs/2018/MC-10142619-9999.pdf (last visited June 17, 2022).
28
                                                        2
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 1                             II.   JURISDICTION AND VENUE
 2         10.   This Court has diversity jurisdiction over this action under 28 U.S.C. §§
 3 1332(a) and (d) because the amount in controversy for the Class exceeds $5,000,000
 4 and Plaintiff and one or more of the other Class members are citizens of a different
 5 state than Defendant.
 6         11.   This Court has personal jurisdiction over American Honda Motor
 7 Company, Inc. because it is a California corporation with its corporate headquarters
 8 located in this district.
 9         12.   This Court has personal jurisdiction over Honda Motor Company Ltd.
10 because Honda Motor Company Ltd has purposefully availed itself of the privilege of
11 doing business within California, including by marketing and selling the Class
12 Vehicles, and exercising jurisdiction over Honda Motor Company Ltd. does not offend

13 traditional notions of fair play and substantial justice.
14         13.   Venue is proper in this district under 28 U.S.C. § 1391 because American
15 Honda Motor Company, Inc. resides within this district and a substantial part of the
16 events and omission giving rise to Plaintiff’s claims occurred within this district.
17                                      III.   PARTIES
18 A.      PLAINTIFF
19         14.   Hamid Bolooki is domiciled in Miami, Florida.
20         15.   Mr. Bolooki owns a 2016 Honda Pilot equipped with the Idle Stop feature.
21 Mr. Bolooki purchased his Pilot new from Braman Honda in Miami, Florida.
22         16.   A little more than two years after purchasing his Pilot, Mr. Bolooki’s
23 vehicle began stalling due to the Idle Stop Defect. When stopped, the Pilot’s engine
24 will shut off, and when the accelerator is pressed, the engine will not automatically
25 restart, as is intended with the Idle Stop feature. Even by continually pressing the
26 vehicle’s start button, the vehicle will not immediately restart.
27         17.   Mr. Bolooki and his family have experienced the Idle Stop Defect over
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                                                3
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 1 twenty times
 2        18.     The Idle Stop Defect has endangered Mr. Bolooki and his family. It has
 3 caused Mr. Bolooki and his family to be unexpectedly immobile in the middle of city
 4 traffic, with vehicles driving around their stranded automobile, making egress
 5 dangerous, if not impossible.
 6        19.     Mr. Bolooki has presented his vehicle for repair to Braman Honda in
 7 Miami, Florida. Braman informed Mr. Bolooki that Honda was aware of the Idle Stop
 8 Defect. The dealership, however, was unable to fix the problem. Mr. Bolooki’s vehicle
 9 continues to suffer from the Idle Stop Defect.
10        20.     Prior to purchasing his 2016 Pilot, Mr. Bolooki spoke with a sales
11 representative at Braman Honda, saw commercials for the 2016 Pilot that promoted the
12 vehicle’s safety, and saw a Monroney sticker on the vehicle at the time of purchase.

13 Honda did not disclose the Idle Stop Defect through any of these avenues.
14        21.     Honda failed to disclose the Idle Stop Defect to Mr. Bolooki before he
15 purchased his vehicle, despite Honda’s knowledge of the defect, and Mr. Bolooki,
16 therefore, purchased his Pilot with the incorrect understanding that it would be a safe
17 and reliable vehicle.
18        22.     Had Honda disclosed the Idle Stop Defect, Mr. Bolooki would not have
19 purchased his 2016 Pilot, or certainly would have paid less for it.

20        23.     The acts and actions complained of herein rise to the level of separate and
21 independent torts.
22 B.     DEFENDANTS
23        1.      Honda Motor Company, Ltd.
24        24.     Defendant Honda Motor Company, Ltd. (“HML”) is a Japanese
25 corporation, with its principal place of business at 2-1-1, Minami-Aoyama Minato-Ku,
26 107-8556 Japan, and the parent of American Honda Motor Company, Inc.
27        25.     HML through its various entities (including American Honda Motor
28
                                                4
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 1 Company), designs, manufacturers, markets, distributes, and sells Honda automobiles
 2 across the United States.
 3
 4              2.      American Honda Motor Company, Inc.
 5        26.    Defendant American Honda Motor Company, Inc. (“HMA”) is a
 6 California corporation with its principal place of business in Torrance, California.
 7        27.    HMA is the United States sales and marketing subsidiary of, and is wholly
 8 owned by, HML, and is responsible for distributing, marketing, selling, and servicing
 9 Honda vehicles in the United States.
10                           IV.    FACTUAL ALLEGATIONS
11        28.    Each of the Class Vehicles is equipped with a 3.5L engine, coupled with
12 a 9-speed automatic transmission, and all are equipped with the Idle Stop feature.

13        29.    The Idle Stop feature is automatically activated whenever the Class
14 Vehicles are turned on. In other words, it is not a feature that Class Vehicle drivers
15 choose to activate; rather, it turns on by default.
16        30.    The Idle Stop feature can be deactivated by the user, but since the feature
17 automatically reactivates with each ignition cycle, it must be manually deactivated
18 upon each use.
19        31.    When operating as intended, the Idle Stop feature automatically shuts off
20 a vehicle’s engine when the vehicle is stopped and idled, such as at a stop light, and
21 automatically restarts the engine when the brake pedal is released.
22        32.    According to Honda, the Idle Stop feature is intended to help maximize
23 fuel economy.
24        33.    But what Honda fails to inform consumers—and what it has never
25 informed consumers—is that Idle Stop feature poses a significant safety risk in the
26 Class Vehicles.
27        34.    The Idle Stop Defect causes the Class Vehicle’s engines not to restart
28
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 1 when the vehicles’ brake pedals are released. Rather than automatically restarting, as
 2 intended, the Idle Stop Defect causes the Class Vehicles to become temporarily
 3 disabled and inoperable. The vehicles must be completely shut off and restarted to
 4 again become drivable, often not restarting for minutes and sometimes requiring to be
 5 jump started.
 6         35.    The Idle Stop Defect creates a serious safety risk, because it renders the
 7 Class Vehicles unexpectedly inoperable without warning, preventing them from
 8 moving out of the way of oncoming danger or from moving with the flow of traffic.
 9         36.    The Idle Stop Defect can lead, by way of example, to a Class Vehicle
10 stalling on train tracks, stalling in stop-and-go traffic on the highway, stalling while
11 waiting to merge into traffic, or stalling in the middle of an intersection while waiting
12 at a traffic light or stop sign.

13         37.    As shown in consumer complaints set forth in more detail below, many
14 Class Vehicle drivers have been severely frightened by the Idle Stop Defect and are
15 seriously concerned about the risk that the defect poses to their future safety:
16         • “About once per week, I experience a delay in entering dense traffic
17           within short interstate merge lanes.”

18         • “It stops entirely, often in traffic and then you have to put car in park,
             restart engine and then put it in drive and go again. By this time traffic
19
             is already moving around you. Very dangerous and scary on freeway
20           and at intersections.”
21         • “You need to press the ignition button and set the vehicle in park. This
22           is very dangerous in stop and go traffic. The most recent time it
             happened was on the freeway at a crest.”
23
24         • “I was nearly t-boned when trying to make a LH turn at a busy
             intersection because the car had to start before accelerating.”
25
           • “My Honda Pilot stalled in the middle of the intersection, waiting to
26
             turn left, off a busy main highway, with my husband and young
27           children inside. When it was safe to turn, took foot off of the brake
             and the car stalled. It took many frantic attempts to get the car to turn
28
                                                6
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 1                  back on to be able to move safely out of the intersection. This car has
 2
                    placed myself and my family in danger now on multiple occasions.”

 3            • “Most concerning is if you are in the middle of the intersection and
                about to make a right turn, while waiting to make the turn, the vehicle
 4
                shuts off. Now we are stuck in the intersection with two kids on the
 5              vehicle. Now oncoming traffic is either fast approaching or honking
                because we are blocking the lane. We have been almost struck on
 6
                several occasions.”
 7
              • “When I moved my foot from the brake to the accelerator, the car shut
 8              off, shifted into neutral and would not start. This was on a major
 9              highway. It took several minutes to start again, while I was stalled in
                dangerous traffic.”
10
              38.      Because of the grave risks the Idle Stop Defect poses, a vehicle that suffers
11
     from the Idle Stop Defect is not fit for its ordinary purpose and does not pass without
12
     objection in the trade, and renders the Class Vehicles substantially less drivable,
13
     useable, safe, and valuable. This is especially true for the Class Vehicles, which were
14
     marketed as safe and reliable family vehicles.
15
              39.      On May 10, 2018, Honda sent a service message to its dealerships alerting
16
     them about 2018 Honda Pilot and Odyssey vehicles “with a customer complaint of the
17
     auto idle stop inoperative.” Honda did not identify a root cause or appropriate remedy,
18
     only that it “would like to inspect the vehicle prior to you attempting a repair of any
19
     kind.”
20
              40.      In June 2022, the National Highway Traffic Safety Administration’s
21
     (“NHTSA”) Office of Defects Investigation, after receiving 221 complaints for the
22
     Honda Pilot alone, opened a preliminary investigation into the Idle Stop Defect to fully
23
     assess the defect’s safety related issues. (“ODI PE Report”).
24
              41.      As stated in the June 2022 ODI PE Report, ODI has met with Honda on
25
     various occasions regarding the Idle Stop Defect.
26
              42.      Honda has long known of the Idle Stop Defect through, at least its
27
     engineering knowledge, internal testing, online complaints, and the presentment of
28
                                                      7
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 1 vehicles for repair. The Honda dealership that sold and serviced Mr. Bolooki’s Pilot
 2 told him not to bring the car back for service with respect to the Idle Stop Defect.
 3           43.   As shown below, in the recitation of consumer complaints, consumers
 4 began complaining of the Idle Stop Defect, both posting online and writing to NHTSA,
 5 as early as October 2015.
 6           44.   Further, as the consumer complaints reveal, consumers were also bringing
 7 Class Vehicles into Honda dealerships for repairs for the Idle Stop Defect as early as
 8 2015.
 9           45.   As noted above, consumers and Class members have posted hundreds of
10 complaints with NHTSA documenting their unfortunate experiences with the Idle Stop
11 Defect.
12           46.   For example, on November 10, 2015, the owner of a 2016 Honda Pilot
13 filed the following complaint with NHTSA:
14           I WRITE TO YOU TO CONVEY MY SAFETY CONCERNS
15
             REGARDING A NEW HONDA 2016 PILOT. MY ATTEMPTS TO
             RESOLVE MY CONCERNS WITH AMERICAN HONDA MOTOR
16           CO., INC. WERE MET WITH TEPID RELUCTANCE AND A
17           CAVALIER NEGLECTFUL ATTITUDE. 1.AT HIGH SPEEDS (55-75
             MPH) THE VEHICLE OVERSTEERS AND DURING EMERGENCY
18           AVOIDANCE MANEUVERS BECOMES UNSTABLE. TWICE
19           WHILE AVOIDING DEAR2 ON INTERSTATE HIGHWAYS, I HAVE
             ALMOST LOST CONTROL AND WAS SERIOUSLY CONCERNED
20           ABOUT ROLLING THE VEHICLE OVER. I OWN AND HAVE
21           DRIVEN A 2003 PILOT FOR OVER 180,000 MILES AND NEVER
             EXPERIENCED THIS SORT OF ISSUE. I BELIEVE THE
22           SUSPENSION IS INCORRECTLY DESIGNED AND THAT
23           UNEXPECTED AND UNNECESSARY ROLLOVERS ARE
             IMMINENT. 2.THE ‘AUTO IDLE OFF’ FEATURE TURNS THE
24           ENGINE COMPLETELY OFF AT CERTAIN TIMES AND UNDER
25           CERTAIN CIRCUMSTANCES. IT TAKES BETWEEN 900 AND 1,300
             MILLISECONDS TO RECOVER POWER TO THE WHEELS WHEN
26           THIS HAPPENS. UNLIKE HYBRID VEHICLES (FROM WHICH
27   2
    All typographic and syntactical errors in these consumer complaints are identical to how they
28 originally appeared.
                                                    8
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 1           THIS FEATURE WAS TAKEN), THERE IS NO ALTERNATIVE
 2
             ELECTRICAL MOTOR TO PROVIDE TORQUE TO THE
             DRIVETRAIN WHILE THE ENGINE RESTARTS AND AS A
 3           RESULT, THERE IS DELAY IN ACCELERATING. IN THE VAST
 4           MAJORITY OF TIMES, THIS IS OF NO CONSEQUENCE HOWEVER
             IN A SMALL FRACTION THIS DELAY INCREASES THE RISK OF
 5           COLLISION. ABOUT ONCE PER WEEK, I EXPERIENCE A DELAY
 6           IN ENTERING DENSE TRAFFIC WITHIN SHORT INTERSTATE
             MERGE LANES. THIS DELAY OF ABOUT ONE SECOND IS
 7           ENOUGH TO REMOVE MY MARGIN OF ERROR AND INCREASES
 8           THE RISK OF COLLISION DURING A MERGING MANEUVER.
             WHILE THERE IS A SWITCH TO DEFEAT THIS FEATURE, IT
 9           RESETS EVERY TIME THE VEHICLE IS TURNED OFF AND
10           REMEMBERING TO OVERRIDE IT EVERY TIME IS
             INCONSISTENT WITH HUMAN MEMORY AND PERFORMANCE.3
11
             56.   On November 19, 2015, the owner of a 2016 Honda Pilot filed the
12
     following complaint with NHTSA:
13
             TL* THE CONTACT OWNS A 2016 HONDA PILOT. THE CONTACT
14
             STATED THAT THE VEHICLE WOULD NOT START. THE
15           VEHICLE HAD TO BE TOWED TO A HONDA DEALER WHERE
             THE FAILURE COULD NOT BE DIAGNOSED. THE VEHICLE WAS
16
             TAKEN BACK TO THE DEALER AND THE FAILURE RECURRED
17           SIX DAYS LATER. WHEN THE FAILURE RECURRED, THE
             TRANSMISSION     FAILURE      WARNING      INDICATOR
18
             ILLUMINATED. THE VEHICLE WAS TAKEN TO THE DEALER
19           WHERE IT COULD NOT BE DIAGNOSED OR REPAIRED. THE
             VEHICLE WAS GIVEN BACK TO THE CONTACT, BUT THE
20
             VEHICLE STALLED A FEW DAYS LATER AND ALL THE
21           WARNING INDICATORS ILLUMINATED. THE MANUFACTURER
             WAS NOT NOTIFIED OF THE FAILURE. THE FAILURE MILEAGE
22
             WAS 900.4
23
             57.   On February 16, 2017, the owner of a 2016 Honda Pilot filed the following
24
     complaint with NHTSA:
25
             VEHICLE HAS ELECTRONIC, KEYLESS PUSH BUTTON START.
26
     3
27       NHTSA ID 10789635
     4
         NHTSA ID 10794816
28
                                                9
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 1           IT ALSO HAS A FUEL, EMISSIONS FEATURE WHERE IT SHUTS
 2
             DOWN WHEN THE BRAKE IS DEPRESSED, IT DOESN’T IDLE AT
             STOPLIGHTS AND AUTOMATICALLY STARTS WHEN LIFTING
 3           OFF THE BRAKE. I WAS DRIVING THE VEHICLE WHEN I
 4           APPROACHED A RED LIGHT. DEPRESSED BRAKE AND
             VEHICLE LIGHT SHOWED IDLE ASSIST AND VEHICLE ENGINE
 5           SHUT OFF. WHEN THE LIGHT TURNED GREEN, I LIFTED MY
 6           FOOT OFF THE BRAKE AND ONTO THE GAS. THE VEHICLE DID
             NOT START. ALL DASH LIGHTS DISPLAYED AND ALL ERROR
 7           CODES ALTERNATED ON DISPLAY. IT ALSO SHOWED VEHICLE
 8           WAS IN PARK. I TRIED TO RESTART IT AGAIN BY DEPRESSING
             THE BRAKE AND PUSHING THE ENGINE START BUTTON.
 9           VEHICLE WOULD NOT START AND DIALS WERE TWITCHING.
10           TRIED SEVERAL TIMES TO START VEHICLE. THE POLICE
             ARRIVED AND WANTED TO PUSH THE VEHICLE TO THE SIDE
11           OF THE ROAD SINCE IT WAS BLOCKING THE LEFT HAND LANE
12           ON A 55 MILE AN HOUR ROAD. COULD NOT GET VEHICLE IN
             NEUTRAL. CALL HONDA DEALERSHIP SERVICE DEPARTMENT
13           TO ASK HOW TO PUT VEHICLE IN NEUTRAL. THEY STATED
14           THEY DIDN’T KNOW HOW. TOW TRUCK ARRIVED AND HAD
             TO DRAG VEHICLE ONTO FLAT BED TOW TRUCK. TOW TRUCK
15           DELIVER VEHICLE TO DEALER. DEALER CHARGED BATTERY
16           TO RESTART VEHICLE. THEY RAN DIAGNOSTICS AND STATED
             IT HAD NO ERROR CODE. THEY COULD NOT REPRODUCE
17           ENGINE STOP AND STATED THERE WAS NO REPORT OF THIS
18           HAPPENING TO ANOTHER VEHICLE. AFTER I STATED I WAS
             NERVOUS TO DRIVE THE VEHICLE AGAIN, THEY STATED
19           THEY COULD KEEP VEHICLE AND DRIVE IT FOR SEVERAL
20           DAYS TO SEE IF IT HAPPENED AGAIN. DRIVING CONDITIONS:
             CLEAR DAY, 30 DEGREES FAHRENHEIT. DRIVING
21           APPROXIMATELY 9 MINUTES, 55 MILES PER HOUR. 14,000
22           MILE, LESS THAN ONE YEAR OLD.5
23           58.   On May 25, 2017, the owner of a 2016 Honda Pilot filed the following
24 complaint with NHTSA:
25           ENGINE STOPS WON’T RESTART MULTIPLE WARNING LIGHT
             FLASHING GIVING APPEARANCE OF COMPUTER FAILURE.
26
             SECOND INCIDENT. FIRST INCIDENT DEALER SAID NO
27
     5
         NHTSA ID 10955344
28
                                              10
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 1           PROBLEM AFTER CHECKING BATTERY. SECOND INCIDENT IN
 2
             TRAFFIC WHEN FAILURE OCCURRED (5/25/17 APPROX 8 A.M)
             BLOCKING INTERSECTION. FORTUNATELY WE WERE
 3           SLOWING TO STOP AT LIGHT. VIDEO OF DASH AVAILABLE
 4           TOO LARGE TO UPLOAD.6

 5           59.   On January 12, 2018, the owner of a 2018 Honda Odyssey filed the
 6 following complaint with NHTSA:
 7           OUR 2018 HONDA ODYSSEY ELITE HAS A FEATURE CALLED
             IDLE STOP. THE FEATURE HAS MANY CRITERIA THAT MUST
 8
             BE MET BEFORE IT WILL ACTIVATE. IT SHOULD JUST TURN
 9           OFF THE ENGINE WHEN THE CRITERIA HAVE BEEN MET IN AN
             EFFORT TO CONSERVE FUEL IN LIEU OF IDLING. WE ARE
10
             SEEING A RANDOM ISSUE WHEN THIS FEATURE ACTIVATES
11           WHERE THE VEHICLE WILL SHUT OFF THE CAR ENTIRELY
             AND PLACE IT IN PARK. WE MUST MANUALLY START OUR
12
             VEHICLE AGAIN THEN PLACE IT BACK IN DRIVE TO PROCEED.
13           WE’VE HAD IT HAPPEN THREE TIMES. ALL HAVE TAKEN
             PLACE AT STOP LIGHTS FOLLOWING A COMPLETE STOP. THE
14
             MOST RECENT OCCURRENCE TOOK PLACE AT A STOP LIGHT
15           AFTER LEAVING THE HIGHWAY. I’M CONCERNED WE WILL BE
             REAR ENDED DUE TO OUR VEHICLE BEING DISABLED AT AN
16
             INTERSECTION. IT’S CURRENTLY AT THE DEALERSHIP FOR
17           THE FIFTH TIME (MULTIPLE ISSUES WITH THIS VEHICLE) TO
             HOPEFULLY FIND A SOLUTION.7
18
19           60.   On July 17, 2018, the owner of a 2016 Honda Pilot filed the following

20 complaint with NHTSA:
21            THE CAR STALLS INTERMITTENTLY WHEN AUTO IDLE STOP
             IS ENGAGED AND CAR IS STATIONARY. INSTEAD OF THE
22           ENGINE STARTING UP AGAIN AFTER TAKE FOOT OFF THE
23           BRAKE AND PRESS THE GAS PEDAL, THE CAR STALLS
             COMPLETELY AND HAVE TO PUT THE CAR IN PARK, PRESS
24           THE BRAKE PEDAL AND PUSH THE START BUTTON TO GET IT
25           ON AGAIN. SOMETIMES HAVE TO TRY SEVERAL TIMES
             BEFORE CAR RESTARTS. DEALER HAS BEEN UNABLE TO FIND
26
     6
27       NHTSA ID 10991579
     7
         NHTSA ID 11062395
28
                                              11
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 1           ANYTHING OR REPLICATE PROBLEM. FIRST REPORTED TO
 2
             DEALER OCT. 2017, DID SOFTWARE UPDATE, BUT HAPPENED
             AGAIN JUNE AND JULY.8
 3
             61.   On April 25, 2018, the owner of a 2016 Honda Pilot filed the following
 4
     complaint with NHTSA:
 5
              ABOUT 4 MONTHS AGO I WAS AT A STOPLIGHT, MY ENGINE
 6           SHUT DOWN, AS IT WAS SUPPOSED TO WITH THE ‘AUTO IDLE
 7           STOP’ FUNCTION. IT IS SUPPOSED TO START BACK UP WHEN
             YOU TAKE YOUR FOOT OFF THE BRAKE, BUT THIS TIME THE
 8
             CAR STALLED. IT STALLED MANY TIMES AFTER THIS AND IT
 9           WAS ALWAYS UNEXPECTED AND SCARY. I TOOK IT INTO MY
             DEALER ON JUNE 6, 2018 AND THEY SAID THEY COULD SEE
10
             THAT THEY COULD SEE IN THE COMPUTER THAT IT STALLED
11           A FEW TIMES, BUT COULD NOT REPRODUCE THE PROBLEM
             WHILE TEST DRIVING IT. THEY DID A RESET ON THE
12
             ELECTRONICS. THAT DID NOTHING. I STALLED A WHILE
13           AFTER I LEFT THE SHOP. I STALLED MANY MORE TIMES
             AFTER THAT. IT DOES HAVE AN OVERRIDE TO THIS ‘AUTO
14
             IDLE STOP’ SYSTEM, BUT YOU HAVE TO ALWAYS REMEMBER
15           TO PUSH THE BUTTON AND IF I FORGOT AND THE CAR WAS IN
             ‘AUTO IDLE STOP’ MODE AND I PUSHED THE BUTTON, MANY
16
             TIMES THE CAR WOULD STALL. I NOW ALSO HAVE A
17           PROBLEM STARTING THE CAR. WHEN I PUSH THE START
             BUTTON, MANY TIMES THE ENGINE WON’T START. I HAVE TO
18
             PUSH IT 3-4 TIMES TO GET IT TO START. THIS MAKES MY
19           STALLING EVEN MORE DANGEROUS, AS IF IT WAS NOT
             DANGEROUS ENOUGH, BECAUSE IT WILL TAKE ME MUCH
20
             LONGER TO START THE CAR FROM A STALL. I CAN IMAGINE
21           BEING IN SITUATIONS WHERE I WOULD HAVE TO BE ABLE TO
             GET OUT A SITUATION QUICKLY AND IF I STALL I WOULD NOT
22
             BE ABLE TO. IF I AM ON A FREEWAY AND STALL IN HEAVY
23           TRAFFIC, OR STALLING ON TRAIN TRACKS IF I AM IN HEAVY
             TRAFFIC AND I HAPPEN TO BE THE CAR LEFT ON THE TRACKS
24
             AND CAN’T START. OR IF A CAR OR OBJECT IS HEADING
25           TOWARDS ME AND WILL CRASH INTO ME AND I CAN AVOID
             IT BE SPEEDING AWAY. IF I STALL I CAN’T. HERE IS A THREAD
26
             FROM A HONDA PILOT FORUM WITH MANY OWNERS WITH
27
     8
         NHTSA ID 11111894
28
                                              12
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 1         THE SAME PROBLEM.
 2         HTTPS://WWW.PILOTEERS.ORG/FORUMS/114-2016-THIRD-
 3         GENERATION-PILOT/157005-ELITE-SHUTS-OFF-STOP-
           LIGHT.HTML NOT ONE OF THEM HAS HAD IT FIXED BY THERE
 4         REPAIR SHOP. MY CAR HAS BEEN IN THE SHOP FOR THE 2ND
 5         TIME SINCE AUGUST 8, 2018.9
 6         62.   On August 13, 2018, the owner of a 2016 Honda Pilot filed the following
 7 complaint with NHTSA:
 8         THE CAR CONTINUALLY STALLS AT RED LIGHTS AND OTHER
 9         FULL STOPS AFTER THE “AUTO-SHUTOFF” ENGAGES. THE CAR
           FAILS TO RESTART AND RESULTS IN DANGEROUS
10         SITUATIONS IN HIGH TRAFFIC AREAS IN THE CITY. THE CAR
11         CAN NOT BE MOVED EASILY BECAUSE IT BECOMES
           COMPLETELY UNRESPONSIVE, EVEN DISABLING THE
12         FLASHERS. IT HAS HAPPENED REPEATEDLY.10
13
           63.   On October 18, 2018, the owner of a 2016 Honda Pilot filed the following
14
     complaint with NHTSA:
15
           VEHICLE TURNS OFF COMPLETELY WHEN AUTO OFF
16         FEATURE ENGAGES WHILE IN A STOPPED CONDITION. ON
           TWO OCCASIONS, VEHICLE REFUSED TO RESTART FOR
17
           SEVERAL MINUTES. THE FIRST TIME, THE VEHICLE
18         RESTARTED AFTER 2-3 MINUTES, THE SECOND TIME IT
           HAPPENED, CAR WOULD NOT RESTART UNTIL 10-15 MIN
19
           AFTER THE OCCURRENCE. DURING BOTH OCCURRENCES, I
20         WAS IN A STOP CONDITION WITH FOOT ON THE BRAKE,
           VEHICLE IN DRIVE. DEALER SAYS BATTERY TESTS FINE AND
21
           CANNOT REPLICATE THE ISSUE, BUT I KNOW THERE ARE
22         OTHERS EXPERIENCING SAME PROBLEM. THIS IS A MAJOR
           SAFETY ISSUE. ONLY OUT OF SHEAR LUCK, IT HAPPENED TO
23
           ME WHILE AT A RESIDENTIAL GATE KEY PAD PUNCHING IN
24         THE CODE, AND THEN TODAY WHILE IN THE DRIVE THRU OF
           A FAST FOOD PLACE. IF THIS WOULD HAPPEN ON A BUSY
25
           STREET, AT A BUSY INTERSECTION, WHILE SITTING IN
26         STANDSTILL TRAFFIC ON INTERSTATE, ETC, IT COULD BE
27   9
     NHTSA ID 11120858
28 10 NHTSA ID 11119604
                                             13
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 1           EXTREMELY DANGEROUS.11
 2           64.   On September 23, 2018, the owner of a 2016 Honda Pilot filed the
 3 following complaint with NHTSA:
 4            AUTO STOP MALFUNCTION FIRST YEAR OF OWNING THE
 5           PILOT ELITE, THE AUTO STOP FUNCTION WORKED AND
             WOULD RESTART AFTER COMING TO A STOP. BY THE SECOND
 6           YEAR, AFTER COMING TO A STOP IN CITY TRAFFIC AND
 7           ENGINE IS SUPPOSED TO COME BACK ON, IT STALLS AND
             SHUTS OFF AND NEEDS TO BE SHIFTED TO NEUTRAL AND
 8
             THEN RESTART ENGINE. HAVE TAKEN THE CAR FOR
 9           SERVICES SINCE HAVING THIS ISSUE AND REPORTING THE
             ISSUE TO THE DEALERSHIP AND THEY ARE UNABLE TO FIX
10
             THE ISSUE OR REPLICATE THE PROBLEM. NOW INTO YEAR 3
11           OF OWNERSHIP THE AUTO STOP FUNCTION HAS GOTTEN
             WORSE BECAUSE NOW WHEN IT SHUTS OFF AFTER AUTO
12
             STOPPING, IT TAKES A COUPLE OF MINUTES BEFORE YOU ARE
13           ABLE TO RESTART THE CAR. THIS IS VERY UNSAFE AT AN
             INTERSECTION WHEN THE LIGHT TURNS GREEN. ONLY WAY
14
             AROUND THIS ISSUE IS TO DISABLE THE AUTO STOP
15           FUNCTION AT THE BEGINNING OF THE DRIVE WHICH
             DEFEATS THE PURPOSE OF HAVING SUCH A FUNCTION AND
16
             WE AREN’T ABLE TO PERMANENTLY DISABLE THE
17           FUNCTION. I HAVE REPORTED THIS PROBLEM EACH AND
             EVERY TIME I HAVE TAKEN IT IN TO THE DEALERSHIP FOR
18
             SERVICE AND THEY HAVE RUN DIAGNOSTICS AND SAID THEY
19           WEREN’T ABLE TO REPLICATE THE ISSUE.12
20           65.   On September 22, 2018, the owner of a 2016 Honda Odyssey filed the
21 following complaint with NHTSA:
22           I BROUGHT MY CAR TO A STOP AT A VERY BUSY
23           INTERSECTION LEADING TO A FOUR LANE ROAD AND THE
             CAR WANTED TO LUNGE FORWARD. I HAD TO ALMOST
24           STAND ON THE BREAK TO STOP THE CAR AND THE ENGINE
25           ROARED. I TURNED IT OFF. I THEN STARTED THE ENGINE
             AGAIN AND IT DID THE SAME THING. I WAITED A FEW
26
     11
27        NHTSA ID 11141274
     12
          NHTSA ID 11130866
28
                                             14
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 1         MINUTES AND STARTED IT AGAIN. THIS TIME IT WAS OK. I
 2
           HAD THIS HAPPEN LAST YEAR AND TOOK IT IN TO HONDA.
           THEY COULD FIND NO PROBLEM. THIS COULD CAUSE A CAR
 3         TO GO INTO TRAFFIC IF THE DRIVER WAS NOT PAYING
 4         ATTENTION.13

 5         66.   On November 28, 2018, the owner of a 2018 Honda Pilot filed the
 6 following complaint with NHTSA:
 7         VEHICLE WAS STOPPED IN A PARKING LOT IN “DRIVE” WITH
           THE AUTO-IDLE FEATURE IN USE. CAR WOULD NOT RE-START
 8
           WHEN FOOT TAKEN OFF BRAKE. RADIO CUT OUT BRIEFLY AS
 9         WELL. DASHBOARD LIT UP WITH MANY ERROR MESSAGES -
           ONE OF THEM WAS “COLLISION MITIGATION PROBLEM” OR
10
           SOMETHING SIMILAR. PLACED CAR IN PARK AND PUSHED
11         START BUTTON NUMEROUS TIMES. ONLY GOT CLICKING
           SOUNDS, WITH OCCASIONAL ENGINE TURNOVER NOISE, BUT
12
           IT WOULDN’T START. TURNED OFF A/C AND RADIO. CAR
13         FINALLY STARTED AFTER SEVERAL MORE MINUTES OF
           PUSHING START BUTTON WHILE IN PARK WITH FOOT ON
14
           BRAKE.14
15
           67.   On June 2, 2018, the owner of a 2018 Acura MDCX filed the following
16
     complaint with NHTSA:
17
           STARTER FAILED WITH AUTO START/STOP WHILE STOPPED IN
18         TRAFFIC. SINCE ENGINE WOULDN’T START, CAR SHIFTED TO
19         PARK AUTOMATICALLY AND CAN NOT SHIFT TO NEUTRAL
           WITH THE ENGINE OFF AND UNABLE TO START. THE
20         BATTERY WAS FINE AND COULD GO INTO AUX MODE, BUT
21         STILL WON’T SHIFT TO NEUTRAL. ASIDE FROM QUALITY
           ISSUES RELATED TO STARTER, SIGNIFICANT SAFETY DESIGN
22         FLAW.15
23
           68.   On July 17, 2018, the owner of a 2016 Honda Pilot filed the following
24
     complaint with NHTSA:
25
           TL* THE CONTACT OWNS A 2016 HONDA PILOT. WHILE THE
26
     13
      NHTSA ID 11130759
27 14
      NHTSA ID 11154596
28 15 NHTSA ID 11099303
                                            15
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 1           VEHICLE WAS STATIONARY AND WHILE DRIVING VARIOUS
 2
             SPEEDS, THE “AUTO IDLE DISABLER” FEATURE ENGAGED ON
             SEVERAL OCCASIONS. THE VEHICLE STALLED WITHOUT
 3           WARNING AFTER THE BRAKE PEDAL WAS DEPRESSED AT A
 4           STOP LIGHT. THREE WEEKS LATER, WHILE DRIVING
             APPROXIMATELY 15 MPH ON THE FREEWAY, THE “AUTO IDLE
 5           DISABLER” FEATURE ENGAGED AGAIN WHILE IN HEAVY
 6           TRAFFIC AND THE VEHICLE STALLED. THE CONTACT SHIFTED
             THE GEAR INTO PARK, DISABLED THE POWER, AND
 7           RESTARTED THE VEHICLE. IN ADDITION, WHILE THE VEHICLE
 8           WAS STATIONARY, ALL OF THE WARNING INDICATORS
             ILLUMINATED ON THE INSTRUMENT PANEL. WHILE DRIVING
 9           55 MPH, ON ANOTHER OCCASION, THE VEHICLE FAILED TO
10           SHIFT GEARS PROPERLY AND THE RPMS RAPIDLY INCREASED
             TO 5,000. ALSO, THE REVERSE GEAR SHIFTER BECAME
11           INOPERATIVE AND THE GEARS WOULD NOT SHIFT WHILE
12           DRIVING 55 MPH. BIG STAR HONDA (11200 GULF FREEWAY,
             HOUSTON, TEXAS 77034) COULD NOT DIAGNOSE AND
13           DUPLICATE THE FAILURES. THE MANUFACTURER WAS NOT
14           MADE AWARE OF THE FAILURES. THE FAILURE MILEAGE WAS
             APPROXIMATELY 49,000. *DT *JS16
15
             69.   On January 20, 2019, the owner of a 2016 Honda Pilot filed the following
16
     complaint with NHTSA:
17
             WHEN ENGINE TRIES TO RESTART FROM IDLE STOP THE
18
             ENGINE STALLS AND FAILS TO RESTART. HAS DONE THIS
19           NUMEROUS TIMES AND THE DEALER CAN NOT REPLICATE
             THE ISSUE. IS A DANGER WHILE AT A BUSY INTERSECTION.
20
             RADIO ALSO TURNS OFF WHEN TRYING TO RESTART. THIS
21           HAPPENS ALMOST EVERY TIME THE VEHICLE GOES INTO
             IDLE STOP MODE.17
22
23           70.   On January 11, 2019, the owner of a 2016 Honda Pilot filed the following
24 complaint with NHTSA:
25           THE FIRST INCIDENT WAS ON OCT 7, 2018. WE WERE AT A STOP
             LIGHT WITH THE ENGINE IDLE OPTION ENABLED. WHEN THE
26
     16
27        NHTSA ID 11129897
     17
          NHTSA ID 11171058
28
                                               16
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 1           LIGHT TURNED GREEN AND THE BRAKE WAS RELEASED, THE
 2
             VEHICLE SHOULD HAVE STARTED BACK UP, BUT INSTEAD, IT
             STALLED. AFTER THE 2ND TIME IT OCCURRED, WE STARTED
 3           TO DISABLE THE ENGINE IDLE FEATURE AS SOON AS WE
 4           START THE CAR. WE HAVE FORGOTTEN A FEW TIMES AND
             THE VEHICLE STALLING HAS HAPPENED AT LEAST 3
 5           ADDITIONAL TIMES. ALL BEING AT RED LIGHTS WITH THE
 6           BRAKE DEPRESSED. WHEN THE FOOT IS REMOVED FROM THE
             BRAKE, THE VEHICLE JERKS SLIGHTLY AND THEN STALLS.
 7           ONCE ON NOV. 1, 2018 AND AGAIN MOST RECENTLY ON JAN.
 8           6, 2018. LUCKILY, NO ONE HAS BEEN INJURED YET. IT HAS
             BEEN SERVICED REGULARLY AT THE DEALERSHIP DIRECTLY
 9           AND RECEIVED ALL MAINTENANCE RECOMMENDED. THE
10           MOST RECENT SERVICE, THEY WERE UNABLE TO DUPLICATE
             THE ERROR OR IDENTIFY THE ISSUE.18
11
             71.   On January 3, 2019, the owner of a 2016 Honda Pilot filed the following
12
     complaint with NHTSA:
13
             I WAS DRIVING IN STOP AND GO TRAFFIC ON A FREEWAY, MY
14
             FOOT WAS ON THE BRAKE AND CAR WAS IN DRIVE, WHEN I
15           TOOK MY FOOT OFF BREAK AND PUSHED GAS PEDAL THE
             CAR WOULD NOT GO. I TRIED TO PUT IT IN PARK AND IT
16
             WOULD NOT GO, I TRIED TO TURN OFF CAR AND IT WOULDN’T
17           TURN OFF. THE MESSAGE ON THE DASHBOARD SAID TO PUSH
             BRAKE AND TURN ON CAR (SAME MESSAGE AS WHEN I
18
             REMOTE START CAR) AFTER 2 SOLID MINUTES, THE CAR
19           FINALLY DROVE. THE PROBLEM SEEMS TO BE IMPACTED BY
             THE ECON MODE WHICH SHUTS OFF ENGINE WHEN BRAKE
20
             PEDAL IS FULLY ENGAGED. YOU ARE ABLE TO TURN THIS
21           MODE OFF ON THE GEAR SHIFT BUT HAVE TO DO IT EVERY
             TIME YOU START THE CAR.19
22
23           72.   On April 3, 2019, the owner of a 2016 Honda Pilot filed the following
24 complaint with NHTSA:
25           TL* THE CONTACT OWNS A 2016 HONDA PILOT. WHILE
             OPERATING THE VEHICLE AND WHILE AT A STOP LIGHT, THE
26
     18
27        NHTSA ID 11166512
     19
          NHTSA ID 11165626
28
                                               17
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 1           AUTO IDLE STOP FEATURE ACTIVATED NORMALLY, BUT THE
 2
             VEHICLE WOULD NOT IMMEDIATELY RESTART WHEN THE
             DRIVER RELEASED THE BRAKE PEDAL AND DEPRESSED THE
 3           ACCELERATOR PEDAL. THE FAILURE OCCURRED ON
 4           SEVERAL OCCASIONS. DURING THE FAILURE, SEVERAL
             INSTRUCTIONAL PROMPTS APPEARED, EXPLAINING HOW TO
 5           RESTART THE VEHICLE. ON ONE OCCASION, THE VEHICLE
 6           COULD NOT BE RESTARTED AND WAS TOWED TO STERLING
             MCCALL HONDA (22575 HWY 59 NORTH, KINGWOOD, TX
 7           77339). WHILE AT THE DEALER, THE VEHICLE OPERATED
 8           NORMALLY AND THE CAUSE OF THE FAILURE WAS NOT
             DETERMINED. THE MANUFACTURER WAS NOTIFIED OF THE
 9           FAILURE. THE FAILURE MILEAGE WAS 29,000.20
10
             73.   On February 13, 2019, the owner of a 2016 Honda Pilot filed the following
11
     complaint with NHTSA:
12
              ON 2 OCCASIONS, THE AUTOMATIC IDLE STOP HAS TURNED
13           OFF THE ENGINE AND NOT ALLOWED THE CAR TO BE TURNED
             BACK ON. ONE TIME THE VEHICLE EVENTUALLY RESTARTED,
14
             BUT THE SECOND TIME THE VEHICLE HAD TO BE JUMPED BY
15           HIGHWAY PATROL. IT WAS AT A BUSY INTERSTATE EXIT
             RAMP, STOPPED AT A STOPLIGHT, AND WE WERE UNABLE TO
16
             MOVE THE VEHICLE OUT OF THE WAY. IT WAS A VERY
17           DANGEROUS SITUATION. WE HAD THE BATTERY TESTED AND
             IT WAS GOOD. I CONTACTED HONDA VIA EMAIL AND THEY
18
             JUST RESPONDED THAT THERE WERE NO RECALLS AND TO
19           CONTACT THE DEALER. THE DEALER SAID THAT THEY ARE
             UNABLE TO PERMANENTLY DISABLE THE FEATURE. NOW, TO
20
             ENSURE THAT I AM NOT IN ANOTHER DANGEROUS
21           SITUATION DUE TO THIS FEATURE, I HAVE TO MANUALLY
             DISABLE IT EVERY TIME I TURN THE CAR ON.21
22
23           74.   On June 6, 2019, the owner of a 2016 Honda Pilot filed the following
24 complaint with NHTSA:
25           AUTO IDLE STOP DOESN’T RESTART. IT STALLS OFTEN
             DEPENDING ON THE LENGTH OF THE IDLE. IT HAS BEEN
26
     20
27        NHTSA ID 11193598
     21
          NHTSA ID 11179888
28
                                                18
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 1           SLOWING PROGRESSING TO UNRELIABLE. IT STOPS
 2
             ENTIRELY, OFTEN IN TRAFFIC AND THEN YOU HAVE TO PUT
             CAR IN PARK, RESTART ENGINE AND THEN PUT IN DRIVE AND
 3           GO AGAIN. BY THIS TIME TRAFFIC IS ALREADY MOVING
 4           AROUND YOU. VERY DANGEROUS AND SCARY ON FREEWAY
             AND AT INTERSECTIONS. HAD THE BATTERY CHECKED AT
 5           AUTO STORE, TAKE IN FOR REGULAR MAINTENANCE - IT
 6           TESTED STRONG BUT NEEDED A “CHARGE” SHOULD BE
             RECHARGING WHEN RUNNING AND ON FREEWAY.22
 7
             75.   On June 18, 2019, the owner of a 2016 Acura MDX filed the following
 8
     complaint with NHTSA:
 9
             TL* THE CONTACT OWNS A 2016 ACURA MDX. ON SEVERAL
10
             OCCASIONS, WHILE STOPPED AT A TRAFFIC LIGHT, THE
11           VEHICLE STALLED. WHEN THE PUSH TO START BUTTON WAS
             PRESSED, THE VEHICLE RESTARTED. THE VEHICLE WAS NOT
12
             DIAGNOSED OR REPAIRED. A DIAGNOSTIC APPOINTMENT
13           WAS SCHEDULED WITH ACURA OF FREMONT (LOCATED AT
             5700 CUSHING PKWY, FREMONT, CA 94538, (510) 431-2500). THE
14
             MANUFACTURER WAS NOT NOTIFIED OF THE FAILURE. THE
15           APPROXIMATE FAILURE MILEAGE WAS 38,000.23
16           76.   On May 24, 2019, the owner of a 2016 Honda Pilot filed the following
17 complaint with NHTSA:
18            THE ENGINE FULLY STOPPED WHILE DRIVING ON THE HWY
19           WHILE DRIVING ALMOS GOT REAR ENDED. I WAS MOVING
             TAPPED THE BREAK AND THE ENGINE STOPPED ( LIKE IN
20           IDLE) I QUICKLY PUSHED ON THE GAS AND AFTER SECONDS
21           OF NO RESPONSE IT CAME BACK. ON 9/2/2018 THIS HAPPENED
             WHEN I WAS GOING TJRU PAYING TOLL I TOUCHED THE
22           BREAK TRYING TO SLOW DOWN IT COMPLETLY DIED, TRIED
23           TO PUSH GAS NO RESPONSE DIED AND WENT IN N. HAD TO
             TURN IT ON AMD DRIVE AGAIN. AT THAT TIME WENT TO
24           DEALER AMD THEY DID NOT SEE AN ISSUE. IT IS
25           HAPPENENING MORE NOW. IT IS FRIGHTENING TO BE UNDER
             THE MERCEY OF TJE PERAON BEHIND U TO SLOW DOWN IN
26
     22
27        NHTSA ID 11218355
     23
          NHTSA ID 11220990
28
                                              19
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 1           TIME. THIS IS HORROBLE VERY SCARY AND CAN KILL A
 2
             FAMILY!24

 3           77.   On May 21, 2019, the owner of a 2016 Honda Pilot filed the following
 4 complaint with NHTSA:
 5            I HAVE A 2016 TOURING PILOT WITH JUST OVER 38,000 MILES.
             SINCE ABOUT 25,000 MILES I HAVE FELT THAT THERE WAS AN
 6           ODD HESITATION WITH THE AUTO-OFF FEATURE THAT I’D
 7           NOT NOTICED DURING THE INITIAL PERIOD OF OWNERSHIP.
             THE ISSUE ESCALATED TO THE POINT WHICH IT WOULD
 8
             ACTUALLY STALL OUT AT AN INTERSECTION AND THE
 9           VEHICLE WOULD NOT TURN BACK ON FOR A FEW MINUTES.
             THE DEALERSHIP REPLACED THE BATTERY AND SAID THAT
10
             THEY COULD SEE THE ERROR AND THAT THERE WAS AN
11           ISSUE CAUSED BY THE BATTERY. A FEW MONTHS LATER THE
             ISSUE STARTED TO HAPPEN AGAIN AND STALLED FOR MY
12
             WIFE AGAIN WITH OUR KIDS IN THE CAR AT A BUSY
13           INTERSECTION. THE CAR WENT BACK INTO THE DEALERSHIP
             AND THEY HAVE NOW HAD IT FOR CLOSE TO 6 WEEKS WITH
14
             LITTLE TO NO UPDATE AS TO WHAT IS GOING ON. THIS IS A
15           HORRIBLY UNSAFE ISSUE AND I KNOW FOR A FACT THAT
             MANY PEOPLE ARE HAVING THE SAME ISSUE AS
16
             REFERENCED             IN           THIS           BLOG:
17           HTTPS://WWW.PILOTEERS.ORG/FORUMS/114-2016-THIRD-
             GENERATION-PILOT/157005-ELITE-SHUTS-OFF-STOP-LIGHT-
18
             5.HTML THE FACT THAT HONDA CAN NOT COME UP WITH A
19           FIX FOR THE ISSUE IS A VERY SCARY THOUGHT. WE AS
             CONSUMERS NEED SOMEONE TO HELP HOLD HONDA
20
             ACCOUNTABLE TO PROVIDE A SAFE DRIVING EXPERIENCE
21           FOR OUR FAMILIES25
22           78.   On June 20, 2019, the owner of a 2016 Honda Pilot filed the following
23 complaint with NHTSA:
24           THIS HAS HAPPENED SEVERAL TIMES AND HONDA HAS BEEN
25           UNABLE TO REPLICATE. IT HAS HAPPENED ON THE FREEWAY
             AND ON CITY STREETS. THE CAR IS IN DRIVE AND MY CAR
26
     24
27        NHTSA ID 11209757
     25
          NHTSA ID 11208938
28
                                              20
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 1           HAS AN ENGINE IDLE SO THAT WHEN TRAFFIC COMES TO A
 2
             HALT THE ENGINE CUTS OUT TO CONSERVE GAS. ON MANY A
             OCCASION IT WILL NOT JUST AUTOMATICALLY START BUT
 3           WILL INSTEAD KICK THE VEHICLE INTO PARK. IT IS
 4           EXTREMELY SCARY AS IT WILL THEN NOT START AS IF THE
             BATTERY IS DEAD BUT THE BATTERY IF FINE AND HAS BEEN
 5           REPLACED AS HONDA THOUGHT THAT WOULD RESOLVE IT.
 6           THEY ALSO REPLACED ALL THE FUEL INJECTORS AND THIS
             ALSO HAS NOT STOPPED THE PROBLEM. I FEEL I AM GOING
 7           TO BE KILLED IN THIS CAR. I HAVE CASE # 08783155 WITH
 8           HONDA AND AFTER HAVING JUST SPOKE TO THEM THEY
             ADVISED ME TO FILM PROBLEM!! YES THEY EXPECT ME TO
 9           GET MY PHONE OUT AND FILM WHILE MY VEHICLE HAS
10           COME TO A HALT IN MOVING TRAFFIC!26

11           79.   On June 15, 2019, the owner of a 2016 Honda Pilot filed the following
12 complaint with NHTSA:

13            CAR WAS ENGAGED IN “IDLE-STOP” AT A TRAFFIC LIGHT.
             FOLLOWING DRIVER’S LIFTING OF FOOT OFF OF THE BRAKE
14
             PEDAL, CAR SHUT OFF COMPLETELY. ALL DASHBOARD
15           LIGHTS LIT UP, AND CAR WAS NOT ABLE TO BE TURNED BACK
             ON FOR 1-2 MINUTES. CAR WAS IN THE MIDDLE OF A BUSY
16
             STREET, AND A LARGE VEHICLE NEARLY REAR-ENDED THE
17           DEAD CAR. DRIVER WAS THEREAFTER ABLE TO FOLLOW ON-
             SCREEN INSTRUCTIONS FOR RESTARTING VEHICLE, BUT WAS
18
             UNSUCCESSFUL IN SEVERAL INITIAL ATTEMPTS. (IN OTHER
19           WORDS, CAR WAS NOT STARTING DESPITE DRIVER’S
             COMPLYING WITH INSTRUCTIONS. PRIOR TO THIS INCIDENT,
20
             CAR HAD IN SOME INSTANCES VERY MOMENTARILY “CUT
21           OUT” FOLLOWING AN “IDLE-START.” DRIVER NOTICED A
             “POPPING” AT THIS TIME. BUT THE PROBLEM, WHICH THE
22
             MANUFACTURER AND DEALER CLAIM TO KNOW NOTHING
23           ABOUT AND ARE “UNABLE TO REPLICATE” DURING SERVICE,
             IS CLEARLY BECOMING WORSE AND MORE DANGEROUS
24
             OVER TIME. THE BEST THE HONDA DEALERSHIP SERVICE
25           DEPARTMENT APPEARS TO BE ABLE TO DO IN DIAGNOSING
             THE PROBLEM IS TO SUGGEST BATTERY RECHARGE OR
26
             REPLACEMENT, WHICH HAS NOT BEEN AN ISSUE FOR OUR
27
     26
          NHTSA ID 11221559
28
                                              21
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 1           CAR AND IS APPARENTLY A COMMON SUGGESTION FROM
 2
             DEALERSHIPS. THIS IS AN APPARENTLY BIGGER ISSUE THAN
             HONDA HAS BEEN WILLING TO ADMIT.27
 3
             80.    On July 10, 2019, the owner of a 2016 Honda Pilot filed the following
 4
     complaint with NHTSA:
 5
              WHILE IDOL AT RED LIGHT, THE AUTOMATIC IDOL KICKED
 6           IN FOR POWER SAVE YET JERKED AND ALL RED LIGHT
 7           INDICATORS TURNED ON, INCLUDING PARKING BREAKS, AND
             CAR SEIZED UP. NO POWER, NO ABILITY PUT CAR IN PARK OR
 8
             DRIVE. ON/OFF SWITCH NO REACTION TO TURN CAR ON OR
 9           OFF. NO BRAKE FUNCTION. I SAT IN AN UNRESPONSIVE
             VEHICLE AT VERY BUSY INTERCETION. LUCKILY THE
10
             VEHICLE BEHIND ME WAS STOPPED AND ONLY LAID ON
11           THEIR HORN FOR 2 RED LIGHT CYCLES RATHER THAN
             HITTING ME. I ACTIVATED MY EMERGENCY FLASHERS YET
12
             OTHER DRIVER DID NOT RESPOND. I REPETITIVELY KEPT
13           PUSHING POWER BUTTON IN EFFORT FOR CAR TO RESPOND
             AND RESTART, EVENTUALLY DID AND WAS ABLE TO DRIVE
14
             OFF. HAVE APPT WITH DEALERSHIP IN AM.28
15
             81.   On July 9, 2019, the owner of a 2016 Honda Pilot filed the following
16
     complaint with NHTSA:
17
              WHEN MY CAR STOPS WHILE APPLYING THE BREAK PADDLE
18           COMPLETELY, THE CAR MAY START ‘IDLE STOP’ WHICH
19           TURNS OFF THE ENGINE. THE ENGINE MAY RESTART EITHER
             BY RELEASING THE BREAK PADDLE OR WHEN AC OR
20           BATTERY NEEDS THE ENGINE TO TURN BACK ON. WE HAVE
21           HAD MULTIPLE OCCURRENCES WHERE THE CAR WILL
             COMPLETELY RESET THE ELECTRICAL SYSTEM SHUTTING
22           DOWN ALL THE LIGHTS, DISPLAYS, RADIO AND ENGINE, AND
23           IT MAY OR MAY NOT RESTART THE ENGINE. SOMETIMES, IT
             REQUIRES MULTIPLE PRESSES OF THE ENGINE START
24           BUTTON WHICH MAY TAKE MULTIPLE SECONDS AT A STOP.
25           THIS CREATES A SAFETY HAZARD WHERE CARS BEHIND MAY
             REAR END US WHILE WE TRY TO RESTART. TODAY, IT
26
     27
27        NHTSA ID 11220350
     28
          NHTSA ID 11230891
28
                                               22
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 1         HAPPENED TO MY WIFE IN MOTION AFTER THE ENGINE
 2
           RESTARTED AND SHE WAS IN THE MIDDLE OF AN
           INTERSECTION. I WONDER IF THIS COULD EVEN HAPPEN ON
 3         A RAILWAY... WE REPORTED IT TWICE AND TRIED FIXING IT
 4         AT A HONDA SHOP (1ST TEXAS HONDA @ AUSTIN, TX), THEY
           MADE MULTIPLE CLAIMS INCLUDING BAD BATTERY THAT
 5         REQUIRED REPLACING IT (ISSUE STILL REOCCURRED),
 6         BLAMING IT ON A POWER CABLE THAT GOES TO AN
           OPTIONAL TRAILER HITCH CONNECTION THAT IS NOT IN USE,
 7         BUT HAVE NOT TRIED TRIED REPLACING THE FAULTY IDLE
 8         START/ENGINE MODULE. SEARCHING THRU THE INTERNET,
           THERE ARE MULTIPLE REPORTS OF THE SAME ISSUE.
 9         HTTPS://WWW.CARCOMPLAINTS.COM/HONDA/PILOT/2016/EN
10         GINE/AUTO_IDLE_STOP_DOES_NOT_WORK.SHTML THERE IS
           NO RECALL OR A ROOT CAUSE ANALYSIS REPORTED BY
11         HONDA TRYING TO RESOLVE THE ISSUE FOR THE OWNERS.
12         NEEDLESS TO SAY, TRYING TO TAKE A VIDEO/PHOTO WHEN
           IT HAPPENS IS NOT SIMPLE, LARGELY, BECAUSE WE DON’T
13         HOLD OUR PHONES WHILE DRIVING THE CAR AND
14         SECONDLY, IT’S RANDOM EVENT WHEN IT HAPPENS... THE
           ISSUE REPEATS MULTIPLE TIMES A WEEK, BUT NOT ON
15         EVERY STOP. WORSE AT HOT TEMPERATURES29
16
           82.   On June 24, 2019, the owner of a 2016 Honda Pilot filed the following
17
     complaint with NHTSA:
18
           THE ENGINE IDLE STOP FEATURE NOT WORKING PROPERLY.
19         WHEN THE VEHICLE IS AT A STOP THE ENGINE TURNS OFF
           LIKE INTENDED. SOMETIMES THE RADIO TURNS OFF AND
20
           RESTARTS IMMEDIATELY. RANDOMLY WHEN YOU TAKE YOU
21         FOOT OFF THE GAS THE ENTIRE VEHICLE AND ALL
           FUNCTIONS TURN OFF. IN ORDER TO TURN THE VEHICLE YOU
22
           NEED TO PRESS THE IGNITION BUTTON AND SET THE VEHICLE
23         IN PARK. THIS IS VERY DANGEROUS IN STOP AND GO
           TRAFFIC. THE MOST RECENT TIME IT HAPPENED WAS ON THE
24
           FREEWAY AT A CREST. TOOK IT TO DEALER AND THEY
25         COULD NOT REPLICATE.30
26
     29
27      NHTSA ID 11230198
     30
        NHTSA ID 11222280
28
                                            23
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 1         83.   On June 24, 2019, the owner of a 2019 Acura MDX filed the following
 2 complaint with NHTSA:
 3         THE ENGINE AUTO STOP OR IDLE STOP IS A SAFETY HAZARD.
 4
           THE ENGINE SHUTS OFF PREVENTING A QUICK
           ACCELERATION FROM AN INTERSECTION OR OTHER
 5         HAZARD. THE MANUFACTURE SHOULD OFFER A METHOD TO
 6         PERMANENTLY DISABLE THIS HAZARD.I WAS NEARLY T-
           BONED WHEN TRYING TO MAKE A LH TURN AT A BUSY
 7         INTERSECTION BECAUSE THE CAR HAD TO START BEFORE
 8         ACCELERATING31

 9         84.   On July 12, 2019, the owner of a 2016 Honda Pilot filed the following
10 complaint with NHTSA:
11         CAR SHUTS DOWN AND STALLS WHEN IDLE STOP ENGAGES
           VERY FREQUENTLY OVER THE PAST YEAR IN THE MIDDLE OF
12
           THE INTERSECTION OR HIGHWAY. HAVE TAKEN IN TO HONDA
13         DEALERS MULTIPLE TIMES BUT THEY CANNOT RECREATE
           THE PROBLEM AND SAY THE BATTERY TESTS OK YET
14
           RECOMMEND CHANGING THE BATTERY?!32
15
           85.   On July 21, 2019, the owner of a 2016 Acura MDX filed the following
16
     complaint with NHTSA:
17
           MY 2016 ACURA MDX. STALLED TWICE. BOTH TIMES IN START
18         AND STOP TRAFFIC WHEN STOPPED THE CYLINDER
19         DEACTIVATION ENGAGED, HOWEVER THEN THE POWER
           WENT OUT COMPLETELY WITHOUT WARNING, IT TOOK
20         ABOUT 5-10 MIN THEN THE PUSH TO START WORKED AND THE
21         CAR RESTARTED. AFTER THE FIRST STALL WE TOOK IT
           ACURA, HOWEVER THEY SAID THERE WAS NOTHING WRONG.
22         I AM WRITING THIS REPORT AFTER THE SECOND STALL
23         TODAY.33

24         86.   On August 13, 2019, the owner of a 2019 Honda Pilot filed the following
25 complaint with NHTSA:
26
     31
      NHTSA ID 11234618
27   32
      NHTSA ID 11231357
28 33 NHTSA ID 11233636
                                             24
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 1         WHEN ENGINE AUTO IDLE IS ENGAGED, INSTEAD OF RE-
 2
           ENGAGING WHEN FOOT REMOVED FROM BRAKE, THE CAR
           STALLS IN ONE OF THREE WAYS. GRADE 1, THE FAN AND
 3         RADIO SHUT OFF BUT THE ENGINE ENGAGES ONCE GAS IS
 4         APPLIED. GRADE 2, THE FAN, RADIO AND ENGINE SHUT OFF
           BUT RESTART ONCE GAS IS APPLIED. VARIOUS WARNING
 5         LIGHTS THEN APPEAR ON THE DASH. GRADE 3, EVERYTHING
 6         SHUTS OFF AND THE CAR WILL NOT RESTART UNTIL YOU
           SHIFT INTO PARK AND PRESS THE START BUTTON SEVERAL
 7         TIMES. THIS IS VERY DANGEROUS AS IT HAPPENS AT
 8         INTERSECTIONS WHEN CARS EXPECT YOU TO BE MOVING
           AND YOU’RE STALLED OUT. I HAVE VIDEO OF THESE
 9         INCIDENTS AND HAVE PROVIDED THEM TO THE HONDA
10         DEALER.34

11         87.   On August 13, 2019, the owner of a 2017 Honda Pilot filed the following
12 complaint with NHTSA:

13         I JUST PURCHASED MY HONDA CERTIFIED ‘17 PILOT ELITE
           ONE MONTH AGO. I WOULD NOTICE THAT THE CAR WOULD
14
           LAG WHEN USING THE AUTO IDLE STOP FUNCTION, IT WOULD
15         SPUTTER, AND EVENTUALLY AND NOW MULTIPLE TIMES, IT
           WOULD STALL OUT AT A STOP LIGHT OR STOP SIGN WHEN I
16
           WAS IN AUTO IDLE-STOP AND TOOK MY FOOT OFF OF THE
17         BRAKE TO GO. MY HONDA PILOT STALLED IN THE MIDDLE OF
           AN INTERSECTION, WAITING TO TURN LEFT, OF A BUSY MAIN
18
           HIGHWAY, WITH MY HUSBAND AND YOUNG CHILDREN
19         INSIDE. WHEN IT WAS SAFE TO TURN, TOOK FOOT OFF OF THE
           BRAKE AND THE CAR STALLED. IT TOOK MANY FRANTIC
20
           ATTEMPTS TO GET THE CAR TO TURN BACK ON TO BE ABLE
21         TO MOVE SAFELY OUT OF THE INTERSECTION. THIS CAR HAS
           PLACED MYSELF AND MY FAMILY IN DANGER NOW ON
22
           MULTIPLE OCCASIONS. TOOK TO DEALERSHIP WHERE THEY
23         INFORM THAT THEY HAVE NEVER HEARD OF THIS
           HAPPENING, AND THAT THEY DO NOT KNOW WHAT IS
24
           WRONG. CAR HAS BEEN TO THE DEALERSHIP TWICE FOR
25         SAME ISSUE NOW, IN ONE MONTH.35
26
     34
27      NHTSA ID 11243724
     35
        NHTSA ID 11243735
28
                                             25
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 1           88.   On August 14, 2019, the owner of a 2017 Honda Pilot filed the following
 2 complaint with NHTSA:
 3           TL* THE CONTACT OWNS A 2017 HONDA PILOT. WHILE THE
 4
             VEHICLE WAS STOPPED WITH THE AUTO IDLE ENGAGED AND
             AIR CONDITIONER ACTIVATED, THE BRAKE PEDAL WAS
 5           RELEASED AND THE VEHICLE STALLED. ALSO, THE GEAR
 6           SHIFTER WENT INTO PARK. THE CONTACT HAD TO PRESS THE
             ENGINE START BUTTON SEVERAL TIMES FOR THE VEHICLE
 7           TO RESTART. ALL THE WARNING INDICATORS ON THE
 8           INSTRUMENT CLUSTER WERE ILLUMINATED. THE CONTACT
             CALLED HONDA OF COVINGTON (100 HOLIDAY SQUARE
 9           BLVD, COVINGTON, LA 70433, (985) 892-0001), BUT THE
10           VEHICLE WAS NOT DIAGNOSED OR REPAIRED. THE
             MANUFACTURER WAS NOT CONTACTED. THE FAILURE
11           MILEAGE WAS 63,500. *AS THE CONSUMER STATED A
12           SOFTWARE UPDATE WAS INSTALLED AND A BATTERY
             CHECK, BUT THE PROBLEM PERSISTS. *TR36
13
             89.   On August 26, 2019, the owner of a 2017 Honda Pilot filed the following
14
     complaint with NHTSA:
15
             HAVE A 2017 HONDA PILOT TOURING WITH 39K MILES.
16
             USUALLY THE CAR GOES INTO ‘ACCESSORY’ MODE WHEN
17           THE AUTO IDLE STOP KICKS IN BUT A COUPLE OF MONTHS
             AGO SOMETHING NEW STARTED- I EXPERIENCED A TOTAL
18
             STALL FOR THE FIRST TIME, AND IT HAS HAPPENED 3 MORE
19           TIMES SINCE. THE CAR TURNED COMPLETELY OFF, BUT IT DID
             NOT RESTART AUTOMATICALLY. THE DASHBOARD WAS LIT
20
             UP WITH PROBLEMS. I PUT THE CAR IN PARK AND
21           FRANTICALLY TRIED TO RESTART IT AS I WAS ON A
             HIGHWAY IN TRAFFIC. ONCE IT WAS RESTARTED, I DISABLED
22
             AUTO IDLE STOP AND I’VE BEEN DISABLING IT EVER SINCE.
23           HOWEVER, THIS IS A MANUAL FIX AND IS NOT ALWAYS
             SOMETHING ONE REMEMBERS TO DO, ESPECIALLY SINCE WE
24
             HAVE A NEW 16-YEAR-OLD DRIVER ENTERING THE FRAY IN
25           OUR HOME SOON. AFTER RESEARCHING THIS EXTENSIVELY
             ONLINE, THERE APPEARS TO BE A KNEE-JERK REACTION
26
             FROM HONDA TO REPLACE THE BATTERIES IN THESE
27
     36
          NHTSA ID 11243935
28
                                               26
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 1         AFFECTED VEHICLES, BUT IT IS NOT STOPPING THE ISSUE,
 2
           ACCORDING TO MULTIPLE ACCOUNTS. THE NHTSA HAS
           MANY DOCUMENTED CASES OF THIS AND IT IS AN OBVIOUS
 3         SAFETY ISSUE, BUT NO RECALL IS YET IN PLACE. CALLED
 4         HONDA USA CUSTOMER SERVICE AT 9:30 AM TODAY AND
           VERIFIED THERE ARE NO RECALLS REGARDING THIS
 5         PROBLEM AND IF THE CAR IS OUT OF WARRANTY THAT
 6         THERE WOULD BE NO FINANCIAL RELIEF FOR NECESSARY
           PARTS/LABOR RELATED TO THIS ISSUE.37
 7
           90.   On January 11, 2020, the owner of a 2017 Honda Pilot filed the following
 8
     complaint with NHTSA:
 9
           ABOUT 6 MONTHS AGO, WHEN MY CAR HAD LESS THAN 30K
10
           MILES. MY CAR WOULD STALL WHILE THE CAR WAS IN
11         “AUTO IDLE-STOP MODE”. INITIALLY, I FIRST NOTICED THAT
           THE AUTO IDLE-STOP WAS HESITATING WHEN IT WOULD
12
           START UP. THEN THINGS GOT WORSE AND I NOTICED THAT
13         THE RADIO WOULD TURN OFF AND I’D HEAR ALL OF THE
           CHIMES LIKE WHEN I START THE CAR. I BROUGHT MY CAR TO
14
           HONDA TO HAVE THIS FIXED. THEY SAID IT WAS THE
15         COMPUTER AND CLAIMED THEY FIXED IT. THE PROBLEM
           STILL CONTINUES. I ALSO HAD A CONVERSATION WITH THE
16
           SERVICE MANAGER AND HE PROMISED HE WOULD INFORM
17         HONDA CORPORATE. I NEVER RECEIVED ANY FOLLOW UP. I
           GOOGLED THIS PROBLEM AND HAVE FOUND OUT I’M NOT
18
           THE ONLY ONE. THIS IS DANGEROUS BECAUSE SOMETIMES I
19         NEED TO MAKE A TURN AND MY CAR HAS STALLED AND
           ADDS A FEW SECONDS. THERE ARE OTHER PEOPLE
20
           EXPERIENCEING           THE     SAME          PROBLEM:
21         HTTPS://WWW.PILOTEERS.ORG/THREADS/ELITE-SHUTS-OFF-
           AT-STOP-LIGHT.157005/38
22
23         91.   On February 3, 2020, the owner of a 2017 Honda Pilot filed the following
24 complaint with NHTSA:
25         AUTO ENGINE IDLE STOP: STALLING WHEN ACTIVE39
26
     37
      NHTSA ID 11246340
27 38
      NHTSA ID 11298616
28 39 NHTSA ID 11306743
                                             27
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 1         92.   On February 4, 2020, the owner of a 2017 Honda Pilot filed the following
 2 complaint with NHTSA:
 3         FROM A STOP, AT TIMES WHEN I TAKE MY FOOT OFF THE
 4
           BRAKE WITH THE AUTO-ENGINE IDLE SET TO “ON”, WHEN I
           TRY TO ACCELERATE, THE ENGINE WILL CUT OFF. THE CAR
 5         PUTS ITSELF IN EITHER NEUTRAL OR PARK, THEN I HAVE TO
 6         RESTART THE CAR - DEPRESS BRAKE AND PRESS BUTTON -
           AFTER 30 SECONDS TO A MINUTE. I WAS LUCKY NOT TO HAVE
 7         BEEN REAR-ENDED SINCE AT A GREEN LIGHT, OTHER
 8         DRIVERS GO, AND DO NOT EXPECT A DRIVER IN FRONT OF
           THEM TO STOP.40
 9
           93.   On February 7, 2020, the owner of a 2016 Honda Pilot filed the following
10
     complaint with NHTSA:
11
           WHILE STOPPED AT A FREEWAY OFF RAMP. THE CAR
12
           AUTOMATICALLY SHUT OFF THE ENGINE PER THE
13         START/STOP FEATURE. WHEN THE LIGHT TURNED GREEN THE
           CAR DID NOT RESTART AND INSTEAD COMPLETELY SHUT
14
           OFF AND PUT ITSELF INTO PARK. I HAD TROUBLE
15         RESTARTING WHILE TRAFFIC BUILT UP BEHIND ME. THIS IS
           NOT THE FIRST TIME THIS HAS HAPPENED. IT IS A VERY
16
           DANGEROUS AND DISCONCERTING PROBLEM.41
17
           94.   On February 24, 2020, the owner of a 2017 Honda Pilot filed the following
18
     complaint with NHTSA:
19
           THE AUTO IDLE FEATURE IN MY CAR MY CAR OFF
20         COMPLETELY AND THEN WON’T ALLOW IT RESTART
21         IMMEDIATELY. IT CAUSES A STALL AT LIGHTS. IT OFTEN
           TAKES TRYING TO START THE CAR FOR SEVERAL MINUTES
22         BEFORE IT WILL TURN BACK ON. THIS HAS HAPPENED
23         SEVERAL TIMES. IT CAN NEVER BE FIXED BY THE DEALER.
           THEY DON’T KNOW HOW TO REPLICATE THE ISSUE IN THE
24         SHOP.42
25
     40
26    NHTSA ID 11307006
   41
      NHTSA ID 11307767
27
   42
      NHTSA ID 11311010
28
                                              28
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 1           95.   On March 1, 2020, the owner of a 2016 Honda Pilot filed the following
 2 complaint with NHTSA:
 3           I CAME TO A COMPLETE STOP AT A VERY BUSY
 4
             INTERSECTION. THE IDLE START/STOP KICKED IN. WHEN I
             WENT TO REMOVE MY FOOT FROM THE BRAKE TO THE GAS
 5           TO GO ACROSS THE BUSY INTERSECTION, MY PILOT
 6           COMPLETELY DIED. THIS LEFT ME STRANDED AT A STOP SIGN
             AT A VERY BUSY INTERSECTION FOR OVER 2 HOURS WAITING
 7           FOR A TOW TRUCK. AFTER A COUPLE OF DAYS AT THE
 8           DEALERSHIP, THEY SAID IT WAS ‘JUST A SOFTWARE UPDATE’.
             IT IS A KNOWN ISSUE BUT THEY ARE ONLY FIXING IT WHEN
 9           IT AFFECTS A VEHICLE. NO RECALL??!!!! I WOULD LOVE TO BE
10           ABLE TO UPLOAD MY VIDEO THAT I TOOK WHEN THIS ALL
             HAPPENED SO YOU COULD SEE WHAT MY DASH LOOKED LIKE
11           WHEN I KEPT TRYING TO START MY CAR BACK UP. THE WEEK
12           PRIOR TO THIS, THE PHOTO SHOWS WHAT NOTICE POPPED UP
             ON MY DASH.43
13
             96.   On May 4, 2020, the owner of a 2016 Honda Pilot filed the following
14
     complaint with NHTSA:
15
             THE IDLE START/STOP FEATURE CAUSES THE CAR TO STALL
16
             WHEN STOPPED. WHEN THE AT A FULL STOP AND THE
17           IDLE/STOP KICKS IN THE CAR DOES NOT COME BACK ON AND
             SHUTS OFF WITH ALL OF THE LIGHTS IN THE CONSOLE
18
             LIGHTING UP AND MUST BE COMPLETELY SHUT-OFF AND
19           RESTARTED, “STALL OUT” AT A STOP LIGHT OR STOP SIGN
             WHEN I WAS IN “AUTO IDLE-STOP” AND PRESSED ON THE GAS.
20
             I FIRST NOTICED THAT THE AUTO IDLE-STOP WAS
21           HESITATING WHEN IT WOULD START UP. I ALSO NOTICED
             THAT THE RADIO WOULD “CUT OUT”. AFTER THAT, THE
22
             VEHICLE WOULD JUST STALL OUT AND I WOULD HAVE TO
23           PUSH PARK, PUT MY FOOT ON THE BRAKE AND THEN PUSH
             START. TOOK TO THE DEALER DURING MY LAST SERVICE ON
24
             JANUARY 20, 2020 AND THEY COULD NOT DUPLICATE. THE
25           ISSUE HAS PROGRESSIVELY GOTTEN WORSE AND IS
             HAPPENING MORE FREQUENTLY. THE CAR HAS STALLED AT
26
             LIGHTS AND POSES A DANGER TO MY WIFE AND 3 YOUNG
27
     43
          NHTSA ID 11315393
28
                                              29
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 1         CHILDREN. THE DEALERSHIP WILL NOT LOOK INTO IT ANY
 2
           FURTHER BECAUSE THEY CANNOT DUPLICATE THE
           PROBLEM. I’VE RESEARCHED FORUMS ONLINE AND OTHER
 3         HONDA PILOT OWNERS HAVE EXPRESSED THEY ARE
 4         EXPERIENCING THE SAME ISSUE.44

 5         97.   On March 10, 2020, the owner of a 2018 Honda Pilot filed the following
 6 complaint with NHTSA:
 7         THE VEHICLE WOULD “STALL OUT” AT A STOP LIGHT OR STOP
           SIGN WHEN I WAS IN “AUTO IDLE-STOP” AND PRESSED ON
 8
           THE GAS. I FIRST NOTICED THAT THE AUTO IDLE-STOP WAS
 9         HESITATING WHEN IT WOULD START UP. I ALSO NOTICED
           THAT THE RADIO WOULD “CUT OUT”. AFTER THAT, THE
10
           VEHICLE WOULD JUST STALL OUT AND I WOULD HAVE TO
11         PUSH PARK, PUT MY FOOT ON THE BRAKE AND THEN PUSH
           START. THIS HAS HAPPENED SEVERAL TIMES.45
12

13         98.   On March 31, 2020, the owner of a 2017 Honda Pilot filed the following

14 complaint with NHTSA:
15         HONDA PILOT ELITE DOES NOT AUTO RE-START CONDITION
           AFTER GOING INTO AN AUTO IDLE STOP. I TRIED TO RE-START
16         THE VEHICLE BY PLACING THE GEAR INTO THE PARK
17         POSITION AND PRESSING THE START BUTTON. THIS LEAVES
           ME STRANDED AT A STOP LIGHTS AND SIGNS AND IMPOSES
18         RISK TO SELF AND OTHERS.46
19
           99.   On April 9, 2020, the owner of a 2018 Honda Pilot filed the following
20
     complaint with NHTSA:
21
           CAR STARTS TO STALL WHEN ACCELERATING AND WHEN I
22         LET GO OF THE ACCELERATION PEDAL. *TR
23         100. On April 22, 2020, the owner of a 2016 Honda Pilot filed the following
24 complaint with NHTSA:
25         WE OWN A 2016 HONDA PILOT ELITE WITH AUTO START/STOP
26   44
      NHTSA ID 11323258
27   45
      NHTSA ID 11317205
28 46 NHTSA ID 11319867
                                            30
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 1           FEATURE. THE VEHICLE HAS APPROXIMATELY 78,000 MILES
 2
             AND BEGAN EXHIBITING ISSUES WITH THE AUTO START/STOP
             FEATURE. WHEN STOPPED AT ANY LOCATION, THE AUTO
 3           STOP ENGAGES AND TURNS OFF THE ENGINE AND SHOULD
 4           RESTART WHEN YOU LIFT YOUR FOOT OF THE BRAKE; BUT IT
             IS NOW TURNING ALL THE POWER TO THE VEHICLE OFF
 5           (RADIO OFF, A/C OFF, DASH LIGHTS OFF). IN SOME CASES THE
 6           DASH WILL FLICKER WITH AND DASH LIGHTS WILL
             ELIMINATE FOR A SECOND. AS A RESULT YOU CANNOT MOVE
 7           THE VEHICLE AND ARE STUCK IN A DANGEROUS PLACE
 8           (CAN’T PUT THE VEHICLE IN NEUTRAL, NO POWER). THIS HAS
             HAPPENED TO US ON NUMEROUS OCCASIONS; AT STOP
 9           LIGHTS WHERE CARS BEHIND YOU GET FRUSTRATED AND
10           HONK THEIR HORNS (TAKES SEVERAL MINUTES TO START
             BACK UP IF YOU ARE LUCKY) AND MOST CONCERNING IS IF
11           YOU ARE IN THE MIDDLE OF THE INTERSECTION AND ABOUT
12           TO MAKE A RIGHT TURN, WHILE WAITING TO MAKE THE
             TURN, THE VEHICLE SHUTS OFF ‘ NOW WE ARE STUCK IN THE
13           INTERSECTION WITH TWO KIDS IN THE VEHICLE. NOW
14           ONCOMING TRAFFIC IS EITHER FAST APPROACHING OR
             HONKING BECAUSE WE ARE BLOCKING THE LANE. WE HAVE
15           BEEN ALMOST STRUCK ON SEVERAL OCCASIONS. THE ONLY
16           WORK AROUND IS TO TURN THE AUTO START/STOP FEATURE
             OFF (PUSHING THE BUTTON) WHEN YOU FIRST GET IN THE
17           VEHICLE, BUT IF YOU FORGET ‘ WE MIGHT GET KILLED. I
18           TOOK IT TO THE HONDA DEALER AND THEY CLAIM THEY
             HAVE NEVER HEARD OF THIS ISSUE. MY BATTERY TESTED
19           FINE. I LOCATED NUMEROUS HONDA PILOT POSTS ONLINE
20           THAT INDICATE THIS IS A COMMON PROBLEM, DATING BACK
             TO THE 2016, BUT NO ONE IS HELPING THE CONSUMER. I
21           DON’T UNDERSTAND WHY THERE IS A DELAY IN REPAIRING
22           THIS ISSUE; IT IS NOT JUST A GENERAL INCONVENIENCE, IT IS
             A SAFETY RISK. WE ARE FRUSTRATED AND SCARED. IF WE
23           TRADE THE VEHICLE FOR ANOTHER CAR, WHAT HAPPENS TO
24           THE NEXT FAMILY THAT PURCHASES THIS VEHICLE ‘ DO
             THEY SUFFER THE FATAL OUTCOME.47
25
26
             101. On May 5, 2020, the owner of a 2019 Acura TLX filed the following

27   47
          NHTSA ID 11321898
28
                                            31
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 1 complaint with NHTSA:
 2           I STOPPED(STATIONARY) AT A LIGHT TO MAKE A LEFT TURN
 3
             INTO THE FREEWAY. WHILE STATIONARY THE ENGINE WENT
             INTO AUTOMATIC IDLE STOP TO SAVE GAS AND ONCE THE
 4           LIGHT TURN GREEN THE CAR WAS NOT ABLE TO TURN ON AT
 5           ALL AND HAD TO CALL AAA. IT WAS GIVING ME ERROR
             MESSAGES IN REGARDS FUEL PUMP AND BRAKE SYSTEM ETC.
 6           IN THE DASH. *TR48
 7
             102. On May 12, 2020, the owner of a 2019 Honda Pilot filed the following
 8
     complaint with NHTSA:
 9
             TL* THE CONTACT OWNS A 2019 HONDA PILOT. THE CONTACT
10           STATED WHILE DRIVING 10 MPH, THE BRAKE PEDAL WAS
             DEPRESSED AND THE VEHICLE STALLED WITHOUT
11
             WARNING. THE CONTACT STATED THAT THE VEHICLE WAS
12           UNDRIVABLE. THE VEHICLE WAS NOT TAKEN TO BE
             DIAGNOSED NOR REPAIRED. NEITHER THE MANUFACTURER
13
             NOR DEALER WERE NOT NOTIFIED OF THE FAILURE. THE
14           FAILURE MILEAGE WAS UNKNOWN.49
15           103. On May 20, 2020, the owner of a 2018 Honda Pilot filed the following
16 complaint with NHTSA:
17           THE AUTO ENGINE IDLE FEATURE ENGAGED AT A STOP LIGHT
18           AS USUAL. WHEN I MOVED MY FOOT FROM THE BRAKE TO
             THE ACCELERATOR, THE CAR SHUT OFF, SHIFTED INTO
19           NEUTRAL AND WOULD NOT START. THIS WAS ON A MAJOR
20           HIGHWAY. IT TOOK SEVERAL MINUTES TO START AGAIN,
             WHILE I WAS STALLED IN DANGEROUS TRAFFIC.50
21
             104. On June 4, 2020, the owner of a 2016 Honda Pilot filed the following
22
     complaint with NHTSA:
23
             WHEN THE ENGINE IDLE STOP IS ENGAGED THE CAR WILL
24
             OCCASIONALLY NOT RESTART. IT TAKES MULTIPLE TRIES TO
25           RESTART THE VEHICLE. MOST OF THE TIME IT HAPPENS IN
26   48
          NHTSA ID 11323447
27   49
          NHTSA ID 11324266
     50
28        NHTSA ID 11417954

                                             32
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 1         TRAFFIC WHICH IS A POTENTIAL SAFETY HAZARD. *TR51
 2         105. On June 8, 2020, the owner of a 2017 Honda Pilot filed the following
 3 complaint with NHTSA:
 4         STALLING WHILE AT STOP OR GOING DOWNHILL AT LOW
 5         SPEEDS. *TR52
 6         106. On June 12, 2020, the owner of a 2017 Acura TLX filed the following
 7 complaint with NHTSA:
 8         TL* THE CONTACT OWNS A 2017 ACURA TLX. THE CONTACT
 9         STATED THAT AFTER DEPRESSING THE BRAKE PEDAL, THE
           VEHICLE STALLED WITHOUT WARNING. THE CONTACT
10         STATED THAT THE FAILURE RECURRED NUMEROUS TIMES
11         WHILE THE VEHICLE WAS IDLING. THE VEHICLE WAS TAKEN
           TO FIRST ACURA SALES (16 HIGHLAND AVE, SEEKONK, MA
12         02771) HOWEVER, THE MECHANIC WAS UNABLE TO PROVIDE
13         A CAUSE FOR THE FAILURE. THE CONTACT WAS INFORMED
           THAT THE BATTERY NEEDED TO BE REPLACED. THE VEHICLE
14         WAS THEN TAKEN TO SPEEDCRAFT ACURA (883 QUAKER LN,
15         WEST WARWICK, RI 02893, (401)304-3100) HOWEVER, THE
           MECHANIC WAS UNABLE TO RETRIEVE A FAULT CODE OR
16         DUPLICATE THE FAILURE. THE MANUFACTURER WAS MADE
17         AWARE OF THE FAILURE. THE FAILURE MILEAGE WAS
           APPROXIMATELY 33,000.53
18
           107. On July 1, 2020, the owner of a 2017 Honda Pilot filed the following
19
     complaint with NHTSA:
20
           WHEN VEHICLE COMES TO A STOP WITH THE AUTO ENGINE
21
           IDLE SHUT OFF, THE CAR COMPLETELY SHUTS DOWN AND
22         TAKES A FEW MINUTES TO RESTART. THIS HAPPENED
           REPEATEDLY TODAY (7/1//2020) DRIVING AROUND TOWN.
23
           *TR54
24
25   51
      NHTSA ID 11327319
     52
26    NHTSA ID 11327827
   53
      NHTSA ID 11328479
27 54
      NHTSA ID 11331934
28
                                           33
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 1         108. On July 2, 2020, the owner of a 2017 Honda Pilot filed the following
 2 complaint with NHTSA:
 3         IDLE STOP SYSTEM SENSOR FAIL.. WHEN CAN STOPS THE
 4
           ENGINE SHUTS OFF BUT I DID NOT CAME BACK ON!! A LOT OF
           LIGHTS CAME ON WITH INSTRUCTIONS WHILE I WAS AT A
 5         BUSY LIGHT.. WENT TO THE DEALER AND IT WAS CLOSE TO
 6         $1,000 FOR THE REPAIR.. THEY SAID ITS A KNOWN ISSUE..
           PLEASE DO A RECALL. *TR55
 7
           109. On July 14, 2020, the owner of a 2017 Honda Pilot filed the following
 8
     complaint with NHTSA:
 9
           MY VEHICLE HAS AN AUTO STOP FUNCTION THAT OCCURS
10
           WHEN I STOP THE CAR. WHEN I PRESS THE ACCELERATOR,
11         THE ENGINE STARTS BACK UP. PERIODICALLY, I HAVE HAD
           AN ISSUE WITH THE VEHICLE NOT STARTING BACK UP. I
12
           HAVE TO PUT THE CAR IN PARK AND PRESS THE START
13         BUTTON SEVERAL TIMES UNTIL IT STARTS BACK. THIS HAS
           PUT ME IN SOME VERY DANGEROUS SITUATIONS. THE
14
           DEALERSHIP HAS NOT BEEN ABLE TO PRODUCE THE SAME
15         ISSUE. IT HAS BEEN OCCURRING MORE OFTEN AND I AM
           CONCERNED FOR MY SAFETY. I HAVE READ NUMEROUS
16
           COMPLAINTS ABOUT THE SAME ISSUE.56
17
           110. On July 16, 2020, the owner of a 2016 Honda Pilot filed the following
18
     complaint with NHTSA:
19
           ENGINE STALLING ON HIGHWAY AND FREEWAYS DURING
20         STOPS. EXTREMELY DANGEROUS SITUATION ON FREEWAY
21         WHEN WE HAD TO STOP DUE TO FRONT TRAFFIC AND CAR
           COMPLETELY STALLED AND COULD NOT RESTART THE CAR.
22         ENTIRE FAMILY WAS INSIDE.57
23
           111. On July 31, 2020, the owner of a 2017 Acura MDX filed the following
24
     complaint with NHTSA:
25
           ISSUES    HAVE     NOW     OCCURRED        TWICE     WITHIN     AN
26
     55
      NHTSA ID 11337102
27   56
      NHTSA ID 11339322
28 57 NHTSA ID 11339748
                                            34
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 1           APPROXIMATELY 4 WEEK PERIOD. FIRST TIME WAS NEAR THE
 2
             END OF JUNE AND THE SECOND TIME OCCURRED ON 7/30/20.
             AFTER STOPPING ON THE HIGHWAY, ONCE FOR A STOPLIGHT
 3           AND THE OTHER TIME TO TURN OFF HIGHWAY ONTO
 4           ANOTHER ROAD, THE ENGINE STALLED/TURNED OFF. AFTER
             VEHICLE WAS BACK IN PARK, I WAS ABLE TO RESTART THE
 5           VEHICLE EACH TIME.58
 6
             112. On August 2, 2020, the owner of a 2016 Honda Pilot filed the following
 7
     complaint with NHTSA:
 8
             WHEN STOPPED AT A STOP LIGHT OR STOP SIGN THE
 9           TRANSMISSION CHANGES FROM DRIVE TO NEUTRAL TO
             PARK AND SOMETIMES DIES. CAR WON’T RESTART WHEN
10
             FOLLOWING DIRECTIONS ON DISPLAY SCREEN OR ANY
11           OTHER WAY EXCEPT SITTING AND TRYING TO START IT OVER
             AND OVER AFTER TURNING ON FLASHERS AND WAVING
12
             TRAFFIC AROUND US.59
13
             113. On September 14, 2020, the owner of a 2017 Honda Pilot filed the
14
     following complaint with NHTSA:
15
             WHEN MY 2017 HONDA PILOT TOURING ENTERS IDLE STOP
16           MODE, IT HAS BEGUN TO STALL WHEN YOU RELEASE THE
17           BRAKE TO RE-ENGAGE THE ENGINE. THIS HAPPENED FIRST IN
             A PARKING LOT ON 6/17/20 WHEN LEAVING PARKING AREA TO
18           ENTER MAIN ROAD. VEHICLE SHIFTS INTO NEUTRAL. MUST
19           PUT IT INTO PARK. THEN HIT START BUTTON. THEN PUT
             VEHICLE BACK INTO DRIVE. TOOK IT TO DEALERSHIP (UNDER
20           WARRANTY) ON 6/23/20. COULD NOT DUPLICATE PROBLEM,
21           BUT IDENTIFIED CODES: P170B-DOG CLUTCH A ABNORMAL
             OPERATION, U0230-GAUGE LOST COMM W/PTG, U1281-GAUGE
22           LOST COMM W/MICU, U0199-MICU LOST COMM W/MASTER
23           SWITCH, U0180-CLIMATE CONTROL LOST COMM W/MASTER
             SWITCH. TECHNICIAN NOTED IN REPORT THAT THEY
24           INSPECTED THE FREEZE DATA, TRANS HAD NO INPUT SPEED,
25           SO CODE MUST HAVE SET DURING AN IDLE STOP. THE
             TECHNICIANS COULD NOT REPLICATE THE PROBLEM, SO
26
     58
27        NHTSA ID 11342553
     59
          NHTSA ID 11342856
28
                                              35
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 1           THEY RESET THE CODE AND ASKED ME TO BRING THE
 2
             VEHICLE BACK IN IF IT HAPPENED AGAIN. WHILE DRIVING ON
             THE FREEWAY ON A BRIDGE CROSSING THE COLUMBIA
 3           RIVER ON 6/23/20, THIS HAPPENED AGAIN. I WAS IN STOP-AND-
 4           GO TRAFFIC IN THE CENTER LANE OF THE BRIDGE. AFTER
             ONE OF MANY SHORT IDLE STOPS (ENGINE OFF FOR ABOUT 1
 5           SECOND) I TOOK MY FOOT OFF THE BRAKE AND THE ENGINE
 6           STALLED. SAME ISSUE. SHIFTS TO NEUTRAL. MUST PUT IN
             PARK. HIT START BUTTON (TWICE). ENGINE STARTS. SHIFT
 7           BACK INTO DRIVE. TOOK 30-60 SECONDS WHILE TRAFFIC
 8           TRIES TO MANEUVER AROUND ME. LUCKY I WAS IN THE
             MIDDLE OF THE QUEUE (NOT BACK) AS TAKING MY FOOT OFF
 9           THE BRAKES WOULD IMPLY TO THE DRIVER BEHIND ME
10           THAT I WILL BE MOVING AGAIN. DEFINITELY A SAFETY
             HAZARD      THAT     COULD    ULTIMATELY       LEAD    TO
11           INJURY/DEATH. I RETURNED THE VEHICLE TO THE
12           DEALERSHIP AGAIN. THEY DID NOT FIND ANY CODES THIS
             TIME. TRIED TO RETURN MY VEHICLE TO ME WITHOUT DOING
13           ANYTHING. I ARGUED PER MY PREVIOUS VISIT THAT THEY
14           HAD RESET THE CODES AND ASKED ME TO RETURN IF THIS
             RECURRED. AWAITING RESOLUTION.60
15
             114. On September 30, 2020, the owner of a 2017 Honda Pilot filed the
16
     following complaint with NHTSA:
17
             WHEN I’VE BEEN STOPPED AT A RED LIGHT I’VE TAKEN MY
18
             FOOT OFF THE BRAKE TO HIT THE GAS PEDAL. BEFORE I
19           TOUGH THE GAS, THE DASHBOARD SHOWS AN “EMISSIONS
             SYSTEM PROBLEM” LIGHT AND THE ENGINE DIES. I’VE HAD
20
             TO FRANTICALLY RESTART THE CAR AND WAS ALMOST
21           REAR-ENDED. IT’S HAPPENED 5 TIMES. I HAD REPORTED THIS
             PROBLEM TO DEALER AND THEY WERE OF NO HELP. THEY
22
             SAID THEY CHECKED THE COMPUTER AND THERE WAS NO
23           HISTORY OF ANY ISSUE. AGAIN, I’M WRITING TO DOCUMENT
             THIS CONCERN AS IT’S DANGEROUS THE HONDA DEALERS
24
             NEED TO KNOW HOW TO ADDRESS THE PROBLEM. I’VE
25           LOOKED ONLINE AND I AM NOT THE ONLY PERSON WHO HAS
             REPORTED THIS ISSUE. WHAT IS THE SOLUTION? THIS
26
     60
27        NHTSA ID 11354935

28
                                           36
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 1           CONDITION IS NOT SAFE AND NEEDS TO BE FIXED.61
 2           115. On October 17, 2020, the owner of a 2016 Honda Pilot filed the following
 3 complaint with NHTSA:
 4            MY CAR WILL DIE AFTER BEING STOPPED (EX. AT A RED
 5           LIGHT, STOP SIGN) AND WILL NOT RESTART RIGHT AWAY.
             SOMETIMES IT DOESN’T DIE COMPLETELY. WHEN IT DOES
 6           YOU ARE UNABLE TO PUT THE CAR INTO PARK OR ENGAGE
 7           THE EMERGENCY LIGHTS. THIS HAS HAPPENED WHERE WE
             WERE STOPPED AT A RED-LIGHT AND THE CAR DIED AND
 8
             WOULD NOT RESTART. A CAR BEHIND US WAS APPROACHING
 9           THE LIGHT AND SAW THAT IT WAS GREEN, QUICKLY CAME
             UP BEHIND US HONKING THEIR HORN AND LUCKY WAS ABLE
10
             TO MOVE TO THE OTHER LANE TO AVOID HITTING US. THIS
11           SEAMS TO HAPPEN WHEN WE FORGET TO TURN OFF THE
             AUTO IDLE STOP. THIS IS SOMETHING YOU HAVE TO PUSH
12
             EVERYONE YOU START THE CAR. I TOOK THE CAR TO THE
13           DEALER THEY PUT IN A NEW TRANSMISSION AND CHANGED
             THE TIMING BELT. PREVIOUSLY I HAD THE CARS FUEL
14
             INJECTORS REPLACED. AFTER ALL THIS WORK THE CAR IS
15           STILL DYING AND IT IS HAPPENING MORE FREQUENTLY. THE
             DEALERSHIP SAYS THEY HAVE HEARD OF THIS PROBLEM BUT
16
             DON’T KNOW OF A FIX YET.62
17
             116. On October 24, 2020, the owner of a 2017 Honda Pilot filed the following
18
     complaint with NHTSA:
19
             I HAVE 30,000+ MILES ON MY 2017 PILOT ELITE. ABOUT A YEAR
20           AGO, I STARTED EXPERIENCING ISSUES WITH THE AUTO IDEL
21           STOP FEATURE. I FIRST NOTICED THAT THE AUTO IDLE-STOP
             WAS HESITATING WHEN THE ENGINE WOULD START UP UPON
22           LIFTING MY FOOT OFF OF THE GAS. LATER, IN CONJUNCTION
23           WITH THE ENGINE HESITATION, I NOTICED THAT THE RADIO
             WOULD ALSO “CUT OUT” AND THE WHOLE CAR WOULD TURN
24           OFF AND BACK BEFORE BEING ABLE TO DRIVE. AFTER THAT,
25           THE ISSUE PROGRESSED TO THE VEHICLE COMPLETELY
             STALLING OUT AND I WOULD HAVE TO PUSH PARK, PUT MY
26
     61
27        NHTSA ID 11362102
     62
          NHTSA ID 11364808
28
                                               37
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 1           FOOT ON THE BRAKE AND THEN PUSH START IN ORDER TO
 2
             GET THE VEHICLE TO MOVE. THESE STALL OUTS ARE
             HAPPENING JUST AS I PULL OUT INTO TRAFFIC, OFTEN
 3           LEAVING ME AND MY FAMILY IN HARM’S WAY. THIS IS NOT
 4           SAFE. UPON TAKING THE VEHICLE TO THE DEALER I GET THE
             STANDARD LINE OF “WE CAN’T REPRODUCE THE ISSUE” AND
 5           I AM SENT ON MY WAY ONLY TO LATER CONTINUALLY
 6           EXPERIENCE THE ISSUE. NOT HAPPY WITH HONDA. THE
             NHTSA NEEDS TO MAKE THEM ADDRESS THIS ISSUE.63
 7
             117. On November 10, 2020, the owner of a 2017 Honda Pilot filed the
 8
     following complaint with NHTSA:
 9
             WHILE STOPPED THE AUTO STOP ENGAGES TURNS OFF THE
10
             ENGINE AND IF THE AC IS RUNNING AT THAT TIME, INSTEAD
11           OF THE THE ENGINE RESTARTING WHEN THE GAS PEDAL IS
             ENGAGED, THE CAR STALLS AND SHUTS DOWN. DEALER
12
             STATES CANNOT CORRECT THE ISSUE (PERMANENTLY TURN
13           OFF AUTO STOP). I SEE MULTIPLE COMPLAINTS SO FAR
             RELATED TO THIS DESIGN ERROR BUT NO ACTION IN TERMS
14
             OF RECALLS.64
15
             118. On January 6, 2021, the owner of a 2017 Honda Pilot filed the following
16
     complaint with NHTSA:
17
             WHEN THE AUTO STOP START IS ON WHEN STOPPED AT A
18           TRAFFIC LIGHT OR ANY STOP FOR THAT MATTER THE CAR
19           SOMETIMES STALLS OUT OR IT HAS A DELAYED RESTART
             WHERE THE RADIO AND CAR SOUNDS LIKE IT TURNS OFF AND
20           THEN BACK ON AND THEN YOU CAN GO. SOMETIMES IT
21           COMPLETELY STALLS AND YOU HAVE TO PUT THE CAR IN
             PARK AND RESTART IT. IT STARTED HAPPENING RANDOMLY
22           NOW IT IS HAPPENING MORE OFTEN. IT HAPPENS A LOT WHEN
23           I AM DRIVING AROUND TOWN IT HAS NOT HAPPENED WHEN I
             WAS DRIVING ON THE HIGHWAY.65
24
             119. On January 12, 2021, the owner of a 2016 Honda Pilot filed the following
25
26   63
      NHTSA ID 11366226
27 64 NHTSA ID 11373973
     65
28        NHTSA ID 11386763

                                               38
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 1 complaint with NHTSA:
 2         THE AUTOMATIC START SYSTEM TURNS THE CAR OFF AND
 3
           ON WHEN STOPPED AT A RED LIGHT OR STOP SIGN FOR
           EXAMPLE. THE FEATURE SOMETIMES WITHOUT ANY
 4         WARNING FAILS TO RESTART THE CAR AUTOMATICALLY.
 5         THE DRIVER MUST PUT THE CAR IN PARK, PUSH DOWN ON
           THE BRAKE, RESTART THE CAR AND THEN SHIFT INTO PARK
 6         TAKING A CONSIDERABLE AMOUNT OF TIME. THIS IS
 7         DANGEROUS FOR SO MANY REASONS AND IT MUST
           MANUALLY BE TURNED OFF BECAUSE IT DEFAULTS TO ON.
 8         WITH NO WARNING YOUR CAR COULD BE TURNED OFF AND
 9         NOT AUTOMATICALLY START WHEN IT’S SUPPOSED TO. THIS
           HAS HAPPENED TO ME MULTIPLE TIMES STOPPED AT RED
10         LIGHT, STOP SIGNS AND IN STOP AND GO TRAFFIC. I WOULD
11         LIKE TO EITHER HAVE A WARNING IN PLACE OR BE ABLE TO
           PERMANENTLY DISABLE THIS DANGEROUS FEATURE.66
12
           120. On January 21, 2021, the owner of a 2016 Acura MDX filed the following
13
     complaint with NHTSA:
14
           IN SEPTEMBER 2020, CAR RANDOMLY TURNED OFF WHEN
15
           STOPPED AT A RED LIGHT (ON BUSY INTERSECTION) DURING
16         IDLE MODE CAUSING THE CAR BEHIND US TO HIT WHEN
           LIGHT TURNED GREEN. NO DAMAGE WAS DONE TO MY CAR
17
           SINCE THE CAR WASN’T MOVING AT WAS HIT AT LOW
18         SPEED.67
19         121. On January 21, 2021, the owner of a 2016 Honda Pilot filed the following
20 complaint with NHTSA:
21         I WAS STOPPED AT A RED LIGHT AND MY ENGINE TURNED
22         OFF FROM THE IDLE/STOP FEATURE. HOWEVER, WHEN I
           RELEASED THE BRAKES THIS TIME, THE CAR DID NOT TURN
23         ON AS IT NORMALLY DOES. INSTEAD, THE WHOLE VEHICLE
24         TURNED OFF AND IT TOOK ME SEVERAL TRIES TO TURN THE
           VEHICLE BACK ON. THIS HAS HAPPENED TO MY WIFE ON
25         SEVERAL OCCASIONS. I REPLACED THE CAR BATTERY AND IT
26         HAPPENED AGAIN A MONTH AFTER. MY PILOT WOULD NOT
27   66
      NHTSA ID 11387715
   67
28    NHTSA ID 11389169

                                             39
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 1         TURN ON AGAIN AFTER RELEASING THE BRAKES.68
 2         122. On February 5, 2021, the owner of a 2016 Honda Pilot filed the following
 3 complaint with NHTSA:
 4         THE AUTO SHUT OFF FEATURE TURNED THE ENGINE OFF AT
 5         A RED LIGHT - AND WOULD NOT TURN THE CAR BACK ON
           ONCE THE BRAKE WAS RELEASED. WE NEEDED TO JUMP THE
 6         PILOT TO GET IT TO TURN OVER AGAIN. AS THIS HAPPENED
 7         AT AN INTERSECTION ON A STATE HIGHWAY, WE WERE VERY
           LUCKY TO NOT BE REAR-ENDED! VERY UNSAFE AND THE
 8
           MECHANIC SAID THERE IS NOTHING WRONG WITH
 9         BATTERY!!69
10         123. On March 10, 2021, the owner of a 2016 Honda Pilot filed the following
11 complaint with NHTSA:
12         TWICE IN THE LAST WEEK MY HONDA PILOT HAS SHUT OFF
13         WHEN AUTO-IDLING AT A STOP LIGHT. THE CAR SHOULD
           REMAIN IN DRIVE BUT WHEN I LOOKED DOWN IT HAD
14         SHIFTED TO NEUTRAL. THE FIRST MESSAGE ON THE DASH
15         BRIEFLY FLASHED ‘CRASH MITIGATION PROBLEM’ AND
           THEN INSTRUCTED ME TO PUT THE CAR IN PARK AND PUSH
16         THE ENGINE START BUTTON. AFTER THIS INCIDENT, I
17         TURNED OFF THE CRASH MITIGATION SYSTEM. A COUPLE
           DAYS LATER (TODAY), THE SAME THING HAPPENED. NO
18         CRASH MITIGATION SYSTEM FLASH BUT INSTRUCTIONS TO
19         PUT THE CAR IN PARK AND PRESS THEN ENGINE START
           BUTTON. BOTH TIMES THE ENGINE WAS ON AND IN DRIVE.
20         AUTO IDLING WAS ENABLED. I HAVE ONLY OWNED THIS CAR
21         FOR TWO MONTHS.70

22         124. On March 22, 2021, the owner of a 2017 Honda Pilot filed the following
23 complaint with NHTSA:
24         WHILE STOPPED AT AN INTERSECTION WITH THE BRAKE
           PEDAL DEPRESSED AND THE AIRCONDITIONING ON, THE
25
           ENGINE WENT INTO IDLE/FUEL SAVING SHUT DOWN MODE AS
26
     68
      NHTSA ID 11389300
27 69
      NHTSA ID 11394835
28 70 NHTSA ID 11400245
                                             40
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 1           EXPECTED. WHEN THE BRAKE PEDAL WAS RELEASED AND
 2
             THE ACCELERATOR PRESSED TO MOVE FORWARD AGAIN,
             THE ENGINE STALLED OUT AND NUMEROUS DASH WARNING
 3           LIGHTS ILLUMINATED. I PUT THE CAR IN THE PARK AND WAS
 4           ABLE TO RESTART THE CAR, BUT ONLY AFTER SEVERAL
             ATTEMPTS. FORTUNATELY I WAS IN MY NEIGHBORHOOD
 5           AND NOT AT A BUSY INTERSECTION IN HEAVY TRAFFIC. THIS
 6           IS THE FIRST OCCURRENCE I’VE HAD. I HAVE NO IDEA WHY
             THE PROBLEM OCCURS OTHER THAN THE IDLE SWITCH, IF
 7           THERE IS SUCH A THING, IS FAILING. I BOUGHT THE CAR NEW
 8           IN VA, DEC 2017 AND IT HAS ONLY 18000 MILES, NOW IN FL.
             I’VE JUST READ NUMEROUS OTHER COMPLAINTS RELATING
 9           THE SAME OR SIMILAR SITUATIONS. MANY PEOPLE REPORT
10           THE SITUATION WORSENS WITH TIME AND MOST HAVE HAD
             NO RESOLUTION FROM THEIR HONDA DEALERSHIPS. ISN’T IT
11           TIME FOR HONDA TO BE TOLD TO FIX THIS PROBLEM BEFORE
12           SOMEONE HAS AN ACCIDENT OR GETS INJURED??71

13           125. On April 7, 2021, the owner of a 2018 Honda Odyssey filed the following
14 complaint with NHTSA:
15           OUR 2018 HONDA ODYSSEY ELITE HAS INTERMITTENT ISSUES
             WITH THE AUTO START/STOP FEATURE. AS CONTEXT, THE
16
             CAR ENGINE WILL AUTOMATICALLY STOP WHEN THE
17           VEHICLE IS FULLY STOPPED, FOR EXAMPLE AT A RED LIGHT,
             AND A FEW OTHER CONDITIONS ARE MET (BRAKE PEDAL
18
             PRESSURE, BATTERY CHARGE, ELECTRICAL LOAD). OUR
19           VEHICLE WHEN AUTO STOPPED MAY STALL WHEN
             ATTEMPTING TO RESUME DRIVING. WHEN THE DRIVER
20
             RELEASES THE BRAKE PEDAL AND PUSHES THE
21           ACCELERATOR PEDAL, THE CAR FAILS TO AUTO START, OR
             AUTO STARTS WITH WARNING MESSAGES. WHEN THE CAR
22
             FAILS TO START, A VARIETY OF WARNING MESSAGES WILL
23           BE DISPLAYED ON THE DASHBOARD. REMEDIATION VARIES.
             THE CAR MAY RESPOND TO SHIFTING TO PARK AND PUSHING
24
             THE IGNITION START/STOP BUTTON TWICE. AT TIMES, THE
25           CAR MAY NOT RESPOND TO SHIFTING TO PARK AND IGNITION
             BUTTON ACTIONS. THE ONLY FIX THEN SEEMS TO BE A
26
             ‘HARD’ SHUTOFF THAT REQUIRES OPENING THE DRIVER
27
     71
          NHTSA ID 11404268
28
                                              41
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 1           DOOR AND PUSHING THE IGNITION BUTTON, CLOSING THE
 2
             DOOR, PUSHING THE IGNITION BUTTON, AND SHIFTING TO
             DRIVE. WHEN THE SYSTEM PARTIALLY FAILS, THE FRONT
 3           COLLISION WARNING/MITIGATION SYSTEM IS TEMPORARILY
 4           DISABLED. MY CAR IS CURRENT ON ALL RECALLS. I
             RECENTLY HAD DEALER SERVICE, AND THEY CONFIRMED
 5           THERE ARE NO KNOWN BULLETINS FOR THIS ISSUE. THE CAR
 6           IS CURRENT ON MAINTENANCE SCHEDULE AND IS
             OTHERWISE IN VERY GOOD OPERATION CONDITION. THIS
 7           SITUATION CAR BE QUITE STRESSFUL WHEN AT A BUSY
 8           INTERSECTION, OR WHEN TRYING TO PULL OUT TO MERGE
             INTO A MAJOR ROAD FROM A STOP. THIS FAILURE COULD BE
 9           VERY DANGEROUS IF YOU NEEDED TO MOVE THE VEHICLE
10           QUICKLY, FOR EXAMPLE IF STOPPED NEAR A RAILROAD
             CROSSING. THE AUTO START/STOP SYSTEM IS ENABLED BY
11           DEFAULT TO IMPROVE FUEL ECONOMY. IT CAN BE
12           MANUALLY DISABLED, HOWEVER IT RESETS WITH EACH
             SHUTOFF. I WOULD PERMANENTLY DISABLE IT, HOWEVER,
13           THAT IS NOT POSSIBLE APPARENTLY FOR EPA REASONS. I
14           HAVE VIDEOS SHOWING THIS BEHAVIOR.72

15           126. On April 15, 2021, the owner of a 2017 Acura MDX filed the following
16 complaint with NHTSA:
17           TL* THE CONTACT OWNS A 2017 ACURA MDX. THE CONTACT
             STATED THAT WHILE DRIVING AT 45 MPH, THE VEHICLE
18
             STALLED AS THE EMISSION AND PARKING BRAKE WARNING
19           LIGHTS ILLUMINATED ON THE INSTRUMENT PANEL. THE
             CONTACT STATED THAT AFTER EXPERIENCING THE FAILURE,
20
             THE VEHICLE RESUMED NORMAL OPERATION AS THE
21           WARNING REMAINED ILLUMINATED ON THE INSTRUMENT
             PANEL. THE CONTACT THEN TOOK THE VEHICLE TO LINDSAY
22
             ACURA (5880 SCARBOROUGH BLVD, COLUMBUS, OH 43232)
23           WHERE THEY WERE UNABLE TO DUPLICATE OR DIAGNOSE
             THE FAILURE. THE MECHANIC CLEARED THE WARNING
24
             LIGHTS OFF THE INSTRUMENT PANEL. THE CONTACT STATED
25           THAT THE FAILURE PERSISTED SOON AFTER THE RETURN OF
             THE VEHICLE. THE MANUFACTURER WAS NOT NOTIFIED OF
26
             THE FAILURE. THE VEHICLE WAS NOT REPAIRED. THE
27
     72
          NHTSA ID 11413718
28
                                             42
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 1         FAILURE MILEAGE WAS UNKNOWN.73
 2         127. On April 22, 2021, the owner of a 2017 Honda Pilot filed the following
 3 complaint with NHTSA:
 4         TL* THE CONTACT OWNS A 2017 HONDA PILOT. THE CONTACT
 5         STATED THAT WHILE DRIVING 15 MPH, THE VEHICLE SHUT-
           OFF WHILE DEPRESSING THE BRAKE PEDAL. THERE WERE
 6         SEVERAL UNKNOWN WARNING LIGHTS ILLUMINATED. THE
 7         POLICE WERE CALLED TO SCENE AS MULTIPLE ATTEMPTS TO
           SHIFT THE VEHICLE INTO NEUTRAL OR TO RESTART THE
 8
           VEHICLE FAILED. THE CONTACT WAS FINALLY ABLE TO
 9         RESTART THE VEHICLE AND RECEIVED A POLICE ESCORT TO
           WEST BROAD HONDA (7014 W BROAD ST, RICHMOND, VA
10
           23294) HOWEVER, A DIAGNOSTIC TEST WAS STILL PENDING.
11         THE VEHICLE WAS NOT REPAIRED. THE MANUFACTURER
           WAS NOTIFIED OF THE FAILURE AND A CASE WAS FILED. THE
12
           FAILURE MILEAGE WAS APPROXIMATELY 68,000.74
13
           128. On May 6, 2021, the owner of a 2016 Honda Pilot filed the following
14
     complaint with NHTSA:
15
           RECURRING PROBLEM WITH IDLE STOP FEATURE CAUSING
16         CAR ENGINE TO SHUT OFF COMPLETELY (EVEN WHEN
17         DISABLED), RESULTING IN AN ERROR MESSAGE AND
           REQUIRING THE CAR TO BE TURNED OFF AND ON. THIS IS A
18         SAFETY ISSUE WHILE DRIVING, ESPECIALLY IF IN AN
19         INTERSECTION               WHILE           TURNING.
           HTTPS://WWW.CARPROBLEMZOO.COM/HONDA/PILOT/CAR-
20         STALL-PROBLEMS.PHP
21         HTTPS://WWW.PILOTEERS.ORG/THREADS/ELITE-SHUTS-OFF-
           AT-STOP-LIGHT.157005/PAGE-1375
22
           129. On May 6, 2021, the owner of a 2017 Honda Pilot filed the following
23
     complaint with NHTSA:
24
           AFTER EXITING AN INTERSTATE HIGHWAY AND STOPPING AT
25
           A STOP SIGN, THE AUTO-STOP FEATURE ENGAGED. WHEN THE
26
     73
      NHTSA ID 11408246
27 74
      NHTSA ID 11413337
28 75 NHTSA ID 11415456
                                            43
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 1           BRAKE WAS RELEASED THE ENGINE STARTED AND THE CAR
 2
             MOVED FORWARD A FEW FEET THEN SHUT DOWN
             COMPLETELY. THERE WAS A MOMENTARY WARNING TO PUT
 3           THE CAR IN PARK, BUT IT DISAPPEARED WHEN THE
 4           ELECTRICAL SYSTEM COMPLETELY SHUT DOWN AND ALL
             SCREENS WENT BLANK. I PRESSED THE BRAKE PEDAL AND
 5           THE START BUTTON, BUT THE ENGINE DID NOT START. I
 6           RELEASED AND PRESSED THE BRAKE AGAIN AND THE CAR
             STARTED. THE TRANSMISSION WAS IN PARK AND I HAD TO
 7           PUSH THE DRIVE BUTTON SEVERAL TIMES FOR IT TO
 8           ENGAGE. LUCKILY THERE WAS NO TRAFFIC BECAUSE I WAS
             BLOCKING THE EXIT AND THE ROAD. AFTER THE ENGINE
 9           STARTED IT TOOK SOME TIME FOR ALL THE SYSTEMS TO
10           POWER UP.76

11           130. On May 7, 2021, the owner of a 2016 Honda Pilot filed the following
12 complaint with NHTSA:

13           THE “AUTO IDLE-STOP” IS AUTOMATICALLY ENGAGED ON
             THIS VEHICLE. WHENEVER IT IS “ON” THE CAR WILL STALL
14
             AND SHUT DOWN WHEN STOPPING IN TRAFFIC OR AT LIGHTS.
15           HAVE BROUGHT TO HONDA, THEY SAY IT CANNOT BE FIXED
             AND ITS VERY DANGEROUS.77
16
17           131. On May 24, 2021, the owner of a 2018 Honda Pilot filed the following

18 complaint with NHTSA:
19           WHEN MY VEHICLE HAS THE AUTO IDLE STOP FEATURE
             TURNED ON, THERE ARE SEVERAL TIMES WHEN I HAVE BEEN
20           SITTING AT A STOP LIGHT OR IN A MEDIAN WAITING TO PULL
21           ACROSS OR MERGE INTO TRAFFIC, AND THIS FEATURE
             ENGAGES AND WHEN YOU TAKE YOUR FOOT OFF THE BRAKE
22           AND THE ENGINE IS SUPPOSED TO AUTO RESTART, THE
23           ENGINE STOPS COMPLETELY INSTEAD AND SHIFTS ITSELF
             INTO NEUTRAL WHICH REQUIRES YOU TO HAVE TO PUT
24           VEHICLE IN PARK AND COMPLETELY RESTART THE WHOLE
25           CAR. HAS BEEN HAPPENING SEVERAL TIMES IN THE LAST
             YEAR. I HAVE TAKEN IT IN TO HAVE THE BATTERY CHECKED
26
     76
27        NHTSA ID 11415459
     77
          NHTSA ID 11415538
28
                                             44
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 1           AND IT CHECKS FINE. THE CAR IS NOT THROWING ANY
 2
             CODES. THIS CAN BE PARTICULARLY DANGEROUS WHEN
             YOU ARE IN A MEDIAN TRYING TO PULL ACROSS A BUSY
 3           HIGHWAY AS YOUR CAR JUST COMPLETELY DIES ON YOU.
 4           ALSO A PROBLEM WHEN YOU ARE AT A RED LIGHT AND IT
             TURNS GREEN AND EVERYONE STARTS ROLLING AND YOUR
 5           CAR COMPLETELY DIES, THIS INCREASES YOUR CHANCE OF
 6           BEING REAR-ENDED. IF I MANUALLY TURN THE AUTO IDLE
             STOP FEATURE OFF WHEN I INITIALLY TURN THE CAR ON,
 7           THIS PROBLEM DOES NOT HAPPEN...... BUT THIS IS EVERY
 8           EASY TO FORGET AS THIS IS AN AUTOMATIC FEATURE WHEN
             YOUR CAR IS INITIALLY STARTED..78
 9
             132. On May 29, 2022, the owner of a 2017 Acura MDX filed the following
10
     complaint with NHTSA:
11
             THE VEHICLE STALLS AND LOSES ALL POWER WHEN COMING
12
             OUT OF AUTO IDLE STOP. THIS IS A DEFAULT FEATURE THAT
13           SHUTS THE ENGINE OFF WHEN THE VEHICLE STOPS TO
             CREATE FUEL EFFICIENCY. BUT IT IS CREATING A TERRIBLE
14
             SAFETY ISSUE OF HAVING VEHICLES UNEXPECTEDLY
15           STOPPED ON THE ROADWAY. THE FEATURE CANNOT BE
             PERMANENTLY TURNED OFF. COMMON ISSUE ON MDX
16
             FORUMS WITHOUT ANY REAL SOLUTION FROM DEALERSHIP
17           MECHANICS.79
18           133. On June 14, 2021, the owner of a 2017 Honda Pilot filed the following
19 complaint with NHTSA:

20           OCCASIONAL HE WHEN THE AUTO START STOP FUNCTION IS
21           ACTIVATED THE CAR WILL DIE AND NOT TURN BACK ON.
             AFTER THE CAR HAS DIED AND YOU RELEASE YOUR FOOT
22           FROM THE BREAK NOTHING HAPPENS AND MULTIPLE LIGHTS
23           WILL TURN ON THE DASHBOARD BUT THE CAR WILL NOT
             RESTART UNLESS YOU PUT IT IN PARK PRESS THE START
24           BUTTON MULTIPLE TIMES. THIS IS VERY FRUSTRATING AND
25           VERY DANGEROUS ESPECIALLY IF YOU’RE SITTING OUTSIDE
             AT A BUSY INTERSECTION. I’VE SEEN NUMEROUS REPORTS
26
     78
27        NHTSA ID 11418363
     79
          NHTSA ID 11466572
28
                                              45
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 1         OF THIS ON THE INTERNET AND IT’S BEEN GOING ON OVER
 2
           THE LAST SEVERAL MONTHS. I TRIED TO TAKE THE VEHICLE
           TO THE DEALER AND THEY TOLD ME IT WAS NOT ANYTHING
 3         THEY CAN COVER ON THE WARRANTY I’D HAVE TO PAY OUT
 4         OF POCKET.80

 5         134. On June 2, 2021, the owner of a 2017 Acura TLX filed the following
 6 complaint with NHTSA:
 7         CAR STALLED WHILE IN TRAFFIC LINE WITH AUTO IDLE
           ENGAGED. TOOK FOOT OFF BRAKE TO MOVE FORWARD AND
 8
           CAR STALLED. UNABLE TO RESTART CAR AFTER THE STALL.
 9         HAD TO BE TOWED TO HONDA DEALERSHIP, THEY ASSESSED
           IT WAS AN ALTERNATOR ISSUE. ALTERNATOR REPLACED
10
           CAR STARTS NORMALLY. DROVE CAR FOR APPROXIMATELY
11         30 MIN AND HAD TURNED OFF THE AUTO IDLE FEATURE. CAR
           STALLED AGAIN AFTER SITTING IN TRAFFIC AND TRYING TO
12
           MOVE AHEAD. THIS TIME CAR RESTARTED WITHOUT ISSUE.
13         NO WARNINGS OR MESSAGES ON THAT I NOTICED. HAVE
           READ MANY FORUMS THAT DESCRIBE SIMILAR ISSUES TO
14
           HONDA AND ACURA’S81
15
           135. On June 14, 2021, the owner of a 2019 Honda Pilot filed the following
16
     complaint with NHTSA:
17
           WHEN AUTO ENGINE IDLE IS ON AFTER COMING TO A STOP
18         AT A LIGHT OR STOP SIGN UPON ACCELERATION SOME TIMES
19         THE CAR WILL STALL AND THEN AN ERROR MESSAGE WILL
           COME ON THE DASH “COLLISION MITIGATION BRAKING
20         SYSTEM ERROR” THIS HAPPENS MULTIPLE TIMES A WEEK
21         WHEN DRIVING I HAVE TAKEN TO HONDA DEALERSHIP AND
           THE BLEW ME OFF SAYING THEY COULD NOT REPLICATE THE
22         ISSUE BUT I HAVE COME ACROSS MANY OTHER PEOPLE
23         ONLINE WITH THE SAME ISSUE.82

24         136. On June 28, 2021, the owner of a 2016 Honda Pilot filed the following
25
     80
26    NHTSA ID 11420943
   81
      NHTSA ID 11419305
27
   82
      NHTSA ID 11420818
28
                                            46
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 1 complaint with NHTSA:
 2
             THE AUTO IDLE ENGINE MALFUNCTIONED AND WOULD NOT
 3           ALLOW THE CAR TO START AGAIN AT AN INTERSECTION.
 4           PREVIOUSLY, IT HAS BEEN STALLING OUT AND TURNS THE
             ELECTRICAL OF THE CAR OFF (RADIO) WHEN ENGAGING BUT
 5           THIS TIME THE CAR WOULD NOT START AT ALL. AFTER
 6           APPROXIMATELY 90 SECONDS I WAS ABLE TO TURN THE CAR
             BACK ON.83
 7
             137. On June 28, 2021, the owner of a 2017 Honda Pilot filed the following
 8
     complaint with NHTSA:
 9
             WHILE IDLE AT RED LIGHT, THE AUTOMATIC IDOL
10
             ACTIVATED WHEN I PRESS BRAKE WITH CONSISTENT
11           PRESSURE. WHEN I RELEASED THE BRAKE TO START GOING
             FORWARD AND ENGAGE THE GAS PEDAL; ALL RED LIGHT
12
             INDICATORS TURNED ON (PARKING BRAKES AND SHIFTED
13           INTO NEUTRAL) AND THE CAR FULLY SIEZED UP. NO POWER,
             NO ABILITY PUT CAR IN PARK OR DRIVE. I ATTEMPTED TO
14
             PUT IN PARK AND START CAR WITH ON/OFF SWITCH BUT GOT
15           NO REACTION FROM CAR . NO BRAKE FUNCTION. I SAT IN AN
             UNRESPONSIVE       VEHICLE   AT   4-WAY     RED LIGHT
16
             INTERSECTION. I ACTIVATED MY EMERGENCY FLASHERS
17           YET. I REPETITIVELY KEPT PUSHING POWER BUTTON IN
             EFFORT FOR CAR TO RESPOND AND RESTART, EVENTUALLY
18
             DID AND WAS ABLE TO DRIVE OFF. WORKING ON TAKING
19           INTO DEALERSHIP. THIS HAPPENED APPROX 1 MONTH AGO, A
             VERY SIMILAR SITUATION OCCURRED AGAIN TODAY
20
             6/27/2021 ON I45 RETURNING FORM AUSTIN TX.84
21
             138. On July 2, 2021, the owner of a 2017 Honda Pilot filed the following
22
     complaint with NHTSA:
23
             AUTO ENGINE IDLE STOP SYSTEM - RESTART FAILURE.
24           TYPICAL EVEN BELOW: 1)AUTO ENGINE IDLE STOP -ENGAGES
25           NORMALLY (I.E. ENGINE STOPS AT LIGHT). 2)WHEN TIME FOR
             ENGINE TO RESTART, IT DOESN’T RESTART, THE MID SHOWS
26
     83
27        NHTSA ID 11422582
     84
          NHTSA ID 11422535
28
                                              47
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 1           ERROR MESSAGE AND INSTRUCTS DRIVER TO “PLACE CAR IN
 2
             PARK”. 3)NEXT MESSAGE IS TYPICALLY TO STEP ON BRAKE
             AND PRESS START. 4)THIS RESTART PROCESS IN NEVER
 3           QUICK BUT OFTEN 20-30 SECONDS. THIS ISSUE PUTS ME AT A
 4           RISK OF BEING REAR ENDED AT A GREEN LIGHT AND IS A
             SAFETY ISSUE! I WOULD MAKE THE CAR AVAILABLE FOR
 5           INSPECTION. THE DEALER HAS NOT BEEN ABLE TO
 6           REPRODUCE. HOWEVER, IT HAS OCCURRED 3 X IN THE LAST
             1000 MILES. OTHER THAN THE DEALER, NO ONE ELSE HAS
 7           INSPECTED. NO WARNINGS WERE RECEIVED BEFORE IT FIRST
 8           NOR SUBSEQUENTLY APPEARED. I BELIEVE THIS FIRST
             APPEARED IN SUMMER 2019. IT APPEARED MULTIPLE TIMES
 9           IN 2020 AND AGAIN IN 2021. I TOOK IT TO THE DEALER IN 2019
10           AND 2020. I WILL SCHEDULE ANOTHER DEALER APPOINT
             NOW.85
11
             139. On July 8, 2021, the owner of a 2016 Honda Pilot filed the following
12
     complaint with NHTSA:
13
             AUTO IDLE SHUT OFF STALLS THE CAR. ONCE THE CAR IS
14
             STOPPED...THE ENGINE WILL SHUT OFF. WHEN I TAKE MY
15           FOOT OFF THE BRAKE...THE ENGINE STALLS, GOES INTO
             PARK..SEVERAL LIGHTS COME UP ON THE DASH. THIS IS VERY
16
             CONCERNING....ESPECIALLY WHEN IT IS DIFFICULT TO START
17           THE CAR BACK UP AGAIN.86
18           140. On July 15, 2021, the owner of a 2016 Honda Pilot filed the following
19 complaint with NHTSA:

20           OCCASIONALLY, THE ENGINE DOES NOT AUTOMATICALLY
21           RE-START AFTER THE IDLE ENGAGES. THIS HAS HAPPENED
             MULTIPLE TIMES OVER THE LAST COUPLE OF YEARS. THE
22           RESULT IS A STALLED VEHICLE, SOMETIMES AT BUSY
23           INTERSECTIONS. THIS IS CONFUSING, ANNOYING, AND
             POTENTIALLY DANGEROUS --- THANKFULLY SO FAR THE
24           DRIVERS BEHIND ME HAVE REACTED QUICKLY TO A
25           STALLED VEHICLE IN FRONT OF THEM. THE VEHICLE ALSO
             SEEMS TO HESITATE WHEN ATTEMPTING TO START
26
     85
27        NHTSA ID 11423256
     86
          NHTSA ID 11423874
28
                                              48
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 1           MANUALLY. THE SITUATION CAN BECOME QUITE FRANTIC. I
 2
             CHANGED THE ON-OFF PUSH BUTTON WHICH WAS HAVING
             SOME OTHER PROBLEMS, BUT THE PROBLEM WITH THE
 3           ENGINE NOT RE-STARTING AFTER IDLE PERSISTS. I HAVE
 4           ALSO CHANGED THE BATTERY AND REGULARLY CHECK MY
             CURRENT BATTERY, BUT IT JUST HAPPENED AGAIN
 5           YESTERDAY AND I ALMOST GOT HIT! WHAT COMPONENT OR
 6           SYSTEM FAILED OR MALFUNCTIONED, AND IS IT AVAILABLE
             FOR INSPECTION UPON REQUEST? ENGINE AUTOMATIC RE-
 7           START AFTER IDLE. HOW WAS YOUR SAFETY OR THE SAFETY
 8           OF OTHERS PUT AT RISK? STALLED VEHICLE IN TRAFFIC. HAS
             THE PROBLEM BEEN REPRODUCED OR CONFIRMED BY A
 9           DEALER OR INDEPENDENT SERVICE CENTER? NO. HAS THE
10           VEHICLE OR COMPONENT BEEN INSPECTED BY THE
             MANUFACTURER, POLICE, INSURANCE REPRESENTATIVES OR
11           OTHERS? NO. WERE THERE ANY WARNING LAMPS, MESSAGES
12           OR OTHER SYMPTOMS OF THE PROBLEM PRIOR TO THE
             FAILURE, AND WHEN DID THEY FIRST APPEAR? NO.87
13
             141. On July 18, 2021, the owner of a 2017 Honda Pilot filed the following
14
     complaint with NHTSA:
15
             WHEN USING THE AUTO IDLE STOP THE CAR WILL
16
             SOMETIMES COMPLETELY SHUT DOWN. WE COULD BE REAR
17           ENDED IF SOMEBODY BEHIND US DOESN’T REALIZE THAT WE
             ARE STOPPED. HONDA HAS LOOKED AT IT MULTIPLE TIMES.
18
             THEY SAY THEY CAN NOT DUPLICATE IT SO THEY CAN’T FIX
19           IT.88
20           142. On July 20, 2021, the owner of a 2017 Honda Pilot filed the following
21 complaint with NHTSA:
22           THE AUTO IDLE STOP FEATURE WAS ENABLED AT THE TIME.
23           WE CAME TO A COMPLETE STOP ON THE INTERSTATE
             HIGHWAY DUE TO TRAFFIC. WHEN TRAFFIC CLEARED AND I
24           ATTEMPTED TO RESUME DRIVING, THE ENGINE DIED
25           COMPLETELY AND PRESSING THE START BUTTON WOULD
             NOT RE-START THE ENGINE. WE WERE STUCK WITH A DEAD
26
     87
27        NHTSA ID 11424916
     88
          NHTSA ID 11425332
28
                                              49
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 1           ENGINE IN THE MIDDLE OF THE HIGHWAY FOR ABOUT A
 2
             MINUTE BEFORE THE ENGINE FINALLY RESTARTED. THIS
             HAPPENED THREE ADDITIONAL TIMES SINCE THE ORIGINAL
 3           INCIDENT. I’VE TAKEN THE CAR TO THE DEALER BUT THEIR
 4           SERVICE TECHNICIANS WERE UNABLE TO REPLICATE THE
             ISSUE OR DIAGNOSE THE PROBLEM.89
 5
             143. On July 22, 2021, the owner of a 2019 Honda Pilot filed the following
 6
     complaint with NHTSA:
 7
             WHILE STOPPED AT A RED LIGHT, THE ENGINE WOULD
 8
             COMPLETELY SHUT OFF. I HAD TO RESTART THE CAR AND IT
 9           WOULD TAKE MULTIPLE ATTEMPTS TO TURN IT BACK ON.
             THE FIRST TIME IT HAPPENED, I THOUGHT IT WAS A BATTERY
10
             ISSUE. BUT I HAD SINCE CHANGED THE BATTERY AND THE
11           PROBLEM STILL OCCURS. IT SEEMS TO HAPPEN WHEN THE
             IDLE MODE IS NOT TURNED OFF. THIS IS DANGEROUS AS IT
12
             COULD CAUSE AN ACCIDENT TO HAVE YOUR CAR SUDDENLY
13           STOP WORKING IN THE MIDDLE OF TRAFFIC.90
14           144. On July 27, 2021, the owner of a 2018 Honda Pilot filed the following
15 complaint with NHTSA:
16           “IDLE STOP SYSTEM” FAILS TO SUCCESSFULLY RESTART THE
17           ENGINE AND RESULTS IN A STALL. SAFETY IS PUT AT RISK AS
             THE CAR BECOMES IMMOBILIZED AT A TRAFFIC
18           INTERSECTION, RED LIGHTS, MIDDLE OF THE HIGHWAY.
19           ANYWHERE THAT YOU CAME TO A COMPLETE STOP AND
             WERE NOT ABLE TO GET THE VEHICLE TO REENGAGE. I HAVE
20           NOT YET TAKEN THE VEHICLE TO THE DEALER, THIS ISSUE
21           HAS HAPPENED MULTIPLE TIMES AND HAS ALSO BEEN VERY
             WELL DOCUMENTED BY OTHERS ON THE INTERNET
22           HTTPS://WWW.CARPROBLEMZOO.COM/HONDA/PILOT/CAR-
23           STALL-PROBLEMS.PHP
             HTTPS://WWW.PILOTEERS.ORG/THREADS/ELITE-SHUTS-OFF-
24           AT-STOP-LIGHT.157005/ THE VEHICLE HAS NOT BEEN
25           INSPECTED AT THIS TIME NO WARNING LAMPS OR
             SYMPTOMS APPEAR PRIOR. WHEN YOU LIFT YOUR FOOT OFF
26
     89
27        NHTSA ID 11425707
     90
          NHTSA ID 11425989
28
                                              50
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 1         THE BRAKE PEDAL THE VEHICLE STALLS AND YOU ARE
 2
           UNABLE TO DRIVE THE VEHICLE91

 3         145. On July 31, 2021, the owner of an Acura MDX posted the following
 4 complaint with NHTSA:
 5         WHEN AIR CONDITIONER IS RUNNING IN HOT SUMMER DAYS,
           THE CAR HESITATES TO RESTART (SOMETIMES) FOLLOWING
 6         IDLE STOP ENGINE SHUTOFF AFTER COMING TO A FULL STOP
 7         AT A STOP SIGN OR RED LIGHT. I STRONGLY FEEL THIS IS A
           SAFETY CONCERN AS THIS IMPEDES TRAFFIC AND CAN
 8
           CAUSES ROAD RAGE. IF NEEDED I CAN SHARE VIDEO OF THIS
 9         SITUATION RECURRING TIME TO TIME. CAR STARTS JUST
           FINE EVERY SINGLE TIME OUTSIDE OF IDLE STOP SITUATIONS
10
           AND BATTERY HEALTH IS NEAR PERFECT. THERE ARE
11         HUNDREDS OF FORUMS TALKING ABOUT THIS EXACT
           CONDITION ACROSS ACURA MODELS.92
12

13         146. On August 2, 2021, the owner of a 2019 Acura TLX filed the following

14 complaint with NHTSA:
15         IDLE STOP SYSTEM WORKS PROPERLY 99.9% OF THE TIME.
           HOWEVER, THREE TIMES IN THE LAST 12 MONTHS, I WAS
16         STOPPED AT A LIGHT AND WHEN I TOOK MY FOOT OFF THE
17         BRAKE THE CAR DID NOT START. I TRIED TO RE-START, BUT
           IT DID NOT START IMMEDIATELY, TOOK ABOUT 10 TO 20
18         SECONDS TO START. IN EACH OF THE CASES, I WAS ABLE TO
19         RESTART JUST NOT RIGHT AWAY. THESE THREE INSTANCES
           WERE ABOUT FOUR MONTHS OR SO APART. THE SYSTEM WAS
20         CHECKED BY ACURA SERVICE TWICE, AND NO ISSUES
21         FOUND.93

22         147. On August 9, 2021, the owner of a 2017 Honda Pilot filed the following
23 complaint with NHTSA:
24         THE CAR STALLS OUT AT TRAFFIC LIGHTS AND STOP SIGNS
           DUE TO A FAILURE OF THE AUTOMATIC IDLE START/STOP
25
           FEATURE. IT APPEARS THIS IS A COMMON ISSUE THAT THERE
26
     91
      NHTSA ID 11426596
27 92
      NHTSA ID 11427269
28 93 NHTSA ID 11427429
                                            51
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 1           IS NO KNOWN REPAIR FOR. IT CREATES FOR AN UNSAFE
 2
             DRIVING SITUATION WHEN THE CAR DOES NOT GO WHEN THE
             LIGHT TURNS GREEN. I AM WAITING FOR THE DAY I AM REAR
 3           ENDED BY SOMEONE NOT PAYING ATTENTION.94
 4           148. On August 16, 2021, the owner of a 2016 Honda Pilot filed the following
 5 complaint with NHTSA:
 6      THE CONTACT OWNS A 2016 HONDA PILOT. THE CONTACT
 7      STATED THAT WHILE AT A COMPLETE STOP, THE VEHICLE
             WOULD INTERMITTENTLY SHUT-OFF UPON DEPRESSION OF
 8
             THE ACCELERATOR. THERE WERE SEVERAL UNKNOWN
 9           WARNING LIGHTS ILLUMINATED. THE CONTACT WAS ABLE
             TO RESTART THE VEHICLE SOON AFTER FAILURE AND
10
             RESUME NORMAL DRIVING. THE CONTACT HAD CALLED TWO
11           DEALERS AND WAS INFORMED THAT THEY HAD NEVER
             HEARD OF SUCH A FAILURE. THE CONTACT WAS INFORMED
12
             BY EACH DEALER THAT HE WOULD BE CHARGED A
13           DIAGNOSTIC FEE TO SERVICE THE VEHICLE. THE
             MANUFACTURER HAD YET TO BE NOTIFIED OF THE FAILURE.
14
             THE VEHICLE HAD YET TO BE REPAIRED. THE FAILURE
15           MILEAGE WAS APPROXIMATELY 78,000.95
16           149. On August 24, 2021, the owner of a 2017 Honda Pilot filed the following
17 complaint with NHTSA:
18           VEHICLE STALLS AFTER TRYING TO RETURN TO NORMAL IDLE
19           AFTER THE IDLE-STOP SYSTEM HAS BEEN ENGAGED. VEHICLE
             MAY TAKE UP TO 5 MINUTES TO RESTART. VEHICLE HAS A
20           FLY-BY-WIRE PUSH BUTTON TRANSMISSION SO THE VEHICLE
21           CANNOT BE PLACED INTO NEUTRAL AND PUSHED OUT OF
             HARMS WAY WITHOUT THE ENGINE RUNNING (WHICH IT ISN’T
22           SINCE IT STALLED AND WON’T RESTART). DEALERSHIP
23           “FIXED” THE PROBLEM IN 2019 BY INSTALLING A NEW
             BATTERY WHICH WAS WARRANTIED FOR A BAD CELL.
24           PROBLEM RETURNS IN 2021. DEALERSHIP DECLARES THE
25           BATTERY GOOD AND CLAIMS THAT THEY CANNOT REPLICATE
             THE PROBLEM, NOR HAVE THEY HEARD OF THIS ISSUE
26
     94
27        NHTSA ID 11428453
     95
          NHTSA ID 11429326
28
                                              52
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 1           PREVIOUSLY. AND POSSIBLY RELATED TO ALL OF THE ABOVE:
 2
             VEHICLE RAN NORMALLY (I.E., ENGINE RUNNING NORMALLY)
             UNTIL ALL INDICATOR LIGHTS CAME ON AND REMAINED ON.
 3           DEALER CLAIMS A NEW CAMSHAFT AND ASSOCIATED PARTS
 4           ARE NEEDED TO FIX THIS “NEW” PROBLEM.96

 5           150. On August 26, 2021, the owner of a 2016 Honda Pilot filed the following
 6 complaint with NHTSA:
 7           WHILE AT A STOP LIGHT MY IDOL STOP FUNCTION TURNED
             THE CAR OFF. WHEN THE LIGHT TURNED GREEN I LIGHTLY
 8
             TOOK MY FOOT OFF THE BRAKE AND THE CAR TRIED TO
 9           TURN BACK ON (THE POWER CLICKED) BUT INSTEAD IT SHUT
             OFF THE CAR FULLY. ONLY THE CAR RADIO WAS STILL
10
             WORKING AS IF IT WAS IN ACCESSORY MODE. CAR DISPLAY
11           SAID TO TURN THE CAR ON I NEEDED TO PRESS THE BRAKE
             AND PRESS THE IGNITION BUTTON. MY FOOT WAS STILL ON
12
             THE BRAKE. I PRESSED THE IGNITION BUTTON BUT NOTHING
13           HAPPENED. PRESSED IT AGAIN AND NOTHING HAPPENED.
             LIFTED MY FOOT OFF AND ON THE BRAKE AND TRIED AGAIN.
14
             NOTHING. DISPLAY STILL READ PRESS BRAKE AND IGNITION.
15           LIFTED MY FOOT OFF THE BRAKE AND ON AGAIN AND THEN
             PRESSED THE IGNITION, IT FINALLY RESTARTED THE CAR.
16
             EXTREMELY DANGEROUS SITUATION AS THIS TOOK NEARLY
17           A MINUTE FOR THE CAR TO RESTART, THE LIGHT HAD JUST
             CYCLED AGAIN. DEALERSHIP COULD NOT REPLICATE THE
18
             SITUATION. THEY UPDATED THE CARS SOFTWARE AND IT DID
19           NOT FIX THE PROBLEM. THEY SAID THE BATTERY WAS STILL
             GOOD BUT I HAD READ ON THE PILOTEERS.ORG WEBSITE
20
             THAT CHANGING THE BATTERY SEEMED TO SOLVE THE
21           PROBLEM. I HAD THEM CHANGE THE BATTERY ANYWAY AND
             IT FIXED THE ISSUE, NOW NEARLY 2 YEARS LATER THE
22
             PROBLEM IS REOCCURRING AGAIN.97
23
             151. On August 30, 2021, the owner of a 2018 Honda Pilot filed the following
24
     complaint with NHTSA:
25
             I HAVE BEEN EXPERIENCING ISSUES WITH THE AUTO ENGINE
26
     96
27        NHTSA ID 11430372
     97
          NHTSA ID 11430682
28
                                              53
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 1         IDLE STOP FEATURE. THE ELECTRICAL SYSTEM (RADIO &
 2
           BLUE TOOTH) CUT OFF AND ON WHEN THE AUTO ENGINE
           IDLE STOP TRIES TO START AGAIN. THERE HAVE EVEN BEEN
 3         SEVERAL INSTANCES OF THE CAR CUTTING OFF
 4         COMPLETELY AND HAVING TO BE RESTARTED. THIS IS VERY
           UNSAFE. ONE OF THE INSTANCES OF THE CAR CUTTING OFF
 5         OCCURRED IN TRAFFIC AS WE STOPPED AND THEN STARTED
 6         MOVING AGAIN. THERE WERE SEVERAL PEOPLE IN THE CAR
           AT THE TIME. THE DEALER HAS NOT BEEN ABLE TO
 7         RECREATE THE ISSUE.98
 8
           152. On September 12, 2021, the owner of a 2017 Honda Pilot filed the
 9
     following complaint with NHTSA:
10
           THE AUTO IDLE STOP FEATURE ON THE VEHICLE POSES A
11         SIGNIFICANT SAFETY HAZARD. ON MULTIPLE OCCASIONS,
           THE ENGINE DOESN’T RE START AFTER LIFTING YOUR FOOT
12
           OFF OF THE BRAKE. WE’VE HAD THE DEALER ASSESS
13         SEVERAL TIMES, BUT THEY SIMPLY SAY THEY CAN’T REPEAT
           THE PROBLEM. IN THE MOST RECENT INSTANCE, WE WERE
14
           STOPPED AT A RED LIGHT AND THE AUTO IDLE STOP
15         ENGAGED. WHEN THE LIGHT TURNED GREEN, I TOOK MY
           FOOT OFF OF THE BRAKE AND THE CAR DID T RE START. I HAD
16
           TO SHIFT FROM DRIVE TO PARK, AND TRIED TO RE START THE
17         CAR A FEW TIMES BEFORE THE ENGINE RE STARTED. I WAS
           FORTUNATE I WASN’T REAR ENDED, AS CARS WERE COMING
18
           UP BEHIND ME IN EXCESS OF 40 MILES PER HOUR.
19         THANKFULLY, THEY SAW MY HAZARD LIGHTS AND MOVED
           OVER BEFORE HITTING ME. THIS PROBLEM HAS BEEN
20
           REPORTED IN MULTIPLE FORUMS, TO INCLUDE HERE:
21         HTTPS://WWW.PILOTEERS.ORG/THREADS/AUTO-ENGINE-
           IDLE-STOP-SYSTEM-PROBLEM-MESSAGE.144153/
22
           UNFORTUNATELY, AND BY DESIGN, THE FEATURE CANNOT
23         BE PERMANENTLY DISENGAGED. PLEASE FORCE HONDA TO
           TAKE IMMEDIATE ACTION BEFORE IT RESULTS IN
24
           FATALITIES!99
25
           153. On September 14, 2021, the owner of a 2016 Honda Pilot filed the
26
27   98
      NHTSA ID 11431074
   99
28    NHTSA ID 11432684

                                           54
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 1 following complaint with NHTSA:
 2          EVEN WITH “AUTO START” OFF, THE ENGINE WILL AND HAS
 3
           DIED MULTIPLE TIMES AT FREEWAY SPEED, CAUSING A HUGE
           SAFETY ISSUE AS THE VEHICLE SUDDENLY DECELERATES
 4         WITH NO POWER; THIS IS AN OFTEN REPORTED PROBLEM
 5         (GOOGLE IT) THAT RANGES FROM DYING FROM A STOP TO
           DYING WHILE IN MOTION. THIS OFT REPORTED PROBLEM
 6         NEEDS TO BE ADDRESSED BY HONDA, BUT THEY SAY
 7         THEY’RE UNAWARE OF THIS ISSUE. THEY ARE LYING.
           IMAGINE DRIVING A BUSY METRO FREEWAY WHEN ALL OF A
 8         SUDDEN YOU LOSE POWER AND HAVE TO FIGHT FOR
 9         CONTROL OF YOUR STEERING AND BRAKES.100

10         154. On September 21, 2021, the owner of a 2016 Honda Pilot filed the
11 following complaint with NHTSA:
12         AUTOMATIC IDLE ENGINE WAS ENABLE AND ONCE I TOOK
           MY FOOT OFF THE BRAKE, THE CAR STALLED. I WAS UNABLE
13
           TO START THE CAR FOR A MINUTE OR TWO AND HAD TO
14         TURN OFF THE ENTIRE CAR AND THEN RESTART. THIS HAS
           HAPPENED MULTIPLE TIMES BEFORE THIS OCCASION.101
15
16         155. On September 22, 2021, the owner of a 2017 Honda Pilot filed the

17 following complaint with NHTSA:
18         CAR STALLS AT IDLE WHEN YOU TAKE FOOT OFF OF BRAKE
           IN PREPARATION TO ACCELERATE. ERROR LIGHTS AND
19         WARNINGS FLASH ON DASHBOARD, CAR AUTOMATICALLY
20         SHIFTS TO NEUTRAL AND IT TAKES OVER A MINUTE TO
           RESTART. INCONSISTENTLY HAPPENS AND HONDA SERVICE
21         TECHNICIANS REPORT THERE ARE NO ERROR CODES. THIS IS
22         HAPPENING TO MANY PEOPLE WITH THE SAME
           MAKE/MODEL. THIS IS A SERIOUS SAFETY AND DRIVABILITY
23         ISSUE. PLEASE INVESTIGATE.102
24
           156. On September 24, 2021, the owner of a 2018 Honda Pilot filed the
25
     100
26     NHTSA ID 11432995
   101
       NHTSA ID 11433791
27
   102
       NHTSA ID 11433928
28
                                           55
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 1 following complaint with NHTSA:
 2            AROUND 30K MILES THE KEYLESS SYSTEM DEGRADES. CAR
 3
              WON’T START, SAYS KEY IS NOT PRESENT. AFRAID OF
              GETTING STRANDED SOMEWHERE. FORUM SHOWS MANY
 4            PEOPLE HAVING THIS ISSUE, I BELIEVE A RECALL FOR THIS IS
 5            NEEDED. PROBLEM SEEMS TO JUST GET WORSE AND WORSE
              OVER TIME. HAPPENS WITH BOTH KEY FOBS, REPLACED
 6            BATTERIES                NO                DIFFERENCE.
 7            HTTPS://WWW.PILOTEERS.ORG/THREADS/KEYLESS-START-
              SYSTEM-PROBLEM-ERROR.142385/103
 8
              157. On October 12, 2021, the owner of a 2018 Honda Pilot filed the following
 9
     complaint with NHTSA:
10
              I WAS DRIVING MY KIDS TO SCHOOL WHEN I STOPPED AT THE
11
              SCHOOL INTERSECTION. I GO TO PRESS ON THE
12            ACCELERATOR AS I NORMALLY WOULD AND IT WOULD NOT
              DRIVE, SO I PRESSED ON IT A LITTLE HARDER AS I WAS
13
              TURNING LEFT SINCE THERE WERE CARS APPROACHING. MY
14            VEHICLE SUDDENLY JOLTED, MAKING MYSELF AND THE
              KIDS SHIFT/JUMP FROM THE FORCE. I THEN PROCEEDED
15
              DRIVING DOWN THE ROAD AND LET GO OF THE
16            ACCELERATOR, AND MY SUV SUDDENLY STARTED TO FEEL
              LIKE IT WAS SLOWING ITSELF DOWN INSTANTANEOUSLY. IT
17
              FELT LIKE IT WAS TRYING TO MAKE THE VEHICLE’S SPEED
18            GO DOWN TO 0. I THEN PRESSED ON THE ACCELERATOR
              AGAIN TO PREVENT IT FROM HAPPENING, BUT IT CONTINUED
19
              TO DO SO WHENEVER I LET GO. I HAD TO STOP AT THE
20            SCHOOL’S PARKING LOT AND TURN OFF THE SUV
              COMPLETELY. WHEN I TURNED IT ON AGAIN AND BEGAN TO
21
              DRIVE, IT WAS FUNCTIONING NORMALLY. SINCE THEN, IT
22            HAS HAPPENED ABOUT 3 OR 4 TIMES, 1 OF WHICH HAPPENED
              ON THE EXPRESSWAY, WHICH WAS WAY SCARIER. I HAD TO
23
              GET OUT OF THE EXPRESSWAY AS IT WAS DANGEROUS. JUST
24            YESTERDAY, I HAD A SEPARATE ISSUE WITH THE SUV THAT
              MAY SEEM RELATED IN RETROSPECT. MY SUV DID NOT WANT
25
              TO TURN ON. I EXPERIENCED ALL OF THE DASHBOARD
26            LIGHTS FLICKERING, AND BEING UNABLE TO START IT. IT
              WAS NOT THE BATTERY BECAUSE AT SOME TIMES, THE
27
     103
28         NHTSA ID 11434229
                                                56
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 1            RADIO WOULD TURN ON, THE LIGHTS, AND THE
 2
              WINDOWS/LOCKS WOULD FUNCTION NORMALLY. I WAS
              UNABLE TO GET THE VEHICLE TO GO TO NEUTRAL, OR
 3            ANYTHING THEN ON. WHEN THE LIGHTS WERE NOT
 4            FLICKERING, IT PRESENTED ME WITH THE SMART ENTRY
              SYSTEM LIGHT PROBLEM. SOON AFTER, ALL THE LIGHTS ON
 5            MY DASHBOARD TURNED ON AND STATED THERE WERE AIR
 6            BAG PROBLEM, BRAKE PROBLEM, ABS PROBLEM, AND ETC...
              MY VEHICLE IS CURRENTLY BEING LOOKED AT.104
 7
              158. On October 21, 2021, the owner of a 2016 Honda Pilot filed the following
 8
     complaint with NHTSA:
 9
              AUTO ENGINE IDLE SHUT/OFF MALFUNCTIONING. AT RED
10
              LIGHT...WHEN TURNED GREEN, TOOK FOOT OFF BRAKE TO
11            ACCELERATE...CAR COMPLETELY SHUT OFF. DASHBOARD
              LIGHTS CAME ON AND INSTRUCTED TO SHIFT VEHICLE TO
12
              PARK AND RESTART. VEHICLE IN REAR VIEW COMING UP
13            FAST AND THOUGHT I WAS GOING TO BE REAR-ENDED AND
              QUICKLY FOUND HAZARD LIGHTS AND LUCKILY DRIVER
14
              WAS PAYING ATTENTION AND SHIFTED TO OTHER LANE.
15            NEVER HAPPENED WHEN BRAND NEW NOW HAPPENING FEW
              TIMES A WEEK. OF COURSE AM MAKING AN APPT WITH
16
              HONDA BUT IF THEY CAN’T REPLICATE THE PROBLEM IN THE
17            SHOP THEY CAN’T/WON’T FIX. THIS IS A SAFETY ISSUE AND
              PEOPLE ARE GOING TO GET REAR ENDED! HONDA NEEDS TO
18
              RECTIFY THIS SITUATION AS I HAVE SEEN MANY THREADS
19            WITH OTHERS STATING THE SAME PROBLEM.105
20            159. On October 30, 2021, the owner of a 2017 Acura TLX filed the following
21 complaint with NHTSA:
22            I HAVE BEEN STOPPED BY TRAFFIC OR STOP LIGHT WHEN I
23            PUT MY FOOT ON THE GAS TO START UP, THE CAR STALLS.
              THE WHOLE DASHBOARD IS LIGHTS UP AND I HAVE TO TRY
24            SEVERAL TIMES TO GET ENGINE STARTED. THIS IS VERY
25            SCARY.... I TOOK THE CAR TO DEALERSHIP. AFTER 4 HOURS
              AT THE DEALERSHIP AND $155, MY CAR IS STALLING AGAIN.
26
     104
27         NHTSA ID 11436390
     105
           NHTSA ID 11435157
28
                                                57
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 1         I AM SCARED I COULD GET HURT IN THIS CAR!106
 2         160. On November 2, 2021, the owner of a 2017 Honda Pilot filed the
 3 following complaint with NHTSA:
 4         ISSUE IS WHEN THE CAR IS STOPPED AND THE AUTO ENGINE
 5         IDLE IS ON, WHEN I LIFT THE BRAKE TO PRESS THE
           ACCELERATOR, THE CAR SHUTS OFF THE ENGINE
 6         COMPLETELY, PUTS ITSELF IN NEUTRAL. SO WHEN I’M AT A
 7         RED LIGHT THAT TURNS GREEN, WHEN I ATTEMPT TO GO BY
           LIFTING THE BRAKE MY ENGINE QUITS, THAT I HAVE TO
 8
           WAIT A FEW AND RESTART THE WHOLE THING,107
 9
           161. On November 4, 2021, the owner of a 2017 Honda Pilot filed the
10
     following complaint with NHTSA:
11
           ON MULTIPLE OCCASIONS OVER SEVERAL YEARS THE CAR
12         WILL SHUT COMPLETELY DOWN WHEN ACCELERATING
13         FROM A STOP LIGHT OR STOP SIGN. THE CAR HAS TO BE
           RESTARTED AND IT IS NOT SAFE. MOST RECENTLY IT
14         HAPPENED TWICE IN 1 WEEK AND THE CAR WILL NOT
15         RESTART IMMEDIATELY BECAUSE YOU HAVE TO GET IT INTO
           PARK. IT’S VERY DANGEROUS AND THE DEALER IS USELESS
16         AS THEY “CAN’T GET THE ISSUE TO DUPLICATE”108
17
           162. On November 4, 2021, the owner of a 2020 Honda Pilot filed the
18
     following complaint with NHTSA:
19
           MY 2020 HONDA PILOT HAS STALLED 4 TIMES IN THE PAST
20         TWO WEEKS AFTER THE AUTO ENGINE IDLE OCCURS AT A
           RED LIGHT. THE ENGINE WILL SHUT OFF AUTOMATICALLY,
21
           BUT WHEN I LIFT MY FOOT FROM THE BRAKE, THE CAR
22         ENGINE DOES NOT TURN BACK ON, AND THE CAR SHIFTS
           INTO PARK, AND ACTS AS IF STALLED. IN ORDER TO GET THE
23
           CAR TO RESTART, I HAVE TO POWER DOWN COMPLETELY,
24         OPEN THE DRIVER SIDE DOOR(!!!) AND “RESET” THE WHOLE
           SYSTEM BEFORE I CAN APPLY THE BRAKE AND PRESS THE
25
           IGNITION BUTTON. EVEN THEN A COUPLE OF TIMES IT
26
     106
       NHTSA ID 11438740
27 107
       NHTSA ID 11439010
28 108 NHTSA ID 11439407
                                           58
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 1            DOESN’T START FOR ME DOING THAT, AND I HAVE TO CYCLE
 2
              THROUGH THE ENTIRE PROCESS A SECOND TIME. THIS
              HAPPENED TO ME WITH MY 3 CHILDREN IN THE CAR TWICE
 3            ON VERY BUSY (50MPH) ROADS, AND IS INCREDIBLY
 4            DANGEROUS. THE SECOND MAJOR ISSUE I HAVE NOTICED,
              BUT LESS FREQUENTLY (ABOUT 3-4 TIMES IN THE PAST 6
 5            MONTHS), IS THAT THE AUTO BRAKING SYSTEM WILL
 6            RANDOMLY ALERT AND APPLY THE BRAKES WHILE I’M
              DRIVING DOWN A STRAIGHT ROAD WITH NO TRAFFIC IN
 7            FRONT OF ME! NEEDLESS TO SAY, TERRIFYING. THIS
 8            THANKFULLY ONLY LASTS A FEW SECONDS BEFORE I
              REGAIN CONTROL OF THE CAR, BUT ALSO INCREDIBLY
 9            DANGEROUS. I AM SCHEDULING SERVICE WITH HONDA TO
10            EVALUATE ASAP, BUT I HAVE READ *MANY* ACCOUNTS OF
              THE EXACT SAME PROBLEM ONLINE AND EVERY SINGLE
11            PERSON SAYS HONDA HAS NEVER BEEN ABLE TO FIND ANY
12            CAUSE. SOME SAY REPLACING THE BATTERY HELPS, OTHERS
              SAY THE STALLING ISSUE REMAINS AFTER BATTERY
13            REPLACEMENT. IF WE CAN’T SOLVE THIS PROBLEM, OR HAVE
14            THE AUTO ENGINE IDLE COMPLETELY AND PERMANENTLY
              DISABLED, I WILL BE SELLING THIS CAR VERY SOON. 16,104
15            MILES DRIVEN AS OF TODAY.109
16
              163. On November 9, 2021, the owner of a 2016 Honda Pilot filed the
17
     following complaint with NHTSA:
18
               AUTO ENGINE IDLE MALFUNCTION: ENGINE WOULD NOT
19            RESTART WHEN BRAKE PEDAL RELEASED. DASH
              INSTRUCTED TO SHIFT INTO PARK. ALL ELECTRICAL STAYED
20
              ON, BUT ENGINE WOULD NOT RESTART FOR SEVERAL
21            MINUTES. WITH ELECTRONIC SHIFTING, WASN’T EVEN ABLE
              TO GET INTO NEUTRAL TO GET OUT OF THE WAY OF TRAFFIC.
22
              AT BUSY INTERSECTIONS, BEING STRANDED COULD BE VERY
23            DANGEROUS OR EVEN FATAL.110
24            164. On November 25, 2021, the owner of a 2016 Honda Pilot filed the
25 following complaint with NHTSA:
26
     109
27         NHTSA ID 11439305
     110
           NHTSA ID 11439912
28
                                            59
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 1            WHEN ON THE ROAD AND YOU STOP AT TRAFFIC LIGHT WITH
 2
              AUTO STOP AND GO THE CAR SHUTS OFF COMPLETELY. IT
              WON’T START AFTERWARDS AND CAR NEEDS TO BE PLACED
 3            IN PARK AND TURNED BACK ON. THOUGH THIS ISN’T AN
 4            IMMEDIATE SOLUTION. THE CAR HAS BEEN BROUGHT IN
              MULTIPLE TIMES INTO DEALER. CHANGED BATTERY COUPLE
 5            TIMES AND PROBLEM PERSISTS REGARDLESS OF WHAT THEY
 6            DO AND THEY CONTINUE TO SAY THEY DON’T SEE
              ANYTHING. THOUGH IT STILL CONTINUES AND IS
 7            COMPLETELY DANGEROUS.111
 8
              165. On December 4, 2021, the owner of a 2019 Honda Pilot filed the following
 9
     complaint with NHTSA:
10
              WHILE AT A STOP LIGHT THE IDLE STOP ENGAGED BUT WHEN
11            I LIFT MY FOOT OFF THE BRAKE TO BEGIN MOVING FORWARD
              THE AUTO-START FAILED TO START AND VEHICLE REPORTED
12
              BATTERY FAILURE. PUT PILOT IN PARK AND MADE 3-5
13            ATTEMPTS TO RESTART BEFORE SUCCESSFUL. CARS NEARLY
              REAR ENDED ME AND MY CHILDREN WHO WERE IN THE
14
              BACK.112
15
              166. On December 21, 2021, the owner of a 2017 Honda Pilot filed the
16
     following complaint with NHTSA:
17
              ON MY WAY TO WORK YESTERDAY, I TOOK MY EXIT AND
18            STOPPED AT THE LIGHT WHERE THE IDLE ENGINE FUNCTION
19            ENABLED AND THEN MY CAR COMPLETELY SHUT OFF ON ITS
              OWN. IT TOOK MULTIPLE TRIES TO RESTART THE CAR.
20            MEANWHILE, THE LIGHT TURNED GREEN, MULTIPLE CARS
21            WERE HONKING AT ME, AND COULD HAVE MOST CERTAINLY
              REAR ENDED ME. IF IT WAS THE NEXT STREET OVER, IT
22            WOULD HAVE BEEN QUITE A DANGEROUS SITUATION AS IT IS
23            A SUPER BUSY AREA. UPON TAKING IT TO THE DEALERSHIP
              TODAY, THEY CANNOT FIGURE OUT THE ISSUE.113
24
              167. On January 10, 2022, the owner of a 2019 Honda Pilot filed the following
25
26   111
       NHTSA ID 11441660
27 112 NHTSA ID 11442641
     113
28         NHTSA ID 11444646

                                                60
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 1 complaint with NHTSA:
 2            WE OWN A 2019 HONDA PILOT TOURING . . . . WE PURCHASED
 3
              OUR VEHICLE FROM CHECKERED FLAG HONDA IN NORFOLK,
              VIRGINIA IN JUNE 2019. THIS VEHICLE HAS 32,096 AND IS STILL
 4            UNDER THE FACTORY BUMPER TO BUMPER WARRANTY. WE
 5            HAVE BEEN EXPERIENCING AN ISSUE WITH THE SYSTEMS
              AUTO-START STOP FEATURE. THE VEHICLE’S ENGINE STOPS
 6            AT A RED LIGHT, AND WHEN WE RELEASE THE BRAKE, ON
 7            NUMEROUS OCCASIONS THE VEHICLE FAILS TO RESTART THE
              ENGINE AND STALLS IN THE MIDDLE OF THE ROAD. THIS HAS
 8            HAPPENED MORE THAN 15 TIMES SINCE WE HAVE OWNED
 9            THE VEHICLE AND PUTS US IN AN UNSAFE SITUATION. WE
              TOOK OUR VEHICLE IN FOR SERVICE AT CHECKERED FLAG
10            ON 08/12/2021 AND EXPLAINED THE PROBLEM WE WERE
11            HAVING TO THE SERVICE TECHNICIANS. DURING THAT VISIT,
              THEY WERE NOT ABLE TO DUPLICATE OUR ENGINE STALLING
12            ISSUE (SEE SERVICE RECORD ATTACHED). SINCE 08/2021, THIS
13            ISSUE HAS CONTINUED TO OCCUR 6-8 TIMES SINCE AUGUST.
              THE ENGINE ATTEMPTS TO RESTART ITSELF AFTER LETTING
14            OFF THE BRAKE OR AFTER A SET PERIOD OF TIME, HOWEVER
15            AFTER ATTEMPTING TO CRANK THE ENGINE, THE CAR BEEPS
              AND HAS TO BE RESTARTED MANUALLY. WHEN ATTEMPTING
16            TO RESTART THE CAR MANUALLY, THE CAR WILL NOT START
17            THE NEXT 2-3 ATTEMPTS, AND WILL EVENTUALLY RESTART
              AFTER MULTIPLE PRESSES OF THE ENGINE START BUTTON.
18            THIS IS EXTREMELY UNSAFE AS WE ARE NOT ABLE TO MOVE
19            THE VEHICLE, SOMETIMES FOR A FEW MINUTES. ACCORDING
              TO THE SERVICE RECORDS, THE TECHNICIANS PERFORMED A
20            BATTERY CHECK, AND THE BATTERY WAS FINE.
21            INFORMATION REDACTED PURSUANT TO THE FREEDOM OF
              INFORMATION ACT (FOIA), 5 U.S.C. 552(B)(6).114
22
              168. On January 27, 2022, the owner of a 2017 Honda Pilot filed the following
23
     complaint with NHTSA:
24
              THIS IS A RANDOM ISSUE THAT HAS NOW HAPPENED 3 TIMES
25
              IN THE PAST COUPLE OF MONTHS. WHEN THE AUTO IDLE
26            SYSTEM IS ENGAGED AND GOING TO RESTART, THE CAR
              STALLS. YOU ARE STUCK IN AN INTERSECTION, AT A LIGHT,
27
     114
28         NHTSA ID 11446934
                                                61
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 1            ETC. YOU THEN HAVE TO FIGURE OUT HOW TO RESTART THE
 2
              CAR, WHICH ISN’T EASY, THE START BUTTON HAS TO BE
              PUSHED MULTIPLE TIMES AS YOU ARE TRYING NOT TO
 3            PANIC.
 4            169. On February 4, 2022, the owner of a 2019 Honda Pilot filed the following
 5 complaint with NHTSA:
 6      THE CONTACT OWNS A 2019 HONDA PILOT. THE CONTACT
 7      STATED THAT VEHICLE WAS EQUIPPED WITH THE
              START/STOP FEATURE; WHILE AT A STOP, AFTER RELEASING
 8
              THE BRAKE PEDAL THE VEHICLE STALLED. THE CONTACT
 9            HAD TO PLACE THE VEHICLE IN PARK AND RESTART
              VEHICLE. THE HEATED SEAT ON THE DRIVER SIDE FAILED TO
10
              PRODUCE HEAT. ADDITIONALLY, WHILE TRAVELING AT HIGH
11            SPEEDS THE VEHICLE STALLED AND WAS SLOW TO RESTART.
              THE VEHICLE WAS TAKEN TO THE LOCAL DEALER ON
12
              SEVERAL OCCASIONS WHERE IT WAS DIAGNOSED, AND THE
13            CONTACT WAS INFORMED THAT A RODENT HAD CHEWED
              THROUGH THE WIRES. THE CONTACT WAS ALSO INFORMED
14
              THAT THE BATTERY NEEDED TO BE REPLACED. THE VEHICLE
15            WAS REPAIRED HOWEVER, THE FAILURE RECURRED. THE
              MANUFACTURER WAS NOT CONTACTED. THE APPROXIMATE
16
              FAILURE MILEAGE WAS 41,000.115
17
              170. On February 6, 2022, the owner of a 2018 Honda Pilot filed the following
18
     complaint with NHTSA:
19
              THE AUTO-IDLE FEATURE WILL UNEXPECTEDLY OVER-
20            ENGAGE WHILE COMING TO A STOP AND THE ENTIRE
21            VEHICLE WILL SHUT OFF. I AM UNABLE TO SHIFT, STEER, ETC.
              IT WILL ALSO COMPLETELY SHUT THE ENGINE DOWN WHEN
22            AT A COMPLETE STOP. TO BE CLEAR, THIS IS NOT THE
23            NORMAL AUTO-IDLE. WHEN THE FULL ENGINE DISENGAGE
              HAPPENS, THE ENTIRE VEHICLE LOSES POWER AND THE
24            DASH FLASHES. THE VEHICLE STATES, “PUT INTO P”. ONCE IN
25            “P” FOR PARK, THE VEHICLE STILL WILL NOT RESTART. IT IS
              AS IF THE VEHICLE HAS TO “RESET” ITSELF. IT HAS TAKEN
26            UPWARDS OF 4 MINUTES FOR THE VEHICLE TO RESTART. THIS
27            HAS HAPPENED ON A HIGHWAY DURING CONSTRUCTION
28   115
           NHTSA ID 11450345
                                                62
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 1            TRAFFIC, APPROACHING A STOP SIGN, SLOWING AT A RED
 2
              LIGHT ON MULTIPLE OCCASIONS. I HAVE ALMOST BEEN
              REAR-ENDED AS A RESULT ON MUTIPLE OCCASIONS. I AM
 3            NOT EVEN ABLE TO PUT THE VEHICLE IN NEUTRAL TO MOVE
 4            IT TO A SAFE SPOT. HONDA INFORMED ME THAT I “JUST NEED
              TO DISENGAGE THIS FEATURE EACH AND EVERY TIME I
 5            START THE VEHICLE” . THAT IS NOT THE SOLUTION. THIS
 6            FEATURE SHOULD BE PERMANENTLY DISABLED BY HONDA.
              IMMEDIATELY116
 7
              171. On February 8, 2022, the owner of a 2018 Honda Pilot filed the following
 8
     complaint with NHTSA:
 9
              THE AUTO ENGINE IDLE “FEATURE” AUTOMATICALLY SHUTS
10
              THE ENGINE OFF WHEN THE CAR COMES TO A STOP. THIS
11            “FEATURE” IS SUPPOSED TO IMPROVE GAS MILEAGE,
              HOWEVER, I BELIEVE IT IS VERY DANGEROUS. THIS
12
              “FEATURE” HAS CAUSED MY VEHICLE TO STALL NUMEROUS
13            TIMES IN STOP AND GO TRAFFIC, REQUIRING ME TO
              COMPLETELY STOP THE VEHICLE, PLACE IT IN PARK, AND
14
              THEN RESTART THE VEHICLE. THIS SEQUENCE HAS CREATED
15            SEVERAL SCARY AND DANGEROUS SITUATIONS WHERE I
              WAS COMPLETELY STOPPED ON A BUSY FREEWAY. THIS
16
              “FEATURE’ WILL CAUSE ACCIDENTS IF IT HAS NOT ALREADY
17            CAUSED THEM. THIS FEATURE CURRENTLY CANNOT BE
              PERMANENTLY DISABLED. IT MUST BE DISABLED
18
              MANUALLY EVERY TIME I DRIVE THE CAR. I HAVE ALSO
19            CONTACTED HONDA DIRECTLY TO NOTIFY THEM OF THIS
              DEFECT.117
20
21            172. On February 16, 2022, the owner of a 2016 Honda Pilot filed the following

22 complaint with NHTSA:
23            IT’S HAPPENED A FEW TIMES NOW, BUT AT A STOP SIGN OR
              LIGHT THE AUTO SHUT OFF WILL KICK ON, AND THE. THE
24            ENGINE WILL SHUT OFF AND NOT TURN BACK ON. I WAS JUST
25            STUCK BLOCKING TRAFFIC WHEN MY CAR REFUSING TO
              RESTART AFTER THE IDLE SHUT OFF. IT’S VERY DANGEROUS.
26
     116
27         NHTSA ID 11450663
     117
           NHTSA ID 11450957
28
                                                63
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 1         IT TOOK SERVAL TRIES TO GET MY CAR TO RESTART AND I
 2
           WAS VERY PANICKED SOMEONE WOULD HIT ME.118

 3         173. On February 20, 2022, the owner of a 2019 Honda Pilot filed the following
 4 complaint with NHTSA:
 5         THE ENGINE TURNED OFF AND THE CAR WENT IN TO
           NEUTRAL GEAR WHILE SITTING AT A STOPLIGHT. THIS
 6         HAPPENED 2X IN 1 DAY. THE FIRST TIME, THE CAR WAS IN THE
 7         “AUTO ENGINE IDLE” MODE AND THE SECOND TIME I HAD
           DISABLED THE FEATURE SO IT WAS AT A REGULAR IDLE. THE
 8
           DASH SAID THE CAR WAS IN ACCESSORY MODE AND TO PUSH
 9         THE BRAKE AND START THE CAR. I HAD TO SHIFT TO PARK TO
           BE ABLE TO RESTART THE CAR. I HAD CARS BEHIND ME
10
           HONKING THE HORN AND WAS AFRAID I WAS GOING TO BE
11         REAR ENDED AT THE STOPLIGHT BY THE DRIVER BEHIND ME.
           THIS IS DEFINITELY A SAFETY HAZARD!119
12

13         174. On March 16, 2022, the owner of a 2017 Honda Pilot filed the following

14 complaint with NHTSA:
15         DRIVING INTO WORK, BUSY ROAD/HEAVY TRAFFIC, THE
           AUTO-STOP ENGINE FUNCTION ENGAGED. IT SHUT DOWN
16         THE ENTIRE CAR AND WOULD NOT RESTART AFTER
17         RELEASING THE BRAKE. I HAD TO PUT ON FLASHER, AND
           THEN RESTART THE CAR AS NORMAL. COMPONENT FAILURE:
18         AUTO-STOP SAFETY ISSUE: COULD BE REAR-ENDED, OR
19         WORSE IF THIS HAPPENED IN AN INTERSECTION VEHICLE
           WILL BE INSPECTED TOMORROW BY HONDA. THIS PROBLEM
20         HAS OCCURRED BEFORE.120
21
           175. On March 30, 2022, the owner of a 2018 Acura TLX filed the following
22
     complaint with NHTSA:
23
           THE CONTACT OWNS A 2018 ACURA TLX. THE CONTACT
24         STATED THAT WHILE DRIVING AT AN UNDISCLOSED SPEED,
           THE VEHICLE STALLED APPROXIMATELY TEN TIMES. THE
25
           VEHICLE INADVERTENTLY SHIFTED INTO NEUTRAL. THE
26
     118
       NHTSA ID 11452321
27 119
       NHTSA ID 11453093
28 120 NHTSA ID 11456934
                                             64
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 1         VEHICLE WAS RESTARTED AFTER FIVE MINUTES. THE LOCAL
 2
           DEALER WAS CONTACTED. THE VEHICLE WAS DIAGNOSED
           AND REPAIRED. THE MANUFACTURER WAS NOT CONTACTED.
 3         THE FAILURE MILEAGE WAS APPROXIMATELY 47,700.
 4         CONSUMER STATED THERE WAS A KNOWN SOFTWARE BUG
           IN THE AUTO IDLE FEATURE, THAT NEEDED UPDATING.
 5         CONSUMER TOOK THE CAR TO THE DEALER AND HAD THE
 6         SOFTWARE UPDATED.121

 7         176. On April 1, 2022, the owner of a 2018 Acura TLX filed the following
 8 complaint with NHTSA:
 9         ENGINE FAILS TO START AFTER IDLE STOP, WHEN THE IDLE-
           STOP OFF BUTTON IS NOT ENGAGED, AND THE BATTERY
10
           DOESN’T HAVE ENOUGH POWER TO RE-START THE VEHICLE.
11         ESSENTIALLY, THE ENGINE TRIES TO START UP AT A TRAFFIC
           LIGHT/INTERSECTION BUT FAILS, CAUSING THE CAR TO TURN
12
           OFF AND SHIFT TO NEUTRAL WITHOUT WARNING. I THEN
13         HAVE TO REALIZE WHAT IS HAPPENING, SHIFT THE CAR
           FROM NEUTRAL TO PARK, AND HIT THE START BUTTON TO
14
           BE ABLE TO RE-START THE CAR. THERE IS NO WARNING
15         FROM THE CAR THAT THE BATTERY IS GOING TO BE UNABLE
           TO KEEP THE CAR RUNNING, SO THE STALL IS 100%
16
           UNEXPECTED. THIS IS UNSAFE, AS THE RE-START PROCEDURE
17         IS NOT INTUITIVE, TAKES TIME, AND CAUSES CARS BEHIND
           YOU TO START HONKING. IT COULD VERY EASILY CAUSE A
18
           CRASH. EITHER ACURA NEEDS TO FIX THIS ISSUE WITH A
19         BATTERY WARNING, OR PROVIDE THE OPTION OF TURNING
           THE AUTO-IDLE STOP OFF BUTTON ON PERMANENTLY
20
           (WHICH SOME MEMBERS OF OUR GOVERNMENT WOULDN’T
21         LIKE, BUT WOULD FIX THE PROBLEM AND KEEP SOMEONE
           FROM BEING SERIOUSLY INJURED). THIS IS ALSO A KNOWN
22
           ISSUE BY HONDA/ACURA, AS MANY OTHER OWNERS ARE
23         REPORTING                                           IT:
           HTTPS://WWW.TLXFORUMS.COM/THREADS/ENGINE-FAILING-
24
           TO-START-AFTER-IDLE-STOP.31809/122
25
           177. On April 5, 2022, the owner of a 2017 Honda Pilot filed the following
26
27   121
       NHTSA ID 11458976
   122
28     NHTSA ID 11459222

                                            65
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 1 complaint with NHTSA:
 2            FOR THE PAST FEW MONTHS, I HAVE BEEN HAVING ISSUES
 3
              WITH MY VEHICLE STALLING. THIS ISSUE OCCURS WHILE
              STOPPED AT RED LIGHTS, STOP SIGNS, AND WHILE SITTING IN
 4            STOP AND GO TRAFFIC. MY VEHICLE IS EQUIPPED WITH THE
 5            AUTO START/STOP FEATURE, AND WHILE STOPPED AT A STOP
              SIGN FOR INSTANCE, THE VEHICLE WILL AUTO STOP BUT
 6            FAIL TO AUTO START WHEN TAKING MY FOOT OFF THE
 7            BRAKE AND HITTING THE GAS. THIS HAS HAPPENED ON
              NUMEROUS OCCASIONS, PUTTING THOSE IN THE VEHICLE
 8            AND THOSE IN OTHER VEHICLES AROUND MY VEHICLE AT
 9            RISK. I BROUGHT MY VEHICLE TO MY LOCAL DEALERSHIP, AT
              WHICH POINT THEY CHECKED IT AND FOUND NOTHING
10            WRONG WITH THE VEHICLE. THEY ALSO STATED THAT THEY,
11            AND THE VEHICLE MANUFACTURER WERE AWARE OF THE
              ISSUE, BUT HAVE NO SOLUTION FOR IT. THE FIRST TIME I
12            BROUGHT THE VEHICLE IN, THE DEALER TOLD ME THAT A
13            POSSIBLE FIX WAS AN UPDATE TO THE SYSTEM, HOWEVER I
              WOULD HAVE TO PAY FOR THE UPDATE. AFTER THE SERVICE
14            ADVISER SPOKE WITH THE SERVICE MANAGER A FEW TIMES,
15            THE DEALERSHIP PAID FOR THE $220 UPDATE. THE VEHICLE
              HAS SINCE CONTINUED TO STALL, THE ONLY THING THAT
16            SEEMS TO ASSIST IS TO TURN OFF THE AUTO START/STOP
17            FEATURE EVERY TIME THE VEHICLE IS TURNED ON. LAST
              THURSDAY, THE VEHICLE STALLED AGAIN ON MY WIFE WITH
18            OUR SON IN THE VEHICLE AT A T-INTERSECTION. THE
19            VEHICLE FAILED TO START FOR APPROXIMATELY 10-15
              MINUTES. I CONTACTED MY DEALER AGAIN AND WAS
20            ADVISED TO BRING MY VEHICLE IN. I BROUGHT IT IN AND
21            WAS TOLD THAT I COULD HAVE A RENTAL CAR, BUT THAT I
              WOULD NEED TO APPROVE PAYING A $160 DIAGNOSTIC FEE.
22            THEY WERE UNSURE OF A PERMANENT SOLUTION FOR THE
23            PROBLEM.123
24            178. On April 15, 2022, the owner of a 2016 Honda Pilot filed the following
25 complaint with NHTSA:
26            AUTO IDLE SYSTEM FAILS. AUTO IDEL TURNS OFF ENGINE AT
              STOPS AND FAILS TO RESTART ENGINE WHEN FOOT IS
27
     123
28         NHTSA ID 11459660
                                               66
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 1            REMOVED FROM BRAKE. MUST RESTART CAR. ERRORS ON
 2
              DASH WHICH MAY BE ASSOCIATED WITH ISSUE: CHARGING
              SYSTEM ERROR AUTO ENGINE IDLE STOP SYSTEM PROBLEM
 3            KEY FOB ERROR124
 4            179. On April 29, 2020, the owner of a 2016 Honda Pilot filed the following
 5 complaint with NHTSA:
 6       VEHICLE STALLS AND SHUTS OFF AT A STOP WHEN ENGINE
 7      IDLE STOP IS ENABLED. ALL LIGHTS ON DASHBOARD ARE
              ILLUMINATED AND VEHICLE AUTOMATICALLY SETS TO N
 8
              GEAR. UPON ATTEMPTING TO RESTART ENGINE, IT TAKES
 9            SEVERAL ATTEMPTS TO PUT VEHICLE BACK INTO P GEAR
              AND START ENGINE BY PRESSING THE PUSH START BUTTON
10
              AS WELL HAS HAVING FOOT ON THE BRAKE PEDAL. AFTER
11            DOING SO, THE VEHICLE WILL START UP RIGHT AWAY AND
              CAN BE DRIVEN OFF NORMALLY WITH NO WARNING LIGHTS
12
              ILLUMINATED ON DASH. THIS ISSUE HAS HAPPENED
13            NUMEROUS TIMES. WHEN ENGINE IDLE STOP IS DISABLED, IT
              DOES NOT HAPPEN. BATTERY HAS BEEN REPLACED AS WELL
14
              AS PUSH START BUTTON SWITCH PER SERVICE BULLETIN 20-
15            117. SOFTWARE UPDATE FOR TCM/PGM HAS ALSO BEEN
              PERFORMED AS PER SET DTC P2638 (TORQUE MANAGEMENT
16
              FEEDBACK SIGNAL A RANGE/PERFORMANCE) U1211 LOST
17            COMMUNICATION WITH SHIFTER, U0404 INVALID DATA
              RECEIVED FROM SHIFTER. DEALERSHIP HAS NOT BEEN ABLE
18
              TO DUPLICATE THE PROBLEM.125
19
              180. On May 1, 2022, the owner of a 2017 Honda Pilot filed the following
20
     complaint with NHTSA:
21
              THE AUTO START-STOP FUNCTION IS NOT WORKING
22            PROPERLY. IN SEVERAL OCCASIONS WHEN THE ENGINE
23            STOPS AT A RED LIGHT THE ENGINE WILL NOT START AGAIN.
              THIS HAS CAUSED MANY DANGEROUS SITUATIONS AS WE
24            GOT STUCK IN THE MIDDLE OF AN INTERSECTION. THE
25            DEALER HAS NOT BEEN ABLE TO IDENTIFY THE PROBLEM.
              ALSO LINKED TO THIS ELECTRICAL PROBLEM IS AT TIME ALL
26
     124
27         NHTSA ID 11460883
     125
           NHTSA ID 11462813
28
                                               67
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 1            KIDS OF ELECTRICAL WARNING MESSAGES APPEAR IN THE
 2
              CLUSTER. I EXPECT THIS TO BE AN ELECTRICAL/BATTERY
              RELATED PROBLEM.126
 3
              181. On May 11, 2022, the owner of a 2018 Honda Pilot filed the following
 4
     complaint with NHTSA:
 5
              MY VEHICLE WAS STOPPED AT A RED LIGHT IN A BUSY
 6            TURNING LANE. WHEN I PRESSED ON THE BRAKES TO STOP
 7            THE VEHICLE THE “IDLE-STOP” AUTOMATICALLY CAME ON.
              AS MY VEHICLE WAS IDLING, I WAITED FOR THE LIGHT TO
 8
              TURN GREEN TO GO. ONCE I PRESSED ON THE GAS TO GO MY
 9            VEHICLE WENT HAYWIRE. I COULDN’T DRIVE FORWARD OR
              PUT THE VEHICLE IN ANY PARK MODE. EVERY LIGHT
10
              STARTED FLICKERING ON THE DASH, MY HAZARDS
11            WOULDN’T COME ON, THE CAR WOULDN’T START AND
              EVERY TIME I TRIED ATTEMPTING TO TURN ON THE CAR IT
12
              CONTINUED TO DO THE SAME. I WAS STALLED AT A VERY
13            BUSY INTERSECTION WITH NO HAZARD LIGHTS WITH TWO
              KIDS, THIS WAS FRIGHTENING. MY HUSBAND HAD TO
14
              RESTART THE VEHICLE WITH A BATTERY PACK. AFTER
15            GETTING THE CAR CHECKED, THERE WERE NO SIGNS OF ANY
              BATTERY ISSUES OR ANY OTHER PROBLEMS, THE CAR
16
              SEEMED PERFECTLY FINE. NOW WE HAVE TO COMPLETELY
17            TURN OFF THE “IDLE-STOP” BEFORE DRIVING OR THE CAR
              WILL STALL, SHUT OFF AND GO HAYWIRE. WE HAVE TO
18
              CONSTANTLY RESTART THE VEHICLE WITH A BATTERY PACK
19            IN ORDER TO CONTINUE DRIVING. I ASKED SEVERAL PEOPLE
              AND APPARENTLY THIS IS A HUGE ISSUE AND PROBLEM FOR
20
              MANY WITH NO HELP FROM HONDA DEALERSHIPS TO FIX
21            IT.127
22            182. On June 7, 2022, the owner of a 2016 Honda Pilot filed the following
23 complaint with NHTSA:
24            IF I FORGET TO TURN OFF THE AUTO IDLE BUTTON. IT IS A
25            50/50 SHOT WHETHER MY VEHICLE WILL RESTART. IF THE
              VEHICLE DOES SHUT DOWN IT TAKES QUITE THE PROCESS TO
26
     126
27         NHTSA ID 11462917
     127
           NHTSA ID 11464138
28
                                              68
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 1         TRY TO GET THE VEHICLE TO START AGAIN. NUMEROUS
 2
           TIMES I’VE HAD ANGRY DRIVERS BEHIND ME BEEPING THEIR
           HORNS AND THROWING THEIR HANDS UP AS I’M
 3         FRANTICALLY TRYING TO GET THE VEHICLE TO RESTART.
 4         WHEN I FINALLY DO GET THE VEHICLE RUNNING AGAIN IT’S
           SEVERAL MINUTES LATER. I HAVE ADDRESSED THIS ISSUE
 5         WITH HONDA OF FORT MYERS MULTIPLE TIMES. THEY HAVE
 6         REPLACED THE START/STOP IGNITION BUTTON TWICE, BUT
           THIS HAS NOT FIXED ANYTHING. THEY HAVE ALSO FORCED
 7         ME TO PURCHASE A NEW BATTERY AS THEY ENSURED THIS
 8         WAS THE ISSUE. THIS AGAIN DID NOT FIX THE PROBLEM. THIS
           CONTINUES TO BE AN ONGOING SAFETY ISSUE THAT HONDA
 9         IS AWARE OF, BUT NEGLECTS TO DO ANYTHING ABOUT IT.128
10
           183. On June 7, 2022, the owner of a 2017 Honda Pilot filed the following
11
     complaint with NHTSA:
12
           ON  NUMEROUS    OCCASIONS     WHEN    ENGINE  HAS
13         AUTOMATICALLY STOPPED, IT HAS FAILED TO RESTART TO
           ALLOW CONTINUED DRIVING.129
14
15         184. On June 7, 2022, the owner of a 2018 Honda Pilot filed the following

16 complaint with NHTSA:
17         THE ENGINE FAILED TO RESTART ON ITS OWN FROM A
           COMPLETE STOP AT A TRAFFIC LIGHT ON THREE SEPARATE
18         OCCASIONS WITH THE AUTO START/STOP FUNCTION
19         ENGAGED.130

20         185. On June 7, 2022, the owner of a 2019 Honda Pilot filed the following
21 complaint with NHTSA:
22         I STOPPED AT A RED LIGHT DOWNTOWN. THE AUTO ENGINE
           STOP/START DID NOT START WHEN THE GREEN LIGHT CAME.
23
           IT WAS NOT POSSIBLE TO CHANGE GEARS OR PLACE THE CAR
24         IN NEUTRAL. ALL LIGHTS AND RADIO WERE WORKING. MUCH
           ANXIETY BECAUSE ALL OTHER CARS WERE HONKING.
25
           COULD NOT GET OUT OF THE CAR WITHOUT RISK OF BEING
26
     128
       NHTSA ID 11468067
27 129
       NHTSA ID 11468086
28 130 NHTSA ID 11468058
                                           69
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 1         HIT BY ANOTHER CAR. POLICE CAME BY AND HELPED
 2
           CALLING A TWO TRUCK- $200 TO TOW TO A PARKING PLACE
           TWO BLOCKS DOWN THE STREET. CAR COULD NOT BE PLACE
 3         IN NEUTRAL. TOWED TO A DEALERSHIP, THEY REPLACED THE
 4         BATTERY. (SURPRISING SINCE ALL ELECTRICAL WAS
           WORKING FINE) IT HAS NOT HAPPENED AGAIN, BUT I AM
 5         INACTIVATING THE AUTOMATIC FEATURE EVERYTIME I RIDE
 6         THE CAR.131

 7         186. On June 7, 2022, the owner of a 2020 Honda Pilot filed the following
 8 complaint with NHTSA:
 9         AUTO ENGINE IDLE ENGAGED AND THE VEHICLE DIED AND
           WOULD NOT RESTART. THE VEHICLE HAS DIED A COUPLE OF
10
           TIMES IN THE PAST IN SIMILAR CIRCUMSTANCES BUT
11         ALWAYS RESTARTED UNTIL THE MOST RECENT INCIDENT.
           THIS LEFT US STRANDED IN THE MIDDLE OF THE ROAD AT AN
12
           INTERSECTION WITH NO WAY TO PUT THE VEHICLE IN
13         NEUTRAL AND PUSH IT TO THE SIDE OF THE ROAD WHICH IS
           ANOTHER UNRELATED SAFETY COMPLAINT. THE CAR
14
           CANNOT BE TAKEN OUT OF PARK WHEN NOT RUNNING. THE
15         COMPONENT HAS NOT BEEN INSPECTED AS OF THE TIME OF
           THIS COMPLAINT BUT IS BEING SCHEDULED FOR REVIEW BY
16
           THE SERVICE SHOP. THERE WERE NO WARNINGS OR
17         MESSAGES PRIOR TO THE INCIDENTS OCCURRING.132
18         187. On June 8, 2022, the owner of a 2017 Acura TLX filed the following
19 complaint with NHTSA:

20         AUTO STOP/START FEATURE FAILS TO RESTART VEHICLE,
21         RENDERING VEHICLE INOPERABLE. POWERING OFF THE
           VEHICLE AND THEN POWERING UP THE VEHICLE THUS FAR
22         HAS RESTARTED EVERYTHING, MUCH TO THE FRUSTRATION
23         OF MYSELF AND THE DRIVERS BEHIND ME.133

24         188. On June 8, 2022, the owner of a 2018 Honda Pilot filed the following
25 complaint with NHTSA:
26
     131
       NHTSA ID 11468024
27 132
       NHTSA ID 11468027
28 133 NHTSA ID 11468113
                                           70
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 1            THE ENGINE AUTOMATIC IDLE STOP MALFUNCTIONS ON A
 2
              REGULAR BASIS. AT IDLE, THE ENGINE WILL STOP AND IS
              SUPPOSED TO RE-START AUTOMATICALLY AND ON AVERAGE
 3            ONCE PER WEEK THE ENGINE WILL NOT RE-START. THE CAR
 4            WILL NEED TO BE PUT INTO PARK AND THEN MANUALLY
              RESTARTED. THIS USUALLY OCCURS WHILE AT A TRAFFIC
 5            SIGNAL AND LEAVES US STUCK BLOCKING TRAFFIC. IT HAS
 6            OCCURRED COUNTLESS TIMES IN THE THREE YEARS WE
              HAVE OWNED THE VEHICLE. WE HAVE TAKEN IT BACK TO
 7            HONDA MULTIPLE TIMES TO COMPLAIN BUT THEY HAVE
 8            NEVER BEEN ABLE TO FIND A PROBLEM.134

 9            189. On June 8, 2022, the owner of a 2018 Honda Odyssey filed the following
10 complaint with NHTSA:
11            AUTO RESTART FEATURE WHEN ENABLED DID NOT RESTART
              VEHICLE AFTER COMING TO A STOP AT STOPLIGHT ON
12
              MULTIPLE OCCASIONS IN THE LAST FEW MONTHS
13            RENDERING VEHICLE UNABLE TO PROCEED. WE RECENTLY
              SAW NEWS ARTICLE ABOUT SAME ISSUE WITH PILOTS.135
14
15            190. On June 8, 2022, the owner of a 2019 Honda Pilot filed the following

16 complaint with NHTSA:
17            -THE ENGINE FAILED TO RESTART ON ITS OWN FROM A
              COMPLETE STOP AT A TRAFFIC LIGHT WITH THE AUTO
18            START/STOP FUNCTION. THIS HAS OCCURRED ON MULTIPLE
19            OCCASIONS. -THIS STARTED OCCURRING IN THE SUMMER OF
              2021. THE FIRST COUPLE OF TIMES, THE ENGINE WOULD
20            STALL BUT WOULD IMMEDIATELY START UP AGAIN AFTER
21            TURNING THE BACK ON. ON ONE OCCASION, IT STALLED AT
              A TRAFFIC LIGHT AND IT TOOK ABOUT 30 SECONDS TO GET
22            THE ENGINE BACK ON. ON OR ABOUT 8/12/21, WE WERE
23            STOPPED AT A TRAFFIC LIGHT AT A BUSY INTERSECTION AND
              THE ENGINE STALLED AND WOULD NOT RESTART. WE
24            BLOCKED A LANE FOR OVER AN HOUR UNTIL A TOW TRUCK
25            WAS FINALLY ABLE TO RETRIEVE THE CAR. THE BATTERY
              COULD NOT BE JUMP STARTED. -THE CAR WAS TAKEN TO THE
26
     134
27         NHTSA ID 11468332
     135
           NHTSA ID 11468182
28
                                               71
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 1            HONDA DEALERSHIP AND THEY SAID IT WAS DUE TO A
 2
              FAULTY BATTERY AND REPLACED THE BATTERY. HOWEVER,
              WITHIN 9 MONTHS OF THE REPLACEMENT (CURRENTLY), THE
 3            CAR HAS STARTED STALLING AGAIN INTERMITTENTLY.
 4            MOST OF THE TIME, WE REMEMBER TO TURN THE AUTO
              START-STOP FEATURE BEFORE WE START DRIVING, WHICH
 5            SEEMS TO HELP, BUT ON THE OCCASIONS THAT WE FORGET,
 6            IT HAS STALLED ON AT LEAST 2 OCCASIONS. SO FAR, WE’VE
              BEEN ABLE TO START THE ENGINE AGAIN QUICKLY AND
 7            KEEP MOVING. -THERE HAVE BEEN NO WARMING LAMPS,
 8            MESSAGE OR OTHER SYMPTOMS PRIOR TO THESE INCIDENTS.
              -WE HAVE BEEN EXTREMELY DISAPPOINTED WITH THE
 9            MANNER THAT HONDA USED WHEN WE VOICED THESE
10            CONCERNS IN AUGUST 2021. THEY WERE VERY DISMISSIVE
              AND DID NOT SEEM TO BELIEVE MY REPORT, DESPITE THE
11            CAR ONLY BEING LESS THAN 3 YEARS OLD AT THE TIME OF
12            THE FIRST INCIDENT. WHEN I STATED THAT THIS POSED A
              SERIOUS SAFETY ISSUE BECAUSE A CAR COULD STALL AT
13            ANY TIME, THEY STATED IT SHOULDN’T POSE A MAJOR
14            THREAT BECAUSE THE INCIDENTS ONLY HAPPENED WHEN
              THE VEHICLE WAS STOPPED AND OTHER VEHICLES WOULD
15            LIKELY ALSO BE STOPPED, THEREBY ELIMINATING ANY
16            CHANCE OF IMPACT. THIS IS CLEARLY AN ERRONEOUS
              CONCLUSION AS MY VEHICLE COULD EASILY COME TO A
17            STOP IN HEAVY TRAFFIC ON AN INTERSTATE AND OTHER
18            CARS MAY NOT REACT QUICK ENOUGH TO STOP.136
19            191. On June 8, 2022, the owner of a 2019 Honda Pilot filed the following
20 complaint with NHTSA:
21            TWICE SINCE PURCHASING THE VEHICLE LAST YEAR THE
              AUTOMATIC START/STOP FEATURE ON THE HONDA HAS
22
              FAILED TO RESTART THE ENGINE ONCE WE TOOK OUR FOOT
23            OFF THE BRAKE PEDAL. THE FIRST TIME WAS MORE THAN SIX
              MONTHS AGO. WE WERE AT A LIGHT AND THE VEHICLE DID
24
              NOT START AFTER TAKING MY FOOT OFF THE BRAKE WHEN
25            THE LIGHT TURNED GREEN. I TRIED PUTTING IT IN PARK AND
              THEN RESTARTING THE VEHICLE WITH THE TOUCH BUTTON
26
              BUT IT DIDN’T WORK. I TRIED WITH THE REMOTE START
27
     136
           NHTSA ID 11468213
28
                                              72
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 1            FEATURE ON THE KEY AND IT WOULD NOT START THAT WAY.
 2
              AT THIS POINT TRAFFIC WAS HONKING AND GOING AROUND
              US. I STARTED PUSHING THE PARK AND NEUTRAL BUTTON TO
 3            MAKE SURE IT WAS IN PARK, BUT NOTHING WORKED. I
 4            FINALLY GOT THE VEHICLE TO RESTART BY HOLDING THE
              START BUTTON ON THE DASH FOR ABOUT 10-15 SECONDS.
 5            WHEN I TOOK IT INTO THE DEALER A MONTH OR SO LATER
 6            TO HAVE A RECALL TAKEN CARE OF I BROUGHT IT UP TO THE
              ADVISOR AND HE ASKED IF IT HAS HAPPENED SINCE THEN. I
 7            SAID NO AND HE SAID IT WAS PROBABLY SOMETHING I DID...
 8            THE SECOND TIME, WAS 5/11/2022 AROUND 11 AM. I WAS ON
              THE WAY TO THE HONDA DEALERSHIP TO BUY AN OIL FILTER
 9            AND CRUSH RING TO CHANGE THE OIL. I HAD BEEN DRIVING
10            FOR ABOUT A HALF AN HOUR, STOPPED AT A RED LIGHT IN
              FRONT OF THE DEALERSHIP AND IT HAPPENED AGAIN. ONCE
11            AGAIN, TRAFFIC ON THE OFFRAMP STARTED PILING UP,
12            PEOPLE WERE HONKING AND GOING AROUND ON THE
              SHOULDER. I TRIED THE SAME PROCEDURE AS BEFORE BUT
13            IT DIDN’T WORK AT FIRST. I TRIED IT A COUPLE OF TIMES AND
14            THE VEHICLE FINALLY STARTED. THE VEHICLE HAS NOT
              BEEN SCANNED WITH A SCANNER SINCE THE LAST TIME SO
15            THERE IS PROBABLY A STORED CODE IF YOU NEED TO
16            VERIFY THIS.137

17            192. On June 8, 2022, the owner of a 2019 Acura TLX filed the following
18 complaint with NHTSA:
19             THE AUTO START STOP FEATURE FAILED TO START VEHICLE
              IN 3 DIFFERENT OCCASIONS, LEADING TO A TRAFFIC JAM
20
              EVERY TIME AND VEHICLES BEHIND ME ALMOST HITTING ME
21            BECAUSE THEY THOUGHT I WILL BE MOVING WITH TRAFFIC,
              STILL WAITING ON ACURA FOR APPOINTMENT TO BRING
22
              VEHICLE138
23
              193. On June 9, 2022, the owner of a 2019 Honda Pilot filed the following
24
     complaint with NHTSA:
25
              WHEN THE CAR IS STOPPED IT WILL SOMETIMES TURN OFF. IT
26
     137
27         NHTSA ID 11468123
     138
           NHTSA ID 11468127
28
                                              73
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 1            HAS HAPPENED AT LEAST TWICE IN THE LAST WEEK - ONCE
 2
              IN A DRIVE THROUGH AND ONCE AT A STOP SIGN. THE CAT
              COMES TO A STOP NORMALLY BUT WHEN IT IS TIME TO
 3            ACCELERATE THE ENGINE TURNS OFF & THE ELECTRICAL
 4            STARTS ACTING WEIRD. I HAVE TO POWER THE CAR OFF AND
              ON A COUPLE OF TIMES BEFORE I CAN GET IT GOING AGAIN.
 5            I TOOK THE CAR INTO HONDA TODAY AND THEY COULD NOT
 6            FIND ANY PROBLEMS WITH THE CAR. I AM SCARED THAT THIS
              WILL HAPPEN ON THE FREEWAY DURING TRAFFIC AND
 7            SOMEONE WILL COME CRASHING INTO ME.139
 8
              194. On June 9, 2022, the owner of a 2019 Honda Pilot filed the following
 9
     complaint with NHTSA:
10
              I HAVE COMPLAINED TO THE HONDA DEALER DURING EACH
11            OIL CHANGE THAT MY ENGINE SHUTS OFF WHEN I AM
              DRIVING AND COME TO A STOP AT INTERSECTIONS. I
12
              BROUGHT UP THAT I HAD THE CAR BATTERY CHANGED
13            THREE TIMES ALREADY DUE THE SUSPICION THAT THE
              BATTERY WAS CAUSING THE ISSUE. THEY TESTED THE
14
              BATTERY AND FOUND THAT IT WASN’T THE PROBLEM. I
15            ASKED THEM TO LOOK AT THE SPARK PLUGS, AGAIN, NO
              ISSUES. THEY TOOK A TEST DRIVE AND COULD NOT
16
              REPLICATE THE ISSUE. THE PROBLEM STEMS FROM THE
17            FEATURE THAT AUTOMATICALLY SHUTS OFF THE ENGINE
              WHEN THE BRAKES ARE DEPRESSED AND THE VEHICLE IS AT
18
              A COMPLETE STOP. WHEN THE BRAKE IS RELEASED, THE
19            ENGINE ATTEMPTS TO TURN BACK ON, BUT FAILS. THERE
              ARE MANY INDICATOR LIGHTS THAT TURN ON THAT
20
              INDICATE A FAULT. I HAVE TO MANIPULATE THE GEAR
21            SELECTOR BUTTONS TO GET THE VEHICLE TO SHUT DOWN
              AND ATTEMPT TO RESTART THE ENGINE AGAIN. MY VEHICLE
22
              HAS SHUT OFF TENS OF TIMES WHILE DRIVING. MY ONLY FIX
23            AT THE MOMENT IS TO PRESS A BUTTON NEAR THE BOTTOM
              OF THE GEAR SELECTOR THAT DISABLES THE AUTOMATIC
24
              ON-OFF ENGINE SHUTOFF. THIS IS WHAT I MUST NOW DO
25            WHEN I FIRST START MY ENGINE ON. I HAVE BEEN PUT IN
              DANGEROUS SITUATIONS WHEN AT INTERSECTIONS,
26
              PARTICULARLY AT RIGHT TURNS WHEN MY ENGINE SHUTS
27
     139
           NHTSA ID 11468539
28
                                              74
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 1         OFF AND THERE IS ONCOMING VEHICLES. I HAVE HAD
 2
           EXPENSES GETTING THIS ISSUE LOOKED AT AND GETTING
           NEW BATTERIES, WHICH DID NOT RESOLVE THE ISSUE.140
 3
           195. On June 9, 2022, the owner of a 2019 Honda Odyssey filed the following
 4
     complaint with NHTSA:
 5
           FREQUENTLY THE ENGINE WILL STALL ON RESTART AFTER
 6         IDLE STOP SYSTEM CUTS THE ENGINE OFF AT A LIGHT.
 7         OCCASIONALLY THE STALL WILL LEAD TO A FULL REBOOT
           OF THE CONTROL SYSTEM TAKING UP TO 3 MINUTES TO
 8
           ALLOW A RESTART OF THE ENGINE.141
 9
           196. On June 11, 2022, the owner of a 2020 Honda Pilot filed the following
10
     complaint with NHTSA:
11
           WHEN ENGINE AUTO-SHUTOFF WAS ON (AS IT IS
12         AUTOMATICALLY EVERY TIME THE CAR IS STARTED) I CAME
13         TO A COMPLETE STOP AND THE VEHICLE TURNED OFF
           COMPLETELY. I WAS IN THE MIDDLE OF THE ROAD ON EVERY
14         OCCASION THIS OCCURRED. THE VEHICLE WOULD NOT
15         RESTART FOR AT LEAST 30 SECONDS.142

16         197. On June 12, 2022, the owner of a 2018 Honda Pilot filed the following
17 complaint with NHTSA:
18         ENGINE FAILED TO RESTART AFTER THE AUTO STOP/START
           FEATURE SHUT THE ENGINE OFF WHILE I WAS STOPPED
19
           MAKING A LEFT TURN ONTO A BUSY ROAD. THIS IS THE 3RD
20         TIME THIS HAS HAPPENED. I AM UNABLE TO DISABLE THIS
           FEATURE PERMANENTLY. I HAVE TO SHUT THIS FEATURE OFF
21
           MANUALLY EACH TIME I START THE CAR. THE PRIOR TWO
22         TIMES I WAS STOPPED ON A BUSY ROAD FOR A CAR STOPPED
           IN FRONT OF ME AND THE CAR FAILED TO RESTART
23
           EXPOSING MY FAMILY AND I TO A POTENTIAL REAR END
24         COLLISION. THIS FEATURE IS VERY DANGEROUS AND IT IS
25   140
       NHTSA ID 11468363
26   141
       NHTSA ID 11468548
   142
27     NHTSA ID 11468757

28
                                            75
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 1            ONLY A MATTER OF TIME TILL SOMEONE IS HURT.143
 2            198. On June 12, 2022, the owner of a 2019 Honda Pilot filed the following
 3 complaint with NHTSA:
 4            AUTO START/STOP ENGINE STARTS TO STALL AND CAN TAKE
 5            5 SECONDS OR MORE BEFORE RESTARTING. THIS IS
              DANGEROUS WHEN GOING IN STOP AND GO TRAFFIC. HAVING
 6            DEALER LOOK AT IT IN THE UPCOMING WEEK. NO WARNING
 7            SIGNS.144
 8            199. The above complaints are a representative sampling of the hundreds of
 9 complaints posted to NHTSA and other online sources.
10            200. The significance of the complaints to Honda is evident when compared to
11 similar complaints about its competitors. For example, searching NHTSA’s database
12 for 2016-2020 Honda Pilot vehicles with complaints that include both the terms “auto”

13 AND “start” produced 184 hits. The same search produced zero hits for 2016-2020
14 Toyota 4Runner vehicles, and four hits for 2016-2020 Toyota Highlander vehicles.
15 Likewise, the same search produced zero hits for 2016-2020 Ford Explorer vehicles,
16 and only one hit for 2016-2020 Ford Expedition vehicles.
17            201. Customers also post vehicle complaints on other websites, such as
18 carcomplaints.com, which, upon information and belief, Honda monitors to track
19 product performance and customer satisfaction. On November 3, 2015, an owner of a

20 2016 Honda Pilot posted the following complaint on carcomplaints.com:
21            Well, I decided to purchase a new 2016 Honda Touring Pilot from a local
22            dealer. I have been reading an awful lot of complaints on this new vehicle
              from Piloteers.org. I have to say that I am not experiencing all the same
23            complaints, however, at this point, only one. My Auto Idle Stop feature
24            does not work or it works intermittently. Jury is still out on that issue. I
              received the SUV with 12 miles on her. I started to realize soon after that
25            my Auto Stop Idle was not working. It did work a few times, etc... This
26            was probably around 250 miles. I took Suv to dealer at 333 miles on her,

27   143
           NHTSA ID 11468907
     144
28         NHTSA ID 11468899

                                                  76
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 1         where they sat me down and explained that a lot of certain conditions need
 2
           to be met for it to work. I replied, that I read the manual and CD. I met all
           those requirements. “It still does not work.” Actually, I just looked at what
 3         the service tech wrote in her comments and don’t agree at all. She wrote
 4         “C/S Stop Idle is Inop. Please advise. Customer spoke with Scott-will
           leave his last name omitted and went over stop Idle operation. No
 5         corrective action to be made. Working as described.” How can she say, it
 6         is working as described? Scott indicated that he didn’t know why it isn’t
           working. He went on to tell me that unless the icon flashes and throws a
 7         code, they can’t do anything. I understand that logic, however, it isn’t
 8         working and it isn’t throwing any codes to the computer. What do I have
           to do to get this to work? It should work every time I have the system on
 9         and ready. Seat belt on, defroster off, all engine temps normal because of
10         driving the SUV, system on and ready, no flashing icon. What do they
           want, screaming kids in the back seat bouncing all around to get this
11         system to work? Bottom line is that it does not work and I somewhat felt
12         blown off at my dealer. I realize that the SUV is brand new. I don’t know
           what to do. I paid over 46k and feel all advertised systems should work
13         100% of the time. Thank you.145
14
           202. On October 16, 2015, the owner of a 2016 Honda Pilot posted the
15
     following complaint on carcomplaints.com:
16
            My 2016 Honda Pilot Elite has been back to the dealer four times for a
17         fix to the auto idle stop problem. Each time they report a different fix and
           it works for a period of days or weeks, then stops again. Last visit they
18
           said it was because of a defective vehicle battery. Again it worked for less
19         than two weeks. I really like this vehicle and do not want to avail myself
           of the State Lemon Law protections. I just want this issue fixed once and
20
           for all146
21
           203. On November 18, 2015, the owner of a 2016 Honda Pilot posted the
22
     following complaint on carcomplaints.com:
23
            I have 2016 Pilot Elite and took for repair same place where i purchase.
24         Third time they they fixed the original problem but it crest other problem.
25         Original problem is while i driving it start misfiring the engine and all
           light in dash board start blinking. You fill like you are driving without
26
     145
27     https://www.carcomplaints.com/Honda/Pilot/2016/engine/auto_idle_stop_does_not_work.shtml
   (last visited June 16, 2022)
28 146 Id.
                                                 77
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 1         exhaust system. First time i took for repair dealers say PCM has to reset
 2
           it. Second time i took for repair they said catalytic convertor need to
           replace. Third time i took it they said injected need to replace. Now other
 3         problem came up is my Auto Engine Idle on/of dose not working. I think
 4         this car is LEMON CAR.147

 5         204. On November June 6, 2021, the owner of a 2020 Acura TLX posted the
 6 following complaint on carcomplaints.com:
 7          Two times in three weeks with the auto idle stop active the car failed to
           restart on a green light. Following all the prompts in the car it takes over
 8
           a minute to re start the car while blocking traffic.148
 9
           205. Honda also knew about the Idle Stop Defect from its warranty data. Per
10
     the TREAD Act, Honda tracks its vehicles’ diagnoses and repairs from dealership
11
     technicians in a single, aggregated database. Honda employs people who monitor the
12
     database for repair trends, and engineering and management staff review such trends
13
     in regular meetings.149 For every complaint that a consumer files with NHTSA, Honda
14
     likely receives hundreds or thousands of related warranty claims.150 Accordingly,
15
     Honda likely received hundreds or thousands of Idle Stop Defect warranty claims
16
     starting as far back as late 2015 or early 2016, before Plaintiff purchased his vehicle.
17
           206. Despite knowing of the Idle Stop Defect, Honda extensively advertised
18
     the safety of the Class Vehicles, while concealing the Idle Stop Defect.
19
           207. For example, Honda currently dedicates a page on its website to “safety,”
20
     where Honda touts the safety of its vehicles, including a “collision-free future” and
21
     “advanced collision mitigation systems”:151
22
23   147
       Id.
     148
24     https://www.carcomplaints.com/Acura/TLX/2020/engine/engine.shtml
   149
       https://static.nhtsa.gov/odi/rcl/2020/RCLRPT-20V439-2939.PDF
25 150
       https://static.nhtsa.gov/odi/rcl/2017/RMISC-17V418-5009.pdf (zero field reports, 3,826
26 warranty   claims);
   151
       https://www.honda.com/safety (last visited June 16, 2022).
27
28
                                                    78
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16
17         207. In 2020, Honda launched its “Safety for Everyone” marketing campaign
18 to convince consumers that everyone “can safely and confidently enjoy the freedom of
19 mobility” in Honda vehicles.152

20         208. Honda also made similar representations and omissions when marketing
21 the Class Vehicles. For example, Honda directly marketed the Class Vehicles to
22 consumers via extensive nationwide, multimedia advertising campaigns on television,
23 the Internet, billboards, print publications, mailings, and through other mass media,
24 which impart a uniform and persuasive marketing message.
25         209. In the sales brochure for the 2016 Honda Pilot, Honda advertised
26
   152
       https://hondanews.com/en-US/honda-corporate/releases/release-
27 77eb8ddd88ce8b803d48f5ee690002b4-powerful-stories-about-safety-performance-from-honda-
   customers-and-family-members-expand-honda-safety-for-everyone-brand-campaign
28
                                               79
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 1 “Sensible Safety.”153
 2            210. In the sales brochure for the 2017 Honda Pilot, Honda stated that it was
 3 “looking out for you.”154
 4            211. In the sales brochure for the 2017 Honda Odyssey, Honda stated that
 5 occupant safety is the “top priority.”155
 6            212. In the sales brochure for the 2018 Honda Odyssey, Honda stated that the
 7 vehicle was “solid on safety.”156
 8            213. In the sales brochure for the 2019 Honda Odyssey, Honda stated that it
 9 strives to provide safety features that “ensure the safety of the occupants” and that this
10 gives the occupants “peace of mind” while driving.157
11            214. In the sales brochure for the 2017 Acura MDX, Honda boasted that its
12 vehicle protect “your back, your front, and your sides.”158

13            215. In the sales brochure for the 2018 Acura MDX, Honda boasted that its
14 vehicles are “safe enough for . . . families to ride in” and that its goal is to exist in a
15 world where there are zero collisions.159
16            216. In the sales brochure for the 2019 Acura MDX, Honda stated that
17 occupant safety is the “top priority.”160
18            208. Honda consistently promoted the Class Vehicles as safe, while knowingly
19 omitting and concealing information about material defects in the Class Vehicles from

20 consumer, including Plaintiff and the other Class members.
21
     153
         https://automobiles.honda.com/images/2016/pilot/downloads/2016-pilot-brochure.pdf
22   154
         https://automobiles.honda.com/-/media/Honda-Automobiles/Vehicles/2017/Pilot/Pilot-
23   Brochures/V2/MY17_Pilot_Online_Brochure.pdf
     155
         https://automobiles.honda.com/images/2017/odyssey/downloads/2017-odyssey-brochure.pdf
24   156
         https://www.daltshondaorillia.com/pdf/2018-honda-odyssey.pdf
25   157
         https://www.daltshondaorillia.com/pdf/2019-odyssey.pdf
     158
26       https://www.auto-brochures.com/makes/acura/tlx/Acura_US%20TLX_2017.pdf
     159
         https://www.auto-brochures.com/makes/acura/mdx/Acura_US%20MDX_2018.pdf
27
     160
           https://www.auto-brochures.com/makes/acura/mdx/Acura_US%20MDX_2019.pdf
28
                                                  80
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 1         209. Had Honda disclosed the Idle Stop Defect, Plaintiff and the other Class
 2 members would not have purchased their Class Vehicles, or would have paid less for
 3 them.
 4         210. Honda also issued written warranties with the sale of the Class Vehicles.
 5 The written warranties were for the benefit of Plaintiff and the Class members and were
 6 issued for the purpose of persuading them to purchase their respective Class Vehicles.
 7
                 V.     TOLLING OF THE STATUTES OF LIMITATION
 8
     A.    DISCOVERY RULE TOLLING
 9
           211. Plaintiff and the other Class members could not have discovered through
10
     the exercise of reasonable diligence that their Class Vehicle were defective within the
11
     time period of any applicable statutes of limitation.
12
           212. Neither Plaintiff nor the other Class members knew or could have known
13
     of the Idle Stop Defect in their Class Vehicles, at least until after the ODI Report was
14
     publicly issued.
15
     B.    FRAUDULENT CONCEALMENT TOLLING
16
           213. Throughout the time period relevant to this action, Honda concealed from
17
     and failed to disclose to Plaintiff and the other Class members vital information about
18
     the Idle Stop Defect described herein.
19
           214. Indeed, Honda kept Plaintiff and the other Class members ignorant of vital
20
     information essential to the pursuit of their claims. As a result, neither Plaintiff nor the
21
     other Class members could have discovered the defect, even upon reasonable exercise
22
     of diligence.
23
           215. Specifically, since at least October 2015, Honda has been aware that the
24
     Idle Stop feature that it installed in the Class Vehicles was defective.
25
           216. Despite its knowledge of the defect, Honda failed to disclose and
26
     concealed, and continues to conceal, this critical information from Plaintiff and the
27
     other Class members, even though, at any point in time, it could have done so through
28
                                                 81
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 1 individual correspondence, media release, or by other means.
 2         217. Honda affirmatively and actively concealed the Idle Stop Defect when it
 3 continued marketing the Idle Stop feature and introducing new vehicles with this
 4 feature, despite knowing that it was defective.
 5         218. Plaintiff and the other Class members justifiably relied on Honda to
 6 disclose the Idle Stop Defect in the Class Vehicles that they purchased or leased,
 7 because that defect was hidden and not discoverable through reasonable efforts by
 8 Plaintiff and the other Class members.
 9         219. Thus, the running of all applicable statutes of limitation have been
10 suspended with respect to any claims that Plaintiff and the other Class members have
11 sustained as a result of the defect, by virtue of the fraudulent concealment doctrine.
12 C.      ESTOPPEL
13         220. Honda was under a continuous duty to disclose to Plaintiff and the other
14 Class members the true character, quality, and nature of the Class Vehicles.
15         221. Honda knowingly concealed the true nature, quality, and character of the
16 Class Vehicles.
17         222. Based on the foregoing, Honda is estopped from relying on any statutes
18 of limitations in defense of this action.
19                        VI.   CLASS ACTION ALLEGATIONS
20         223. Plaintiff brings this action pursuant to Rules 23(a), 23(b)(2), 23(b)(3), and
21 23(c)(4) of the Federal Rules of Civil Procedure, individually and on behalf of all others
22 similarly situated.
23         224. Plaintiff seeks to represent the following Classes:
24               All persons who purchased or leased a Class Vehicle (as
25               defined herein) that was purchased or leased in the United
                 States (the “Nationwide Class”).
26
27               All persons who purchased or leased a Class Vehicle (as
                 defined herein) that was purchased or leased in the State of
28
                 Florida (the “Florida Class”).
                                               82
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 1
 2         225. Excluded from the Classes are Defendants HML and HMA and any of
 3 their members, affiliates, parents, subsidiaries, officers, directors, employees,
 4 successors, or assigns; the judicial officers, and their immediate family members; and
 5 Court staff assigned to this case. Plaintiff reserves the right to modify or amend the
 6 Class definition, as appropriate, during the course of this litigation.
 7         226. This action has been brought and may properly be maintained on behalf
 8 of the Classes proposed herein under the criteria of Rule 23 of the Federal Rules of
 9 Civil Procedure.
10         227. Numerosity – Federal Rule of Civil Procedure 23(a)(1). The members
11 of the Class are so numerous and geographically dispersed that individual joinder of
12 all class members is impracticable. While Plaintiff is informed and believes that there

13 are thousands of Class members, the precise number of Class members is unknown to
14 Plaintiff, but may be ascertained from Honda’s books and records. Class members may
15 be notified of the pendency of this action by recognized, Court-approved notice
16 dissemination methods, which may include U.S. Mail, electronic mail, Internet
17 postings, and/or published notice.
18         228. Commonality and Predominance – Federal Rule of Civil Procedure
19 23(a)(2) and 23(b)(3). This action involves common questions of law and fact, which

20 predominate over any questions affecting individual Class members, including,
21 without limitation:
22               a.      whether Honda engaged in the conduct alleged herein;
23               b.      whether Honda’s alleged conduct violates applicable law;
24               c.      whether Honda designed, advertised, marketed, distributed, leased,
25                       sold, or otherwise placed the Class Vehicles into the stream of
26                       commerce in the United States;
27               d.      whether Honda misled Class members about the quality of the Class
28
                                               83
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 1                     Vehicles;
 2              e.     whether the Class Vehicle contain the Idle Stop Defect;
 3              f.     whether Honda had actual or imputed knowledge about the alleged
 4                     defect but failed to disclose it to Plaintiff and the other Class
 5                     members;
 6              g.     whether Honda’s omissions and concealment regarding the quality
 7                     of the Class Vehicles were deceptive in violation of the consumer
 8                     protection laws of Florida;
 9              h.     whether Honda breached its express warranty to the Class members
10                     with respect to the Class Vehicles;
11              i.     whether Class members overpaid for their Class Vehicles as a result
12                     of the defect alleged herein;
13              j.     whether Class members are entitled to damages, restitution,
14                     restitutionary disgorgement, equitable relief, statutory damages,
15                     exemplary damages, and/or other relief; and
16              k.     the amount and nature of relief to be awarded to Plaintiff and the
17                     other Class members.
18         229. Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s
19 claims are typical of the other Class members’ claims because Plaintiff and the other

20 Class members purchased or leased Class Vehicles. Neither Plaintiff nor the other
21 Class members would have purchased the Class Vehicles, or would have paid less for
22 the Class Vehicles, had they known of the Idle Stop Defect in the Class Vehicles.
23 Plaintiff and the other Class members suffered damages as a direct proximate result of
24 the same wrongful practices in which Honda engaged. Plaintiff’s claims arise from the
25 same practices and course of conduct that give rise to the claims of the other Class
26 members.
27         230. Adequacy of Representation – Federal Rule of Civil Procedure
28
                                              84
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 1 23(a)(4). Plaintiff is an adequate Class representative because his interests do not
 2 conflict with the interests of the other members of the Class that he seeks to represent,
 3 Plaintiff has retained counsel competent and experienced in complex class action
 4 litigation, and Plaintiff intends to prosecute this action vigorously.       The Class’s
 5 interests will be fairly and adequately protected by Plaintiff and his counsel.
 6          231. Declaratory and Injunctive Relief – Federal Rule of Civil Procedure
 7 23(b)(2). Honda has acted or refused to act on grounds generally applicable to Plaintiff
 8 and the other Class members, thereby making appropriate final injunctive relief and
 9 declaratory relief, as described below, with respect to the Class members as a whole.
10          232. Superiority – Federal Rule of Civil Procedure 23(b)(3). A class action
11 is superior to any other available means for the fair and efficient adjudication of this
12 controversy, and no unusual difficulties are likely to be encountered in the management

13 of this class action. The damages or other financial detriment suffered by Plaintiff and
14 the other Class members are relatively small compared to the burden and expense that
15 would be required to individually litigate their claims against Honda, so it would be
16 impracticable for the Class members to individually seek redress for Honda’s wrongful
17 conduct. Even if the Class members could afford litigation the court system could not.
18 Individualized litigation creates a potential for inconsistent or contradictory judgments,
19 and increases the delay and expense to all parties and the court system. By contrast,

20 the class action device presents far fewer management difficulties, and provides the
21 benefits of single adjudication, economy of scale, and comprehensive supervision by a
22 single court.
23                                   VII. CLAIMS FOR RELIEF
24
                                      COUNT 1
25               VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT
                               15 U.S.C. §§ 2301, et seq.
26
            233. Plaintiff repeats and realleges paragraphs 1-232 and paragraphs 264-290,
27
     as if fully set forth herein.
28
                                               85
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 1          234. Plaintiff brings this Count individually and on behalf of the other members
 2 of the Nationwide Class (the “Class,” for purposes of this Count).
 3          235. This Court has jurisdiction to decide these claims brought under 15 U.S.C.
 4 § 2301 by virtue of 28 U.S.C. §§ 1332(a) and (d).
 5          236. Plaintiff is a “consumer” within the meaning of the Magnuson-Moss
 6 Warranty Act, 15 U.S.C. § 2301(3).
 7          237. Honda is a “supplier” and “warrantor” within the meaning of the
 8 Magnuson Moss Warranty Act, 15 U.S.C. § 2301(4)–(5).
 9          238. The Class Vehicles are “consumer products” within the meaning of the
10 Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(1).
11          239. 15 U.S.C. § 2310(d)(1) provides a cause of action for any consumer who
12 is damaged by the failure of a warrantor to comply with a written warranty.

13          240. In its New Vehicle Limited Warranty, Honda expressly warranted that it
14 would repair or replace any part that is defective in material or workmanship under
15 normal use.
16          241. Honda’s Limited Warranty is a written warranty within the meaning of
17 the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(6). The Class Vehicles’ implied
18 warranty of merchantability is covered by 15 U.S.C. § 2301(7).
19          242. With respect to Class members’ purchases or leases of the Class Vehicles,
20 the terms of Honda’s written warranty became part of the basis of the bargain between
21 Honda, on the one hand, and Plaintiff and each of the other Class members, on the
22 other.
23          243. Honda breached this warranty as described in more detail above.
24          244. At the time of sale or lease of each Class Vehicle, Honda knew, should
25 have known, or was reckless in not knowing of the Class Vehicles’ inability to perform
26 as warranted, but nonetheless failed to rectify the situation and/or disclose the defective
27 design. Under the circumstances, the remedies available under any informal settlement
28
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 1 procedure would be inadequate, and any requirement that Plaintiff and the other Class
 2 members resort to an informal dispute resolution procedure and/or afford Honda a
 3 reasonable opportunity to cure its breach of warranties is excused and thus deemed
 4 satisfied.
 5         245. The amount in controversy of Plaintiff’s individual claims meets or
 6 exceeds the sum of $25. The amount in controversy in this action exceeds the sum of
 7 $50,000, exclusive of interest and costs, computed based on all claims involved in this
 8 lawsuit.
 9         246. As a direct and proximate result of Honda’s breaches of its Limited
10 Warranty and the implied warranty of merchantability, Plaintiff and the other Class
11 members have sustained damages in an amount to be determined at trial.
12         247. Plaintiff, individually and on behalf of all the other Class members, seeks
13 all damages permitted by law, including the diminution in value of their vehicles, in an
14 amount to be proven at trial.
15
16                                    COUNT 2
                     VIOLATIONS OF THE FLORIDA DECEPTIVE
17                     AND UNFAIR TRADE PRACTICES ACT
                             Fla. Stat. §§ 501.201, et seq.
18
           248. Plaintiff repeats and realleges paragraphs 1-232, as if fully set forth herein.
19
           249. Plaintiff brings this Count individually and on behalf of the other members
20
     of the Florida Class (the “Class” for purposes of this claim).
21
           250. The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”)
22
     prohibits any “[u]nfair methods of competition, unconscionable acts or practices, and
23
     unfair or deceptive acts or practices in the conduct of any trade or commerce are hereby
24
     declared unlawful.”
25
           251. By the conduct described in detail above and incorporated herein, Honda
26
     engaged in unfair or deceptive acts in violation of FDUTPA
27
           252. Honda’s omissions regarding the Idle Stop Defect, described above are
28
                                                87
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 1 material facts that a reasonable person would have considered in deciding whether or
 2 not to purchase (or to pay the same price for) a Class Vehicle.
 3         253. Honda’s omissions regarding the Idle Stop Defect were likely to deceive
 4 a consumer acting reasonably in the same circumstances as Plaintiff and the other Class
 5 members.
 6         254. Honda intended for Plaintiff and the other Class members to rely on
 7 Honda’s omissions of fact regarding the Idle Stop Defect.
 8         255. Plaintiff and the other Class members justifiably acted or relied to their
 9 detriment upon Honda’s omissions of fact concerning the above-described Idle Stop,
10 as evidenced by Plaintiff’s and the other Class members’ purchase of their vehicles.
11         256. Had Honda disclosed all material information regarding the Idle Stop
12 Defect to Plaintiff and the other Class members, then they would not have purchased

13 or leased the vehicle or would have paid less to do so.
14         257. Honda’s omissions deceived Plaintiff and the other Class members.
15         258. Honda acted willfully in concealing, and not disclosing, the Idle Stop
16 Defect from Plaintiff and the other Class members.
17         259. Honda’s deceptive omissions constitute an independent tort, separate of
18 the breach of warranties alleged herein.
19         260. Plaintiff and the other Class members suffered ascertainable loss and
20 actual damages as a direct result of Honda’s concealment of and failure to disclose the
21 Idle Stop Defect. Plaintiff and the other Class members who purchased or leased the
22 Class Vehicles would not have done so, or would have paid significantly less, if the
23 true nature of the Class Vehicles had been disclosed.
24         261. Honda’s violations present a continuing risk to Plaintiff and the Class, as
25 well as to the general public. Defendant’s unlawful acts and practices complained of
26 herein affect the public interest.
27         262. Plaintiff and the Class seek an award of compensatory damages, punitive
28
                                              88
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 1 damages, reasonable attorneys’ fees pursuant to Florida Statute section 501.201 et seq.,
 2 costs, interest and any other just and proper relief available under FDUTPA.
 3
                                         COUNT 3
 4                         BREACH OF EXPRESS WARRANTY
                             Fla. Stat. §§ 672.313 and 680.21
 5
           263. Plaintiff repeats and realleges paragraphs 1-232, as if fully set forth herein.
 6
           264. Plaintiff brings this Count individually and on behalf of the other members
 7
     of the Florida Class (the “Class”).
 8
           265. Honda is and was at all relevant times a “merchant” with respect to motor
 9
     vehicles under Fla. Stat. § 672.104 and is a “seller” of motor vehicles under § 672.103.
10
           266. With respect to leases, Honda is and was all relevant times a “lessor” of
11
     motor vehicles under Fla. Stat. § 680.1031.
12
           267. The Class Vehicles are and were at all relevant times “goods” within the
13
     meaning of Fla. Stat. § 672. 105 and § 680.1031.
14
           268. In its New Vehicle Limited Warranty, Honda expressly warranted that it
15
     would repair or replace any part that is defective in material or workmanship under
16
     normal use.
17
           269. The warranty further states that all repairs/replacements made under the
18
     warranty are free of charge.
19
           270. Honda’s New Vehicle Limited Warranty formed the basis of the bargain
20
     that was reached when Plaintiff and the other Class members purchased or leased their
21
     Class Vehicles with the Idle Stop Defect.
22
           271. Honda breached the express warranty to repair parts defective in material
23
     or workmanship by failing to repair the Idle Stop Defect.
24
           272. Honda has not repaired, and has been unable to repair, the Idle Stop Defect
25
     in Plaintiff’s Class Vehicle or the Class Vehicles of the other Class members.
26
           273. Honda was provided notice of the Idle Stop Defect through numerous
27
     complaints filed against it directly and through its dealers, as well as its own internal
28
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 1 engineering
 2          274. Further, Plaintiff brought his vehicle into Braman Honda in 2018, during
 3 his vehicle’s warranty period, to have the Idle Stop Defect fixed. Honda was unable to
 4 do so.
 5          275. The New Vehicle Limited Warranty fails in its essential purpose because
 6 the contractual remedy of repair/replacement is insufficient to make Plaintiff and the
 7 other Class members whole and because Honda has failed and/or has refused to
 8 adequately provide the promised remedies within a reasonable time.
 9          276. Accordingly, recovery by Plaintiff and the other Class members is not
10 limited to the limited warranty of repair/replacement, and Plaintiff, individually and on
11 behalf of the other Class members, seek all remedies as allowed by law.
12          277. Also, as alleged in more detail herein, at the time that Honda warranted
13 and sold the Class Vehicles it knew that the Class Vehicles did not conform to the
14 warranty and were inherently defective, and Honda improperly concealed material
15 facts regarding its Class Vehicles.     Plaintiff and the other Class members were,
16 therefore, induced to purchase or lease the Class Vehicles under false pretenses.
17          278. Moreover, much of the damage flowing from the Class Vehicles cannot
18 be resolved through the limited remedy of repairs, as those incidental and consequential
19 damages have already been suffered due to Honda’s improper conduct as alleged

20 herein, and due to its failure and/or continued failure to provide such limited remedy
21 within a reasonable time, and any limitation on Plaintiff’s and the other Class members’
22 remedies would be insufficient to make Plaintiff and the other Class members whole.
23          279. As a direct and proximate result of Honda’s breach of express warranty,
24 Plaintiff and the other Class members have been damaged in an amount to be
25 determined at trial.
26
27
28
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 1
 2
                                 COUNT 4
 3      BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                        Fla. Stat. §§ 672.101, et seq.
 4
 5         280. Plaintiff repeats and realleges paragraphs 1-232, as if fully set forth herein.

 6         281. Plaintiff brings this Count individually and on behalf of the other members

 7 of the Florida Class (the “Class”).
 8         282. Honda is a merchant with respect to the Class Vehicles, as that term is

 9 used in Fla. Stat. § 672.104.
10         283. The Class Vehicles are goods as that term is used in Fla. Stat. § 672.105.

11         284. Plaintiff and Class members are buyers as that term is used in Fla. Stat. §

12 672.103, and Honda is a seller as that term is used in Fla. Stat. § 672.103.

13         285. Plaintiff purchased his Class Vehicle from Honda and an implied warranty

14 that the goods were merchantable arose by operation of law as part of the sale.
15         286. There is privity because Plaintiff and the other Class members’

16 dealerships were agent of Honda. Namely, upon information and belief, Honda
17 controlled the marketing and sale of the Class Vehicles, Honda set the MSRP and
18 controlled any dealership incentives which may have been available, the dealership
19 executed the purchase agreement on behalf of Honda, that the dealership acted as

20 Honda’s agent in connection with the sale, and the dealership bound Honda to
21 contractual obligations with the sale of the Class Vehicles.
22         287. Honda breached the implied warranty of merchantability in that the goods

23 were not in a merchantable condition when sold or any time thereafter and were not fit
24 for the ordinary purposes for which such goods were used, as further alleged herein.
25         288. Honda has actual knowledge of the Auto Idle Defect as alleged herein,

26 satisfying any notice requirement. Moreover, due to Honda’s failure to remedy the
27 Auto Idle Defect, any notice requirement is futile.
28         289. The New Vehicle Limited Warranty fails in its essential purpose because
                                                91
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 1 the contractual remedy of repair/replacement is insufficient to make Plaintiff and the
 2 other Class members whole and because Honda has failed and/or has refused to
 3 adequately provide the promised remedies within a reasonable time. Accordingly, the
 4 implied warranty of merchantability is not limited to the Limited Warranty period.
 5         290. As a direct and proximate result of the Auto Idle Defect, Plaintiff has not
 6 appreciated the benefit of his bargain and has suffered actual damages, as well as
 7 incidental and consequential damages, in an amount to be determined at trial.
 8
                                  COUNT 5
 9                    FRAUDULENT CONCEALMENT/OMISSION

10         291. Plaintiff repeats and realleges paragraphs 1-232, as if fully set forth herein.

11         292. Plaintiff brings this Count individually and on behalf of the other members

12 of the Florida Class (the “Class”).

13         293. Honda was aware of the Idle Stop Defect when it marketed and sold the

14 Class Vehicles to Plaintiff and the other Class members.
15         294. Having been aware of the Idle Stop Defect and having known that Plaintiff

16 and the other Class members could not have reasonably been expected to know of this
17 defect, Honda had a duty to disclose the Idle Stop Defect to Plaintiff and the other Class
18 members in connection with the sale or lease of the Class Vehicles.
19         295. Further, Honda had a duty to disclose the Idle Stop Defect because

20 disclosure of the Idle Stop Defect was necessary to dispel misleading impressions about
21 the Class Vehicles’ safety that were or might have been created by partial
22 representation of the facts. Specifically, Honda promoted, through its advertisements
23 available to all Class members, that the vehicles were safe. Honda also disclosed
24 information concerning the Class Vehicles in window stickers associated with the Class
25 Vehicles, without disclosing that these vehicles contained the Idle Stop Defect.
26         296. Honda did not disclose the Idle Stop Defect to Plaintiff and the other Class

27 members in connection with the sale or lease of the Class Vehicles.
28         297. For the reasons set forth above, the Idle Stop Defect comprises material
                                                92
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 1 information with respect to the sale or lease of the Class Vehicles.
 2         298. In purchasing or leasing the Class Vehicles, Plaintiff and the other Class
 3 members reasonably relied on Honda to disclose known material defects with respect
 4 to the Class Vehicles. Had Plaintiff and the other Class members known of the Idle
 5 Stop within the Class Vehicles, they would have not purchased the Class Vehicles or
 6 would have paid less for the Class Vehicles.
 7         299. Honda’s deceptive omissions constitute an independent tort, separate of
 8 the breach of warranties alleged herein.
 9         300. Through its omissions regarding the Idle Stop Defect within the Class
10 Vehicles, Honda intended to induce, and did induce, Plaintiff and the other Class
11 members to purchase or lease a Class Vehicle that they otherwise would not have
12 purchased, or to pay more for a Class Vehicle than they otherwise would have paid.

13         301. As a direct and proximate result of Honda’s omissions, Plaintiff and the
14 other Class members either paid too much for the Class Vehicles or would not have
15 purchased the Class Vehicles if the Idle Stop Defect had been disclosed to them, and,
16 therefore, have incurred damages in an amount to be determined at trial.
17
                                       COUNT 6
18                                UNJUST ENRICHMENT

19         302. Plaintiff repeats and realleges paragraphs 1-232, as if fully set forth herein.

20         303. Plaintiff brings this Count individually and on behalf of the other members

21 of the Florida Class (the “Class”).
22         304. Honda has benefitted from selling and leasing at an unjust profit defective

23 Class Vehicles that had artificially inflated prices due to Honda’s concealment of the
24 Idle Stop Defect, and Plaintiff and the other members of the Class have overpaid for
25 these vehicles.
26         305. Honda has received and retained unjust benefits from Plaintiff and the

27 other members of the Class, and inequity has resulted.
28         306. It is inequitable and unconscionable for Honda to retain these benefits.
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 1         307. Because Honda concealed its fraud and deception, Plaintiff and the other
 2 members of the Class were not aware of the true facts concerning the Class Vehicles
 3 and did not benefit from Honda’s misconduct.
 4         308. Honda knowingly accepted the unjust benefits of its wrongful conduct.
 5         309. As a result of Honda’s misconduct, the amount of its unjust enrichment
 6 should be disgorged and returned to Plaintiff and the other members of the Class in an
 7 amount to be proven at trial.
 8
                                   REQUEST FOR RELIEF
 9
           WHEREFORE, Plaintiff, individually and on behalf of the other Class members,
10
     respectfully requests that the Court enter judgment in his favor and against Defendants,
11
     Honda Motor Company Limited and American Honda Motor Co., Inc., as follows:
12
           1. Declaring that this action is a proper class action, certifying the Florida and
13
              Nationwide Classes as requested herein, designating Plaintiff as Class
14
              Representative, an appointing Plaintiff’s attorneys as Class Counsel;
15
           2. Ordering Honda to pay actual and statutory damages (including punitive
16
              damages) and restitution by way of judgment to Plaintiff and the other Class
17
              members, as allowable by law;
18
           3. Ordering Honda to pay both pre- and post-judgment interest on any amounts
19
              awarded;
20
           4. Ordering Honda to pay attorneys’ fees and costs of suit; and
21
           5. Ordering such other and further relief as may be just and proper.
22
                                       JURY DEMAND
23
           Plaintiff hereby demands a trial by jury on all claims so triable.
24
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 1 DATED: June 21, 2022                 Respectfully submitted,
 2
                                        /s/ C. Moze Cowper
                                        _________________________________
 3                                      C. Moze Cowper (Bar No. 326614)
 4                                      COWPER LAW PC
                                        10880 Wilshire Boulevard, Suite 1840
 5                                      Los Angeles, California 90024
 6                                      Telephone: 877-529-3707
                                        mcowper@cowperlaw.com
 7

 8                                      Adam J. Levitt*
                                        John E. Tangren*
 9                                      Daniel R. Ferri*
10                                      DICELLO LEVITT GUTZLER LLC
                                        Ten North Dearborn Street, Sixth Floor
11                                      Chicago, Illinois 60602
12                                      Telephone: 312-214-7900
                                        alevitt@dicellolevitt.com
13                                      jtangren@dicellolevitt.com
14                                      dferri@dicellolevitt.com

15                                      W. Daniel “Dee” Miles, III*
16                                      H. Clay Barnett, III*
                                        J. Mitch Williams*
17                                      BEASLEY, ALLEN, CROW,
18                                      METHVIN, PORTIS & MILES, P.C.
                                        272 Commerce Street
19                                      Montgomery, Alabama 36104
20                                      Telephone: 334-269-2343
                                        Dee.Miles@Beasleyallen.com
21                                      Clay.Barnett@BeasleyAllen.com
22                                      Mitch.Williams@Beasleyallen.com
23                                      Andrew Trailor*
24                                      ANDREW T. TRAILOR, P.A.
                                        9990 Southwest 77 Avenue, PH 12
25                                      Miami, Florida 331156
26                                      Telephone: 305-668-6090
                                        andrew@attlawpa.com
27

28                                      Counsel for Plaintiff and the Proposed Classes
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                                        * pro hac vice motions to be filed

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